Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 1 of 181 Page ID #:1




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    INTERNATIONAL, MANDALAY
  9 RESORT GROUP, MANDALAY BAY,
    LLC , MGM RESORTS FESTIVAL
 10 GROUNDS, LLC, and MGM RESORTS
    VENUE MANAGEMENT, LLC
 11
 12                         UNITED STATES DISTRICT COURT
 13                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 14
 15 MGM RESORTS INTERNATIONAL,                    Case No.
    MANDALAY RESORT GROUP,
 16 MANDALAY BAY, LLC, MGM                        COMPLAINT FOR
    RESORTS FESTIVAL GROUNDS,                     DECLARATORY RELIEF
 17 LLC, MGM RESORTS VENUE
    MANAGEMENT, LLC
 18
             Plaintiffs,
 19
         vs.
 20
    DAVID AASE; GARY AASE; MARK
 21 ABRAHAM; ANDREA ABRAMS;
    DANIEL ABRAMS; LUKE ADAM;
 22 ROBERT AGUILAR; GLORIA
    AGUIRRE; BRIAN AHLERS; ESTATE
 23 OF HANNAH AHLERS; MARCO
    ALBERTINI; RENEE ALCALA;
 24 ERNESTO ALFARO; TENESHA
    ALFARO; SARA ALLEGRO; ETTA
 25 ALLEN; LEANNE ALTAMIRANO;
    RUBEN ALULEMA; ALEX
 26 ALVAREZ; DANIEL EARL
    ALVAREZ; JOANNA ALVAREZ;
 27 LINDSEY ALVAREZ; DANIELLE
    AMBROSE; ALETHA ANDERSON;
 28 NATALIE ANDERSON; REBECCA
      39245596.3
                               COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 2 of 181 Page ID #:2




  1 ANN ANDERSON; RYAN
    ANDERSON; SHANNON
  2 ANDERSON; JENNIFER APARICIO;
    BRENDEN ARAUJO; CASSIE
  3 ARDITO; RICHARD ARDITO; JESUS
    ASTUA; LISA AWALT; D.B., A
  4 MINOR; CODI BABCOCK; CHEYENE
    BACON-MERIWEATHER;
  5 CHRISTOPHER BADOREK; TRACEY
    BAKER; SHANNON BALAS;
  6 TIFFANY BALL; MARY BANTA; TED
    BANTA; JASON BANVILLE; TEGAN
  7 BANVILLE; JASMINE BARBUSCA;
    ESTATE OF CARRIE BARNETTE;
  8 TINELLA BARRANCO; RONALD A.
    BARRERAS; DONOVAN BARTHEL;
  9 MONIQUE D. BARTHEL; COURTNEY
    BEAN; BRAD BEAUCHAMP; DAWN
 10 BEAUCHAMP; ALEISA BEBEE;
    ASHLEY BECKER; SEAN BEESON;
 11 JONATHON BELL; ANNALISE
    BELMARES; MEGHAN BELMARES;
 12 JONATHAN BELTRAN; DANIEL R.
    BEST; CARLY BETZLER; TAYLOR
 13 BLAISER; JANNETTE BLAKE;
    PAULA BLAKELEY; JODI
 14 BOATWOOD; AMANDA BOBB;
    DYLAN BODEN; EMILY BODEN;
 15 JOY BODEN; MADDISON BODEN;
    MARK BODEN; CRYSTAL BOLKE;
 16 DIANELLA BONO; MAUREEN
    BONTE; NICOLE BONTEMPO; PAUL
 17 BOONE; KURTIS ANTHONY
    BOWERS; ESTATE OF CANDICE
 18 BOWERS; K.L.A., A MINOR; A.R.B. ,
    A MINOR; VEDAMAY BRADFORD;
 19 MICHAEL BRADLEY; CINDY
    BRADSHAW; ROBERT BRADSHAW;
 20 LAUREN BRADY; DAVID BRAKE;
    STEVEE BRANCATO; JAMES
 21 BRIGHTLY; MAILYS BRIGHTLY;
    EDWARD BROWN; ERIKA BROWN;
 22 RONDA BROWN; STEPHANIE
    BROWN; STACEY BROWN-FUSANO;
 23 TAYLER BRUNNER; JOHN BUI;
    TREANESHA LASHONDA BULLION;
 24 TERRY BURK; ANDREA
    BUSTAMANTE; GABRIELLA
 25 BUSTAMANTE; HECTOR
    CABALLERO; HEATHER L. CAIN;
 26 JENNIFER CAMPAS; JENNIFER L.
    CAMPBELL; LYNZEE CAMPBELL;
 27 JULIA CAMPOS; KAREN CANADA;
    INGRID CANELO; RENEE CANELO;
 28 MARY CANICH; EMILY CANTRELL;
     39245596.3
                             COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 3 of 181 Page ID #:3




  1 BRITTNIE NICOLE CARDENAS;
    JESSICA CAREY; KATE CARLIN;
  2 KARI CARLSTROM; ALEXANDER
    CARRIAGA; KIMBERLY CARRIAGA;
  3 MATTHEW CARRILLO; IAN
    CARTER; ELIZABETH A.
  4 CARVALHO; CONNOR CASAREZ;
    VANESSA CASE; MICHELLE ANN
  5 CASHMAN; CARLEY CASS; GUS
    CASTILLA; ESTATE OF ANDREA
  6 CASTILLA; MARISSA CASTLE;
    REBECCA CASTRO; ANGELA
  7 CATURA; CHRISTOPHER
    CAYWOOD; KASANDRA
  8 CAYWOOD; KERI CESARIO;
    ROBERT CESARIO; LAUREN
  9 CHAGOLLA; TAMMY J. CHAMBERS;
    DAVID CHATTERTON; MARIE
 10 CHATTERTON; VERONICA
    CHAVEZ; KRISTI CHRISTENSEN;
 11 FABIOLA CINTRON; ROGER
    CINTRON; ALISA CLAWSON; KARA
 12 CLEMENT; LARISSA COBURN;
    DONNA COCHRANE; RICHARD D.
 13 COE; DAVID COLE; JOSEPH COLE;
    DENNIS NEAL COLEMAN;
 14 RONALDO CONCEPCION;
    KATHLEEN CONTI; MELISSA
 15 CONTRI; CHRISTA CONWAY;
    WILLIAM COOK; WENDY COOPER;
 16 PATRICIA COPE; JESSE CORTEZ;
    LISA CORTEZ; DOUGLAS CORUM;
 17 TYLER CRAIG; BRENDA CRANE;
    BRITTANI CRAWFORD; ANTHONY
 18 M. CRESTA; ANTHONY CRISCI;
    PATRICIA CRISS; KIRA M. CROSS;
 19 JOY M. CRUZ; JENNIFER CUEVAS;
    ADRIANNA CULLER; MARISSA J.
 20 CURRIE; TAMMY CURTIS; NICOLE
    CUSICK; ROBERT CUSICK; ESTATE
 21 OF DERRICK D. TAYLOR; ANDREW
    DAHRING; NANCY DAHRING; LISA
 22 DANCEL; LISA MARIE DANIELS;
    PRITESH DAVDA; KYLE DAVID;
 23 JESSICA DAVIES; AMANDA DAVIS;
    ELLEN DAVIS; DEBORAH
 24 DAWKINS; DEANNA DAWSON;
    LORI DAWSON; THOMAS DAY SR.;
 25 ESTATE OF THOMAS DAY; KELSEY
    DAY; NOLAN DAY; WHITNEY DAY;
 26 DIANA DE LA MAZA; ROLAND DE
    LA MAZA; CYNTHIA DEARING;
 27 TAMARA DELAMETER; AMY
    DELAPLANE; ALEJANDRA
 28 DELAROSA; BRETT DELAURA;
     39245596.3
                             COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 4 of 181 Page ID #:4




  1 KORTNEY DELAWAY; NICOLE
    DELGADILLO; LARRY DELGADO;
  2 DANIELLE DELIRA; NICOLE
    DESARACHO; ROBERT DI NONNO;
  3 MIKAELA DIAZ; REGINA
    DIERINGER; RYAN DIERINGER;
  4 DIANA J. DIMITRUK; VANESSA
    DIPOLITO; LAURA DIXON; ROBYN
  5 DOBBS; DANIEL DOMINGUEZ;
    KARIN DONIS; ELYSE DONNELLY;
  6 KYLE L. DONNER; WENDY A.
    DORMER; ALLISON DORR; JESSICA
  7 DOVALINA; JULIE DOVE; EYDIE
    DOYLE; THOMAS DURELL; AMBER
  8 DURHAM; KENDALL
    DUSENBERRY; CHEYENNE
  9 EBERLE; GENA ELFELT; DERRICK
    ELLIOTT; JILLIAN ELLIOTT; STACI
 10 ELLIS; STEVE ENCINIAS; SHANYCE
    ENGLISH; MADELYN ENOCHS;
 11 CANDICE ERICKSON; CHRIS
    ERICKSON; KANDIS ERICKSON;
 12 SABRINA ESPARZA; ERNESTO
    ESPINOZA; SORAYA M. ESPINOZA;
 13 LAURA ESTRADA; NICO ESTRADA;
    ESTATE OF STACEE ETCHEBER;
 14 VINCENT ETCHEBER; BRIANA
    EVANS; CYNTHIA EVANS; DENNIS
 15 EVANS; WENDY EVERETT; KYLE
    EVINGER; ASHLEY FARGO;
 16 MICHELLE FARIAS; ANGELA
    FAVIA; JEFFREY FEIG; RAFAEL
 17 FELICIANO; LAUREN FERGUSON;
    JENNIE FERNANDES; MARYSSA
 18 FIELDS; MELISSA FIERRO; BAYLEE
    FINCHER; BROOKE FINCHER;
 19 MINDY FINCHER; AUSTIN FISHER;
    LYNDSAY FISHER; SUSAN
 20 FITZGERALD; EMILY FLESHER;
    KRISTI FLESHER; ART FLORES;
 21 DANIEL FLORES; STEVEN FLORES;
    JENNIFER FLUEGAL; MARLANA
 22 FOLTZ; DONALD FORSYTH;
    ROCHELLE FORSYTH; KADEDRA
 23 FOWLER; JUSTIN FRAME;
    BRITTANY FRIEND; CYNTHIA
 24 FRISKE; AMANDA FROST; BOBBI
    FRYE; LORRAINE FUENTES; APRIL
 25 GABANY; TINA GALARZA; ERICA
    GALLEGOS; MANDY GALLEGOS;
 26 STEPHANIE GALLEGOS; ESTATE OF
    KERI GALVAN; JUSTIN GALVAN;
 27 R.G., A MINOR; P.G., A MINOR; P.G.,
    A MINOR; CELENA GARCIA;
 28 CHRISTINA GARCIA; ERIC GARCIA;
     39245596.3
                             COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 5 of 181 Page ID #:5




  1 EUGENE GARCIA; RANDY GARCIA;
    STACY GARCIA; TERESA GARCIA;
  2 LAURA GARDHOUSE; ELLENOR
    GARGANO; JOSE L. GARZA; PAIGE
  3 GASPER; BRITTANY GEBHART;
    WILLIAM GEORGIA; GARRETT
  4 GHAHYASI; MEILIN GIBBENS; ERIN
    GILL; JOHN GILMORE; KYLEE
  5 GLASSCOCK; ROBERT GLAVIS;
    TERESA GLAVIS; TRISTI GLOVER;
  6 MICHELL GOBLE; MICHELLE
    GOMES; ASHLEY GOMEZ; JULIE
  7 GOMEZ; STEVEN GOMEZ; JEFFREY
    ALAN GONSALVES; ANDREA
  8 GONZALES; DANIEL JOSEPH
    GONZALES; ALESHA GONZALEZ;
  9 JESUS VINCENT GONZALEZ;
    MICHAEL GONZALEZ; MICHAEL
 10 GOODNIGHT; DOREEN GORMAN;
    DELORES GRAY; JEANETTE GRAY;
 11 NICOLE GRAY; REGINA GREEN;
    DAVID J. GRIJALBA; JENNIFER
 12 GRIMM; GABRIEL GUERRERO;
    MIGUEL GUERRERO; MIKERRA
 13 GUERRERO; TRISHA GUERRERO;
    ESTATE OF ROCIO GUILLEN; S.J., A
 14 MINOR; A.J., A MINOR; THOMAS
    GUNDERSON; TAMMY HISCOX
 15 GURULE; TAMMY M. GURULE;
    KIMBERLY GUTIERREZ; CRYSTAL
 16 HADLEY; DEBORAH HALL; STEVEN
    HALL; TRAVIS HALL; MICHELLE
 17 HAMEL; KIERSTEN HARLING;
    SIMON HARLING; BRANDON
 18 HARLOW; REGINA ANNE HARRIS;
    LISA HARTZ; MELINDA HAWKINS;
 19 BREANNA HAYDEN; KILEY
    HAYDEN; KRISTINA HAYDEN;
 20 LARRY HAYDEN; CORI HAYNES;
    BRYCE HEATHCOAT; JENNIFER
 21 HEIDT; STEVEN HEIRSHBERG;
    WENDY HEIRSHBERG; BRANDON
 22 HELMICK; JUSTIN HENDERSON;
    KRISTINE HENDERSON; ANDREA
 23 HENNING; JUSTIN HEREDIA;
    HEATHER HERNANDEZ; REBECCA
 24 HERNANDEZ; RICARDO
    HERNANDEZ; EMMITT HICKMAN;
 25 ERIC HIGGINS; DIANE HILL; TYLER
    HILL; TERESA HIMLEY; JEFF
 26 HINES; WHITNEY LINN HINNANT;
    LAUREN HITT; KENDRA HOBBS;
 27 PATRICK HOBBS; LEIGH ANN
    HODGSON; KATHERINE HOEY;
 28 BRYAN HOFFRICHTER; DONNA
     39245596.3
                             COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 6 of 181 Page ID #:6




  1 HOLDEN; TANNA HOLDERLE;
    ALBERT HOLGUIN; CINDY
  2 HOLGUIN; LISA HOLGUIN; JOHN
    HOLLADAY; MELISSA HOLMQUIST;
  3 VANESSA HOLUB; ALEXIS HOOD;
    TAYLOR HOOD; BRENDAN
  4 HOOLIHAN; BRITTANY HOPKINS;
    MICHELLE HOWLETT; MALISA
  5 HOYME; DEBRA HUDSON; LEANNE
    HUGGINS; LAURIE HULBERT; JULIE
  6 HUNTSINGER; RYAN HUNTSINGER;
    TAYLOR HURWIT; BRET IVEY;
  7 ALICIA JACKSON; THOMAS S.
    JACOBUS; CHRISTOPHER JAKSHA;
  8 PHILIP JARDELL; JOANNA
    JASHIMOTO; AARON E. JENKINS;
  9 JESSICA ANN JENKINS; TERESA
    JENSEN; MIRANDA JESSEN; SARAH
 10 JICK; RENEE JIMENEZ; LANESHIA
    JOHNSON; MONTA JOHNSON;
 11 MICHELLE JONES; MISTY JONES;
    ROB JONES; SHAHEED JONES;
 12 CLARICE KAHIA; TED KALNAS;
    LORI KAMMER; TODD KAMMER;
 13 MICHAEL KAPLISH; MIRTA
    KATNICH; SCOTT KEERAN;
 14 VALERIE MELISSA KEERAN;
    ALAINA KELLY; DEBRA KELLY;
 15 WILLIAM M. KELLY; KYLE
    KENNEDY; BRENDA KENT; KELSI
 16 KESSLER; BRIAN KETTERING;
    YVETTE KETTERING; SANA
 17 KHADER; JOANNA KILMA; JAMES
    KIRK; JUDIE JEAN KIRKSEY;
 18 NICOLE KIRSHNER; MATTHEW
    KLEMMER; REBECCA KNEPPER;
 19 KASH KNUDSON; JAZMAN GLOVER
    KOWALCZYK; MICHAEL
 20 KRETSCHMAR; LAUREN
    CHRISTINE KRUEGER; MADISYN
 21 KUNTZ; SCOTT T. KUNTZ;
    BRITTANY LAJOIE; MICHAEL
 22 LANDRON; BROOKE LANEY;
    LOGAN LAPORTE; MITCHELL
 23 LAPORTE; SUSIE LAPORTE;
    RICHARD LARSON; CHELSEA
 24 LAURENT; JAMIE LAVERY;
    NICHOLAS LAWLOR; TIFFANI
 25 LAWYER; SUSAN LEARN; CARA
    LEDERGERBER; RUTH LEGASPI;
 26 DELANE LEIVAS; DELANIE LEONE;
    CATHERINE LESTER; HALEY
 27 LEWIS; JUDITH LEYN; LINDA
    LIEWSUWANPHONG; PRIDEE J.
 28 LIEWSUWANPHONG; SOPHIA
     39245596.3
                             COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 7 of 181 Page ID #:7




  1 LIMA; MICHAEL LJUBIC;
    MICHELLE LJUBIC; NIKOLAS
  2 LJUBIC; ELVIA LLAMAS; MANUEL
    LLAMAS; DELANEY LLANUSA;
  3 VALARIE LOERA; LEAH
    LOEWENTHAL; ARLA LONCAR;
  4 BLAKE LONCAR; ALMA LOPEZ;
    KIMBERLY LORING; LETICIA
  5 LUNA; A.M., A MINOR; BO MAGEE;
    KELCY MAIO; CLAUDIA MAJALCA;
  6 EMILY MAJER; BRIAN MALLETTE;
    JEFF MANAHAN; KEVIN
  7 MANAHAN; ASHLEY
    MANSPERGER; THOMAS MARTIN;
  8 ANDREW MARTINEZ; ELISA
    MARTINEZ; REGINA R. MARTINEZ;
  9 SALVADOR MARTINEZ; SOMER
    MARTINEZ; TONY MARTINEZ;
 10 WILLIAM MASON; ADAM MATZ;
    HOLLY MAYES; CHARLES
 11 MAYFIELD; CHRISTINE A.
    MAYFIELD; CHARLES MAYFIELD
 12 IV; GENEVIEVE MAZZA; SHANDE
    MCCANN; KAREN MCCORKLE;
 13 DANIEL MCDONALD; LONTISHA
    MCGILBERRY; JULIE MCGINIS;
 14 CHERISH MCGUIRE; STEPHANIE
    MCKIERNAN; CHERYL
 15 MCPHERSON; MARK MCSHANE;
    ASHLEY-DAWN L. MEAD; DAVID
 16 MEDINA; JOHNATHAN DANIEL
    MEDINA; RACHELLE MELOCOTON;
 17 RAYMOND MERKLEY; JIM
    MERRIFIELD; ESTATE OF PATRICIA
 18 MESTAS; DEREK MILLER; KAYLA
    MILLS; MELISSA MINA; KEITH
 19 MINEO; ROSA MIRANDA;
    ALEXANDRIA MITCHELL; DEBRA
 20 MITCHELL; ROBIN MONTER ;
    MICHELLE MONTOYA; DODI
 21 MOORE; LISA MORAN; BAMBI
    RENE MOREAU; SCOTT MOREAU;
 22 BRITNIE L. MORGAN; CANDICE
    MORGAN; ROGER MOZDA; JILLIAN
 23 MUELLER; JONATHAN MULLIGAN;
    LISA MUNOZ; KEVIN MURPHY;
 24 CHRIS W. MURRAY; SHARMEN
    MURRAY; LISA MUZYCKA; JOSEPH
 25 M. NAPOLI; MARISSA NARVAEZ;
    BRITTANY NEGRETTE; JOANNE
 26 NELSON; ROBERT TROY NELSON;
    MARISA NEWMAN; FRANK
 27 NICASSIO; GREGORY NIX; CHERIE
    NOLL; JEANETTE NUGENT; ANA
 28 NUNEZ; LUIS NUNEZ; ELIZABETH
     39245596.3
                             COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 8 of 181 Page ID #:8




  1 OKORO; LINDSAY OKRAY; BRIAN
    O'LEARY; CARRIE O'LEARY;
  2 VIRGINIA OLEN; RENEE OLIVER;
    LEONA OLSON; CYNTHIA OLVERA;
  3 ARIEL ONTMAN; CLAUDIA
    OROPEZA; MICHELLE OROZCO;
  4 THERESA ORTIZ; TAWANYA OTTO;
    DESTINY PACHECO; ELIJAH
  5 PACHECO; LESLIE LYNN PAIZ;
    ROCKY PALERMO; MELANIE
  6 PALMER; SALLY PALMER; HALEY
    PANNO; KYLIE PANNO; COLLIN
  7 PARKER; ESTATE OF RACHAEL
    PARKER; REIGHLYNN PARSLEY;
  8 JASON PARSONS; DAVON
    PATTERSON; MICHAEL
  9 PATTERSON II; JANICE
    PENNINGTON; KIMBERLEE
 10 PEOPLES; ELIZABETH PEREZ; PAUL
    PEREZ; ERIC PERKINS; DENINE
 11 PETERS; DANYALE PETTERSON;
    NATHAN PHIPPEN; TRAVIS
 12 PHIPPEN; ESTATE OF JOHN
    PHIPPEN; A.P., A MINOR; BRIAN
 13 PICKENS; BERSABE PINEDA; JACK
    PINKSTON; LEONEL M. PLATA;
 14 KARLEE POE; MYLIKA POPE;
    BRENT POPPEN; KEITH POWERS;
 15 JESSICA PRESTEN; SHAWN PRICE;
    DENISE PROVENCIO; KENDALL
 16 QUIROZ; MAGEE R.SEGAL;
    DOMINIC RABANAL; DIEGO
 17 ARMANDO RAMIREZ; FRANCES
    RAMIREZ; KRYSTAL RAMIREZ;
 18 RENEE RAMIREZ; SARA RAMIREZ;
    ERICA RAMOS; CARISSA RASH;
 19 CODY RASH; DAVID RASMUSSON;
    MICHELLE RASMUSSON; JACOB
 20 RATLIFF; JACOB RATLIFF; GLENDA
    REBOLLAR; MATTHEW C. REED;
 21 TRICIA SEAN REED; LYNNE REICK;
    BRODY RENAUD; AMBER RENCH;
 22 JASARA REQUEJO; FRANCISCO
    RESENDIZ; BRENDA RESNICK;
 23 KRISTINA REYES; RALPH REYES;
    TARA REYES; MARION REYNOLDS;
 24 WILLIAM REYNOLDS; STEVEN
    RIBOVICH; MARIE RICE; GINA
 25 RICHARD; MINDY RITTER;
    HEATHER RIVERA; RAYMOND A.
 26 RIVERA; JADE RIXEY; KURT
    ROBERTS; MICHAEL ROBERTSON;
 27 TIMOTHY ROBINSON;
    BERNADETTE ROCHA; JENNIFER
 28 ROCKWELL; SAUL RODRIGUEZ;
     39245596.3
                             COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 9 of 181 Page ID #:9




  1 MICHAEL ROGOZIK; MONICA
    ROGOZIK; MARCELINA ROJAS;
  2 CLAUDIA ROMERO; HARRY
    ROMERO; SUSAN ROSE; ANNA
  3 ROSS; DIXIE ROYBAL; ESTATE OF
    CHRISTOPHER ROYBAL; CHANTEL
  4 RUBIO; LISA RUDBERG; LUCIA
    RUDELA; LAURA RUIZ; AMANDA
  5 RUMBLE; JOANNE RUSCONI;
    MICHAEL COTY RYE; ERIC RYMER;
  6 RONI RYMER; H.S., A MINOR;
    ALLISON SAELEE; JUSTINE SALAS;
  7 VICTORIA SALAS; CRYSTAL
    SALAZAR; RENEE SALAZAR; SELSO
  8 SALAZAR; AMANDA SALMON;
    AMANDA SAMBRANO; JANAE
  9 SAMBRANO; JEFFERY SAMBRANO;
    STEPHEN SAMBRANO; ETHAN
 10 SANCHEZ; GEORGE SANCHEZ;
    MARIE SANCHEZ; SAVANNAH
 11 SANCHEZ; TREVOR SANDERS;
    ERNESTINE SANDOVAL; CALIA
 12 SANFORD; INA SARKISSIAN; NELA
    SARKISSIAN; CASEY SCANDLYN;
 13 ILENE SCANDLYN; DAVID
    SCANTLIN; MICHELLE SCANTLIN;
 14 RYAN L. SCANTLIN; DAVID
    SCHARMACK; IRENE SCHARMACK;
 15 REBEKAH SCHEUSSLER; ALICE
    SCHMIDT; JEREMY SCHMIDT ; LISA
 16 SCHNEIDER; MARK SCHNEIDER;
    MICHELLE SCHONEMAN; ROBERT
 17 SCHRODE; JONATHAN SCHUSSLER;
    MICHAEL SCOTT; JANET SEEGER;
 18 ALICIA SEGOVIA; GILBERT
    SEGOVIA; CHERYL SEGUIN; FRED
 19 SEGUIN; TOMMIE SERRANO;
    DAVID SHERIFF; REMO SHETH;
 20 MICHAEL K. SHOLAN; ANTHONY
    SILVA; ELAINE SILVESTRE;
 21 CHEYENNE NICOLE SIMON; HALEY
    SISNEROS; BUDDY SKIDMORE; LEE
 22 SKOLNICK; SHELBY SLIFKA;
    JONATHAN SLONIGER; STEPHANIE
 23 SMARKER; KAREN ELAINE
    SMERBER; AMBER SMITH; DANA L.
 24 SMITH; RYAN SMITH; RYAN ONEIL
    SMITH; DANIELLE SMUDDE; MISTY
 25 SNITZER; STEPHANIE
    SOTOMAYOR; KATEY SOUZA;
 26 CHERYL SPENCER; KEOSCHA E.
    SPENCER; KORTNEY SPENCER;
 27 MICHELLE E. SPENCER;
    SAVANNAH SPENCER; STEPHANIE
 28 SPENCER; SUZANNE SPENCER;
     39245596.3
                             COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 10 of 181 Page ID #:10




   1 DAVID SPRING; SHANNON
     SPRINGER; TROY SPRINGER;
   2 ROBERT STAGGS; DANIEL
     STAPLES; SAMUEL STAPLES;
   3 KRISTINA STAPLES; DAVID
     STATTER; VERONICA STATTER;
   4 JEFFREY STEFFENS; KATIE STERN;
     PARKER STEVENS; STEVE
   5 STEWART; TAMARA J. STEWART;
     MICHAELA STILWELL; DANA
   6 STOUT-WILSON; LINDSAY
     STRAGIER; JOSHUA K. STRATTON;
   7 AMBER STREID; SHANDI STRONG;
     MICHELLE STUEBE; SUSANNA
   8 SUARD; CLINT SUNDEEN; KELLIE
     SUNDEEN; KYLE C. SUNDEEN;
   9 BRANDI SWAN; NICHOLAS
     SWARTZ; YVETTE SWARTZ;
  10 LYNNSEY SWEET; B.T., A MINOR;
     ERIN TABER; RUBEN
  11 TALAMANTEZ; MARIE TAUTRIM;
     MICHAEL TAUTRIM; BRIANNA
  12 TAYLOR; JASON TAYLOR; JOHN
     TAYLOR; TIFFANY TAYLOR;
  13 DESIREE TEMPLE; ROCKY
     TEPESANO; JANELLE TERKEURST;
  14 DEBORAH THOMAS; JEFFREY
     THOMAS; EVAN TILLEMA;
  15 LINDSAY TILLEMA; JENNIFER
     TILLMAN; JOSHUA TINOCO;
  16 LANNA TINOCO; SARAH
     TISCARENO; ALFREDO TOLEDO;
  17 KENNETH TONKOVICH; JOHNNY
     TOSCANO; RHONDA TRASK;
  18 ROBERT TREMATERRA; HAMIDA
     TRUJILLO; JACQUELYN TRUJILLO;
  19 LIGIA URIARTE; ALEJANDRA
     URIBE; RICARDO URIBE; LISA
  20 VALDES; ERIN VALENZUELA;
     JENNIFER VAN VLYMEN;
  21 NATHALIE VANDERSTAY; GERARD
     VANGERWEN; AMY VIGER;
  22 JEREMY VIGER; DILLON
     VILLALOBOS; DON VILLALOBOS;
  23 LISA VILLALOBOS; PARISSE
     VILLALOBOS; PETER VIOLAS;
  24 CECELIA JOYA WALACH; REBECCA
     WALTMAN; DONALD WASHBROOK
  25 JR.; AMANDA WECHSLER; CARRIE
     WEIDENKELLER; TRICIA WELCH;
  26 KEVIN WELLS; SERENA WEST;
     CHRISTOPHER WETZEL; GINA B.
  27 WHEELER; DEREK WHITE; GREG
     WHITE; VICTORIA WHITE;
  28 PRESLEY WICK; TRACIE P. WIGHT;
      39245596.3
                              COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 11 of 181 Page ID #:11




   1 STACY WILBANKS; REBECCA
     WILKEN; ANNA WILLIAMS; JOSEPH
   2 N. WILLIAMS; STANLEY
     WILLIAMS; JAMES WILLIAMSON;
   3 MARCUS WILSON; MCKAYLA
     WILSON; KATELYN WING; KERRY
   4 WISDEN; ANTHONY WOOD;
     SHAWNA WOOD; JAEGER
   5 WOODSON; JADE WRIGHT; JEFF
     WRIGHT; TOME XAYAVONG;
   6 BRETT YEAKEL; SHAWNA YORK;
     BRANDON YOUNG; LAURA
   7 ZARATE; SHANNON ZEEMAN; AND
     SHARLA ZOTEA,
   8
              Defendants.
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                              COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 12 of 181 Page ID #:12




   1                                     INTRODUCTION
   2            1.   On October 1, 2017, Stephen Paddock carried out a mass attack at the
   3 Route 91 Harvest Festival in Las Vegas, Nevada.
   4            2.   Paddock intended to inflict mass injury, death and destruction. He
   5 killed 58 persons and injured some 500 others. Paddock’s attack resulted in the
   6 highest number of deaths of any mass shooting in the Nation’s history.
   7            3.   Security for the concert was provided by Contemporary Services
   8 Corporation, whose security services have been certified by the Secretary of
   9 Homeland Security for protecting against and responding to acts of mass injury and
  10 destruction.
  11            4.   Recognizing the national interest in such events, and in the
  12 development and deployment of services certified by the Secretary of Homeland
  13 Security to prevent and respond to such events, Congress has provided original and
  14 exclusive federal jurisdiction for any claims of injuries arising out of or relating to
  15 mass violence where services certified by the Department of Homeland Security
  16 were deployed.
  17            5.   Plaintiff MGM Resorts Festival Grounds, LLC owns and operates the
  18 Las Vegas Village, at 3901 South Las Vegas Boulevard, Las Vegas, Nevada 89119,
  19 where the Route 91 Harvest Festival was held. Plaintiff Mandalay Bay, LLC owns
  20 and operates the Mandalay Bay resort, which is adjacent to Las Vegas Village.
  21 Plaintiff MGM Resorts International is the parent corporation, with 100% interest in
  22 Plaintiff Mandalay Resort Group and an indirect 100% interest in Mandalay Bay,
  23 LLC, and MGM Resorts Festival Grounds. Plaintiff MGM Resorts Venue
  24 Management, LLC is a Nevada limited liability company.
  25            6.    Paddock carried out his mass attack on the concert from a room on the
  26 32nd floor of the Mandalay Bay resort.
  27            7.   Following Paddock’s attack, over 2,500 individuals (“Claimants”) have
  28 brought lawsuits, or threatened to bring lawsuits, against Plaintiffs MGM Resorts
       39245596.3
                                                   -1-
            COMPLAINT FOR DECLARATORY RELIEF RE APPLICATION OF SAFETY ACT, 6 U.S.C. §§ 441-444
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 13 of 181 Page ID #:13




   1 Festival Grounds, LLC, MGM Resorts International, Mandalay Bay, LLC,
   2 Mandalay Resort Group, and MGM Resorts Venue Management, LLC (collectively,
   3 “the MGM Parties”), alleging that the MGM Parties (among others) are liable for
   4 deaths, injuries, and emotional distress resulting from Paddock’s attack. Claimants
   5 subsequently voluntarily dismissed these cases before they could be resolved,
   6 apparently with the intent of refiling.
   7            8.    Named as defendants in this case are Claimants who have brought
   8 lawsuits (which they subsequently voluntarily dismissed) against the MGM Parties,
   9 alleging claims arising from Paddock’s attack, and persons who, through counsel,
  10 have threatened to bring such claims against the MGM Parties.
  11            9.    Congress has enacted legislation to support the development of new
  12 technologies and services to prevent and respond to mass violence. That legislation,
  13 the Support Anti-Terrorism by Fostering Effective Technologies Act of 2002, 6
  14 U.S.C. §§ 441-444 (also known by the acronym, the “SAFETY Act”), provides a
  15 calibrated balance of remedies and limitations on liabilities arising from mass
  16 attacks committed on U.S. soil where services certified by the Department of
  17 Homeland Security were deployed.
  18            10.   In the case of Paddock’s mass attack, certified technologies or services
  19 were deployed by a professional security company, Contemporary Services
  20 Corporation (“CSC”), which was employed as the Security Vendor for the Route 91
  21 concert. As alleged in more detail below, Paddock’s mass attack meets the
  22 requirements of the SAFETY Act as set forth in the statute and the Regulations
  23 promulgated by the Department of Homeland Security.
  24            11.   Defendants’ actual and threatened lawsuits implicate the services
  25 provided by CSC because they implicate security at the concert, for example
  26 security training, emergency response, evacuation, and adequacy of egress.
  27            12.   As a result, the SAFETY Act applies to and governs all actions and any
  28 claims arising out of or relating to Paddock’s mass attack. There are five key
       39245596.3
                                                   -2-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 14 of 181 Page ID #:14




   1 aspects of the Act and implementing regulations promulgated by the Department of
   2 Homeland Security as authorized and contemplated by the SAFETY Act. 6 C.F.R.
   3 § 25.1 et seq.
   4            13.   First, the SAFETY Act creates a “Federal cause of action for claims
   5 arising out of [or] relating to” an act of mass violence where certified services were
   6 deployed and where such claims may result in losses to the Seller of the services. 6
   7 U.S.C. § 442(a)(1).
   8            14.   Second, the SAFETY Act expressly provides the federal courts with
   9 “original and exclusive jurisdiction over all actions for any claim for loss” arising
  10 out of or related to such an attack. 6 U.S.C. § 442(a)(2).
  11            15.   Third, as confirmed by the Secretary’s implementing regulations
  12 promulgated after enactment of the SAFETY Act, the federal cause of action created
  13 by the statute is the exclusive claim available in such circumstances. 6 U.S.C.
  14 § 442(a)(1). The regulations state: “There shall exist only one cause of action for
  15 loss of property, personal injury, or death for performance or non-performance of
  16 the Seller’s Qualified Anti–Terrorism Technology in relation to an Act of
  17 Terrorism.” 6 C.F.R. § 25.7(d).
  18            16.   Fourth, the regulations further provide that “Such cause of action may
  19 be brought only against the Seller of the Qualified Anti–Terrorism Technology and
  20 may not be brought against the buyers, the buyers’ contractors, or downstream users
  21 of the Technology, the Seller's suppliers or contractors, or any other person or
  22 entity.” 6 C.F.R. § 25.7(d).
  23            17.   Fifth, to ensure compensation for victims in appropriate cases, the
  24 SAFETY Act requires that the Seller “obtain liability insurance of such types and in
  25 such amounts as shall be required in accordance with this section and certified by
  26 the Secretary to satisfy otherwise compensable third-party claims arising out of,
  27 relating to, or resulting from an act of terrorism.” 6 U.S.C. § 443(a)(1).
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       39245596.3
                                                   -3-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 15 of 181 Page ID #:15




   1            18.   Congress enacted the SAFETY Act in recognition of the strong
   2 national interest in encouraging the development and use of technologies and
   3 services that can help prevent and respond to mass violence. The Act does so in part
   4 by assurance of limited liability in the unfortunate event that an incident of mass
   5 violence occurs and injuries occur despite the deployment of such technology. The
   6 Act also does so by creating original and exclusive jurisdiction for the resolution of
   7 all controversies in federal court. 6 U.S.C. § 442(a)(2).
   8            19.   The SAFETY Act expressly provides the federal courts with original
   9 and exclusive jurisdiction over “all actions for and any claims for loss [or] injury”
  10 arising out of or relating to a mass attack where certified services were provided and
  11 where such claims may result in losses to the seller of those services. The Act and
  12 the associated regulations make clear that any such claim against the MGM Parties
  13 must be dismissed.
  14            20.   By this action, the MGM Parties seek a declaratory judgment and
  15 further relief pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and
  16 2202, that the MGM parties cannot be held liable to Defendants for deaths, injuries,
  17 or other damages arising from Paddock’s attack.
  18                                         PARTIES
  19            A.    PLAINTIFFS
  20            21.   Plaintiff MGM RESORTS INTERNATIONAL is a Delaware
  21 corporation with its principal place of business in Las Vegas, Nevada. Plaintiff
  22 MGM RESORTS INTERNATIONAL is a citizen of Delaware and Nevada for
  23 purposes of diversity jurisdiction.
  24            22.   Plaintiff MANDALAY RESORT GROUP is a Nevada corporation
  25 with its principal place of business in Las Vegas, Nevada. MANDALAY RESORT
  26 GROUP is a citizen of Nevada for purposes of diversity jurisdiction.
  27            23.   Plaintiff, MANDALAY BAY, LLC f/k/a MANDALAY CORP. is a
  28 Nevada limited liability company with a single member, Mandalay Resort
       39245596.3
                                                 -4-
                                  COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 16 of 181 Page ID #:16




   1 Group. Plaintiff MANDALAY BAY, LLC f/k/a MANDALAY CORP is a citizen
   2 of Nevada for purposes of diversity jurisdiction.
   3            24.   Plaintiff MGM RESORTS FESTIVAL GROUNDS, LLC is a Nevada
   4 limited liability company with a single member, Mandalay Resort Group. Plaintiff
   5 MGM RESORTS FESTIVAL GROUNDS, LLC is a citizen of Nevada for purposes
   6 of diversity jurisdiction.
   7            25.   Plaintiff MGM RESORTS VENUE MANAGEMENT, LLC is a
   8 Nevada limited liability company with a single member, MGM Resorts
   9 International. Plaintiff MGM RESORTS VENUE MANAGEMENT, LLC is a
  10 citizen of Nevada and Delaware for purposes of diversity jurisdiction.
  11            B.    DEFENDANTS
  12            26.   Plaintiffs are informed and believe, and thereon allege, that defendant
  13 David Aase is a resident of the State of California. Defendant has previously filed a
  14 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  15 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  16 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
  17 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
  18 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
  19 of the County of Los Angeles, State of California.
  20            27.   Plaintiffs are informed and believe, and thereon allege, that defendant
  21 Gary Aase is a resident of the State of California. Defendant has previously filed a
  22 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  23 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  24 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
  25 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
  26 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
  27 of the County of Los Angeles, State of California.
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       39245596.3
                                                   -5-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 17 of 181 Page ID #:17




   1            28.   Plaintiffs are informed and believe, and thereon allege, that defendant
   2 Mark Abraham is a resident of the State of California. Defendant has previously
   3 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   4 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   5 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   6 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   7 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   8 of the County of Los Angeles, State of California.
   9            29.   Plaintiffs are informed and believe and thereon allege that Defendant
  10 Andrea Abrams is a resident of the State of California. Defendant has, through
  11 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  12 October 1, 2017, shooting incident in Las Vegas, Nevada.
  13            30.   Plaintiffs are informed and believe and thereon allege that Defendant
  14 Daniel Abrams is a resident of the State of California. Defendant has, through
  15 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  16 October 1, 2017, shooting incident in Las Vegas, Nevada.
  17            31.   Plaintiffs are informed and believe, and thereon allege, that defendant
  18 Luke Adam is a resident of the State of California. Defendant has previously filed a
  19 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  20 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  21 Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the Los
  22 Angeles Superior Court (“LASC”), case number BC687120.
  23            32.   Plaintiffs are informed and believe, and thereon allege, that defendant
  24 Robert Aguilar is a resident of the State of California. Defendant has previously
  25 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  26 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  27 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Aguilar v. MGM,
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       39245596.3
                                                   -6-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 18 of 181 Page ID #:18




   1 Plaintiffs are informed and believe that Defendant is a resident of the County of Los
   2 Angeles, State of California.
   3            33.   Plaintiffs are informed and believe, and thereon allege, that defendant
   4 Gloria Aguirre is a resident of the State of California. Defendant has previously filed
   5 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   6 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   7 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   8 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
   9 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
  10 of the County of Los Angeles, State of California.
  11            34.   Plaintiffs are informed and believe, and thereon allege that on October
  12 1, 2017, decedent Hannah Ahlers, was a resident of the State of California.
  13 Plaintiffs are informed and believe and thereon allege that Defendants, the Estate of
  14 Hannah Ahlers and Brian Ahlers (surviving husband, heir and successor-in-interest)
  15 have, through counsel, made claims against Plaintiffs based upon the October 1,
  16 2017, shooting incident in Las Vegas, Nevada, or, alternatively, has indicated an
  17 intent to make such claims in the future (such as by way of the filing of a separate
  18 lawsuit – now dismissed, by way of a letter of representation of counsel, or by way
  19 of an evidence preservation letter from counsel).
  20            35.   Plaintiffs are informed and believe and thereon allege that Defendant
  21 Marco Albertini is a resident of the State of California. Defendant has, through
  22 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  23 October 1, 2017, shooting incident in Las Vegas, Nevada.
  24            36.   Plaintiffs are informed and believe, and thereon allege, that defendant
  25 Renee Alcala is a resident of the State of California. Defendant has previously filed
  26 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  27 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  28 Las Vegas, Nevada. Based on the allegations in that lawsuit, Huggins, et al. v.
       39245596.3
                                                   -7-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 19 of 181 Page ID #:19




   1 MGM, filed February 14, 2018, in the Los Angeles Superior Court (“LASC”), case
   2 number BC694788, Plaintiffs are informed and believe that Defendant is a resident
   3 of the County of Los Angeles, State of California.
   4            37.   Plaintiffs are informed and believe, and thereon allege, that defendant
   5 Ernesto Alfaro is a resident of the State of California. Defendant has previously filed
   6 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   7 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   8 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   9 Los Angeles Superior Court (“LASC”), case number BC684047.
  10            38.   Plaintiffs are informed and believe, and thereon allege, that defendant
  11 Tenesha Alfaro is a resident of the State of California. Defendant has previously
  12 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  13 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  14 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  15 Los Angeles Superior Court (“LASC”), case number BC684047.
  16            39.   Plaintiffs are informed and believe and thereon allege that Defendant
  17 Sara Allegro is a resident of the State of California. Defendant has, through counsel,
  18 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
  19 2017, shooting incident in Las Vegas, Nevada.
  20            40.   Plaintiffs are informed and believe, and thereon allege, that defendant
  21 Etta Allen is a resident of the State of California. Defendant has previously filed a
  22 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  23 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  24 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  25 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  26 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  27 of the County of Los Angeles, State of California.
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       39245596.3
                                                   -8-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 20 of 181 Page ID #:20




   1            41.   Plaintiffs are informed and believe and thereon allege that Defendant
   2 Leanne Altamirano is a resident of the State of California. Defendant has, through
   3 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   4 October 1, 2017, shooting incident in Las Vegas, Nevada.
   5            42.   Plaintiffs are informed and believe, and thereon allege, that defendant
   6 Ruben Alulema is a resident of the State of California. Defendant has previously
   7 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   8 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   9 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  10 Los Angeles Superior Court (“LASC”), case number BC684047.
  11            43.   Plaintiffs are informed and believe and thereon allege that Defendant
  12 Alex Alvarez is a resident of the State of California. Defendant has, through
  13 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  14 October 1, 2017, shooting incident in Las Vegas, Nevada.
  15            44.   Plaintiffs are informed and believe, and thereon allege, that defendant
  16 Daniel Earl Alvarez is a resident of the State of California. Defendant has previously
  17 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  18 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  19 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  20 Los Angeles Superior Court (“LASC”), case number BC684047.
  21            45.   Plaintiffs are informed and believe and thereon allege that Defendant
  22 Joanna Alvarez is a resident of the State of California. Defendant has, through
  23 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  24 October 1, 2017, shooting incident in Las Vegas, Nevada.
  25            46.   Plaintiffs are informed and believe, and thereon allege, that defendant
  26 Lindsey Alvarez is a resident of the State of California. Defendant has previously
  27 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  28 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
       39245596.3
                                                   -9-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 21 of 181 Page ID #:21




   1 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   2 Los Angeles Superior Court (“LASC”), case number BC684047.
   3            47.   Plaintiffs are informed and believe and thereon allege that Defendant
   4 Danielle Ambrose is a resident of the State of California. Defendant has, through
   5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   6 October 1, 2017, shooting incident in Las Vegas, Nevada.
   7            48.   Plaintiffs are informed and believe and thereon allege that Defendant
   8 Aletha Anderson is a resident of the State of California. Defendant has, through
   9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  10 October 1, 2017, shooting incident in Las Vegas, Nevada.
  11            49.   Plaintiffs are informed and believe and thereon allege that Defendant
  12 Natalie Anderson is a resident of the State of California. Defendant has, through
  13 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  14 October 1, 2017, shooting incident in Las Vegas, Nevada.
  15            50.   Plaintiffs are informed and believe, and thereon allege, that defendant
  16 Rebecca Ann Anderson is a resident of the State of California. Defendant has
  17 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
  18 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
  19 shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
  20 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
  21 BC684047.
  22            51.   Plaintiffs are informed and believe and thereon allege that Defendant
  23 Ryan Anderson is a resident of the State of California. Defendant has, through
  24 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  25 October 1, 2017, shooting incident in Las Vegas, Nevada.
  26            52.   Plaintiffs are informed and believe and thereon allege that Defendant
  27 Shannon Anderson is a resident of the State of California. Defendant has, through
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       39245596.3
                                                  -10-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 22 of 181 Page ID #:22




   1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   2 October 1, 2017, shooting incident in Las Vegas, Nevada.
   3            53.   Plaintiffs are informed and believe and thereon allege that Defendant
   4 Jennifer Aparicio is a resident of the State of California, County of Los Angeles.
   5 Defendant has, through counsel, asserted or threatened to assert claims against
   6 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   7            54.   Plaintiffs are informed and believe and thereon allege that Defendant
   8 Brenden Araujo is a resident of the State of California. Defendant has, through
   9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  10 October 1, 2017, shooting incident in Las Vegas, Nevada.
  11            55.   Plaintiffs are informed and believe, and thereon allege, that defendant
  12 Cassie Ardito is a resident of the State of California. Defendant has previously filed
  13 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  14 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  15 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  16 Los Angeles Superior Court (“LASC”), case number BC684047.
  17            56.   Plaintiffs are informed and believe, and thereon allege, that defendant
  18 Richard Ardito is a resident of the State of California. Defendant has previously
  19 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  20 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  21 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  22 Los Angeles Superior Court (“LASC”), case number BC684047.
  23            57.   Plaintiffs are informed and believe, and thereon allege, that defendant
  24 Jesus Astua is a resident of the State of California. Defendant has previously filed a
  25 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  26 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  27 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  28 Los Angeles Superior Court (“LASC”), case number BC684047.
       39245596.3
                                                  -11-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 23 of 181 Page ID #:23




   1            58.   Plaintiffs are informed and believe, and thereon allege, that defendant
   2 Lisa Awalt is a resident of the State of California. Defendant has previously filed a
   3 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   4 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   5 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   6 Los Angeles Superior Court (“LASC”), case number BC684047.
   7            59.   Plaintiffs are informed and believe, and thereon allege, that defendant
   8 D.B., a minor, is a resident of the State of California. Defendant has previously filed
   9 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  10 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  11 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  12 Los Angeles Superior Court (“LASC”), case number BC684047.
  13            60.   Plaintiffs are informed and believe, and thereon allege, that defendant
  14 Codi Babcock is a resident of the State of California. Defendant has previously filed
  15 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  16 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  17 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  18 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  19 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  20 of the County of Los Angeles, State of California.
  21            61.   Plaintiffs are informed and believe, and thereon allege, that defendant
  22 Cheyene Bacon-Meriweather is a resident of the State of California. Defendant has
  23 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
  24 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
  25 shooting incident in Las Vegas, Nevada. Based on the allegations in that lawsuit,
  26 Mayfield, et al. v. MGM, filed December 15, 2017, in the Los Angeles Superior
  27 Court (“LASC”), case number BC687120, Plaintiffs are informed and believe that
  28 Defendant is a resident of the County of Los Angeles, State of California.
       39245596.3
                                                  -12-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 24 of 181 Page ID #:24




   1            62.   Plaintiffs are informed and believe and thereon allege that Defendant
   2 Christopher Badorek is a resident of the State of California. Defendant has, through
   3 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   4 October 1, 2017, shooting incident in Las Vegas, Nevada.
   5            63.   Plaintiffs are informed and believe, and thereon allege, that defendant
   6 Tracey Baker is a resident of the State of California. Defendant has previously filed
   7 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   8 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   9 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  10 Los Angeles Superior Court (“LASC”), case number BC684047.
  11            64.   Plaintiffs are informed and believe and thereon allege that Defendant
  12 Shannon Balas is a resident of the State of California. Defendant has, through
  13 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  14 October 1, 2017, shooting incident in Las Vegas, Nevada.
  15            65.   Plaintiffs are informed and believe, and thereon allege, that defendant
  16 Tiffany Ball is a resident of the State of California. Defendant has previously filed a
  17 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  18 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  19 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  20 Los Angeles Superior Court (“LASC”), case number BC684047.
  21            66.   Plaintiffs are informed and believe, and thereon allege, that defendant
  22 Mary Banta is a resident of the State of California. Defendant has previously filed a
  23 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  24 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  25 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  26 Los Angeles Superior Court (“LASC”), case number BC684047.
  27            67.   Plaintiffs are informed and believe, and thereon allege, that defendant
  28 Ted Banta is a resident of the State of California. Defendant has previously filed a
       39245596.3
                                                  -13-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 25 of 181 Page ID #:25




   1 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   2 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   3 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   4 Los Angeles Superior Court (“LASC”), case number BC684047.
   5            68.   Plaintiffs are informed and believe and thereon allege that Defendant
   6 Jason Banville is a resident of the State of California. Defendant has, through
   7 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   8 October 1, 2017, shooting incident in Las Vegas, Nevada.
   9            69.   Plaintiffs are informed and believe and thereon allege that Defendant
  10 Tegan Banville is a resident of the State of California. Defendant has, through
  11 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  12 October 1, 2017, shooting incident in Las Vegas, Nevada.
  13            70.   Plaintiffs are informed and believe and thereon allege that Defendant
  14 Jasmine Barbusca is a resident of the State of California. Defendant has, through
  15 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  16 October 1, 2017, shooting incident in Las Vegas, Nevada.
  17            71.   Plaintiffs are informed and believe, and thereon allege that on October
  18 1, 2017, decedent Carrie Barnette, was a resident of the State of California.
  19 Plaintiffs are informed and believe and thereon allege that Defendant, the Estate of
  20 Carrie Barnette, has, through counsel, made claims against Plaintiffs based upon the
  21 October 1, 2017, shooting incident in Las Vegas, Nevada, or, alternatively, has
  22 indicated an intent to make such claims in the future (such as by way of the filing of
  23 a separate lawsuit – now dismissed, by way of a letter of representation of counsel,
  24 or by way of an evidence preservation letter from counsel).
  25            72.   Plaintiffs are informed and believe, and thereon allege, that defendant
  26 Tinella Barranco is a resident of the State of California. Defendant has previously
  27 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  28 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
       39245596.3
                                                  -14-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 26 of 181 Page ID #:26




   1 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   2 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   3 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   4 of the County of Los Angeles, State of California.
   5            73.   Plaintiffs are informed and believe, and thereon allege, that defendant
   6 Ronald A. Barreras Jr. is a resident of the State of California. Defendant has
   7 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
   8 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
   9 shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
  10 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
  11 BC684047.
  12            74.   Plaintiffs are informed and believe, and thereon allege, that defendant
  13 Donovan (Donny) Barthel is a resident of the State of California. Defendant has
  14 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
  15 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
  16 shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
  17 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
  18 BC684047.
  19            75.   Plaintiffs are informed and believe, and thereon allege, that defendant
  20 Monique D. Barthel is a resident of the State of California. Defendant has
  21 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
  22 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
  23 shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
  24 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
  25 BC684047.
  26            76.   Plaintiffs are informed and believe and thereon allege that Defendant
  27 Courtney Bean is a resident of the State of California. Defendant has, through
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       39245596.3
                                                  -15-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 27 of 181 Page ID #:27




   1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   2 October 1, 2017, shooting incident in Las Vegas, Nevada.
   3            77.   Plaintiffs are informed and believe, and thereon allege, that defendant
   4 Brad Beauchamp is a resident of the State of California. Defendant has previously
   5 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   6 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   7 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   8 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
   9 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
  10 of the County of Los Angeles, State of California.
  11            78.   Plaintiffs are informed and believe, and thereon allege, that defendant
  12 Dawn Beauchamp is a resident of the State of California. Defendant has previously
  13 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  14 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  15 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
  16 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
  17 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
  18 of the County of Los Angeles, State of California.
  19            79.   Plaintiffs are informed and believe, and thereon allege, that defendant
  20 Aleisa Bebee is a resident of the State of California. Defendant has previously filed
  21 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  22 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  23 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  24 Los Angeles Superior Court (“LASC”), case number BC684047.
  25            80.   Plaintiffs are informed and believe and thereon allege that Defendant
  26 Ashley Becker is a resident of the State of California. Defendant has, through
  27 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  28 October 1, 2017, shooting incident in Las Vegas, Nevada.
       39245596.3
                                                  -16-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 28 of 181 Page ID #:28




   1            81.   Plaintiffs are informed and believe, and thereon allege, that defendant
   2 Sean Beeson is a resident of the State of California. Defendant has previously filed a
   3 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   4 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   5 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   6 Los Angeles Superior Court (“LASC”), case number BC684047.
   7            82.   Plaintiffs are informed and believe and thereon allege that Defendant
   8 Jonathon Bell is a resident of the State of California. Defendant has, through
   9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  10 October 1, 2017, shooting incident in Las Vegas, Nevada.
  11            83.   Plaintiffs are informed and believe and thereon allege that Defendant
  12 Annalise Belmares is a resident of the State of California. Defendant has, through
  13 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  14 October 1, 2017, shooting incident in Las Vegas, Nevada.
  15            84.   Plaintiffs are informed and believe and thereon allege that Defendant
  16 Meghan Belmares is a resident of the State of California. Defendant has, through
  17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  18 October 1, 2017, shooting incident in Las Vegas, Nevada.
  19            85.   Plaintiffs are informed and believe and thereon allege that Defendant
  20 Jonathan Beltran is a resident of the State of California. Defendant has, through
  21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  22 October 1, 2017, shooting incident in Las Vegas, Nevada.
  23            86.   Plaintiffs are informed and believe and thereon allege that Defendant
  24 Daniel R. Best is a resident of the State of California. Defendant has, through
  25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  26 October 1, 2017, shooting incident in Las Vegas, Nevada.
  27            87.   Plaintiffs are informed and believe and thereon allege that Defendant
  28 Carly Betzler is a resident of the State of California. Defendant has, through
       39245596.3
                                                  -17-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 29 of 181 Page ID #:29




   1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   2 October 1, 2017, shooting incident in Las Vegas, Nevada.
   3            88.   Plaintiffs are informed and believe, and thereon allege, that defendant
   4 Taylor Blaiser is a resident of the State of California. Defendant has previously filed
   5 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   6 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   7 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   8 Los Angeles Superior Court (“LASC”), case number BC684047.
   9            89.   Plaintiffs are informed and believe and thereon allege that Defendant
  10 Jannette Blake is a resident of the State of California. Defendant has, through
  11 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  12 October 1, 2017, shooting incident in Las Vegas, Nevada.
  13            90.   Plaintiffs are informed and believe and thereon allege that Defendant
  14 Paula Blakeley is a resident of the State of California. Defendant has, through
  15 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  16 October 1, 2017, shooting incident in Las Vegas, Nevada.
  17            91.   Plaintiffs are informed and believe, and thereon allege, that defendant
  18 Jodi Boatwood is a resident of the State of California. Defendant has previously
  19 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  20 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  21 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  22 Los Angeles Superior Court (“LASC”), case number BC684047.
  23            92.   Plaintiffs are informed and believe and thereon allege that Defendant
  24 Amanda Bobb is a resident of the State of California. Defendant has, through
  25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  26 October 1, 2017, shooting incident in Las Vegas, Nevada.
  27            93.   Plaintiffs are informed and believe and thereon allege that Defendant
  28 Dylan Boden is a resident of the State of California. Defendant has, through counsel,
       39245596.3
                                                  -18-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 30 of 181 Page ID #:30




   1 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   2 2017, shooting incident in Las Vegas, Nevada.
   3            94.   Plaintiffs are informed and believe and thereon allege that Defendant
   4 Emily Boden is a resident of the State of California. Defendant has, through
   5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   6 October 1, 2017, shooting incident in Las Vegas, Nevada.
   7            95.   Plaintiffs are informed and believe and thereon allege that Defendant
   8 Joy Boden is a resident of the State of California. Defendant has, through counsel,
   9 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
  10 2017, shooting incident in Las Vegas, Nevada.
  11            96.   Plaintiffs are informed and believe and thereon allege that Defendant
  12 Maddison Boden is a resident of the State of California. Defendant has, through
  13 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  14 October 1, 2017, shooting incident in Las Vegas, Nevada.
  15            97.   Plaintiffs are informed and believe and thereon allege that Defendant
  16 Mark Boden is a resident of the State of California. Defendant has, through counsel,
  17 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
  18 2017, shooting incident in Las Vegas, Nevada.
  19            98.   Plaintiffs are informed and believe, and thereon allege, that defendant
  20 Crystal Bolke is a resident of the State of California. Defendant has previously filed
  21 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  22 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  23 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  24 Los Angeles Superior Court (“LASC”), case number BC684047.
  25            99.   Plaintiffs are informed and believe and thereon allege that Defendant
  26 Dianella Bono is a resident of the State of California. Defendant has, through
  27 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  28 October 1, 2017, shooting incident in Las Vegas, Nevada.
       39245596.3
                                                  -19-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 31 of 181 Page ID #:31




   1            100. Plaintiffs are informed and believe, and thereon allege, that defendant
   2 Maureen Bonte is a resident of the State of California. Defendant has previously
   3 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   4 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   5 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   6 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   7 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   8 of the County of Los Angeles, State of California.
   9            101. Plaintiffs are informed and believe and thereon allege that Defendant
  10 Nicole Bontempo is a resident of the State of California. Defendant has, through
  11 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  12 October 1, 2017, shooting incident in Las Vegas, Nevada.
  13            102. Plaintiffs are informed and believe, and thereon allege, that defendant
  14 Paul Boone is a resident of the State of California. Defendant has previously filed a
  15 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  16 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  17 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  18 Los Angeles Superior Court (“LASC”), case number BC684047.
  19            103. Plaintiffs are informed and believe, and thereon allege that on October
  20 1, 2017, decedent Candice Bowers, was a resident of the State of California.
  21 Plaintiffs are informed and believe and thereon allege that the Defendants, the Estate
  22 of Candice Bowers, Kurtis Anthony Bowers (surviving son, heir, and successor-in-
  23 interest), K.L.A. (a minor, heir, and successor-in-interest), and A.R.B. (a minor,
  24 heir, and successor-in-interest), are residents of the County of Los Angeles, State of
  25 California, who have, through counsel, made claims against Plaintiffs based upon
  26 the October 1, 2017, shooting incident in Las Vegas, Nevada, by way of the filing of
  27 a separate lawsuit – now dismissed). The residency of these Defendants was
  28 represented to a court in a Complaint in the dismissed action Bowers, et al. v. MGM,
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                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 32 of 181 Page ID #:32




   1 filed May 10, 2018, in the Los Angeles Superior Court (“LASC”), case number
   2 BC705803.
   3            104. Plaintiffs are informed and believe, and thereon allege, that defendant
   4 Vedamay Bradford is a resident of the State of California. Defendant has previously
   5 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   6 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   7 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Vanderstay, et al. v.
   8 MGM, filed November 13, 2017, in the Los Angeles Superior Court (“LASC”), case
   9 number BC683403, Plaintiffs are informed and believe that Defendant is a resident
  10 of the County of Los Angeles, State of California.
  11            105. Plaintiffs are informed and believe and thereon allege that Defendant
  12 Michael Bradley is a resident of the State of California. Defendant has, through
  13 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  14 October 1, 2017, shooting incident in Las Vegas, Nevada.
  15            106. Plaintiffs are informed and believe, and thereon allege, that defendant
  16 Cindy Bradshaw is a resident of the State of California. Defendant has previously
  17 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  18 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  19 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
  20 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
  21 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
  22 of the County of Ventura, State of California.
  23            107. Plaintiffs are informed and believe, and thereon allege, that defendant
  24 Robert (Bobby) Bradshaw is a resident of the State of California. Defendant has
  25 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
  26 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
  27 shooting incident in Las Vegas, Nevada. Based on the allegations in that lawsuit,
  28 Mayfield, et al. v. MGM, filed December 15, 2017, in the Los Angeles Superior
       39245596.3
                                                  -21-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 33 of 181 Page ID #:33




   1 Court (“LASC”), case number BC687120, Plaintiffs are informed and believe that
   2 Defendant is a resident of the County of Ventura, State of California.
   3            108. Plaintiffs are informed and believe, and thereon allege, that defendant
   4 Lauren Brady is a resident of the State of California. Defendant has previously filed
   5 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   6 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   7 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   8 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   9 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  10 of the County of Los Angeles, State of California.
  11            109. Plaintiffs are informed and believe, and thereon allege, that defendant
  12 David Brake is a resident of the State of California. Defendant has previously filed a
  13 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  14 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  15 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  16 Los Angeles Superior Court (“LASC”), case number BC684047.
  17            110. Plaintiffs are informed and believe and thereon allege that Defendant
  18 Stevee Brancato is a resident of the State of California. Defendant has, through
  19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  20 October 1, 2017, shooting incident in Las Vegas, Nevada.
  21            111. Plaintiffs are informed and believe and thereon allege that Defendant
  22 James Brightly is a resident of the State of California. Defendant has, through
  23 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  24 October 1, 2017, shooting incident in Las Vegas, Nevada.
  25            112. Plaintiffs are informed and believe and thereon allege that Defendant
  26 Mailys Brightly is a resident of the State of California. Defendant has, through
  27 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  28 October 1, 2017, shooting incident in Las Vegas, Nevada.
       39245596.3
                                                  -22-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 34 of 181 Page ID #:34




   1            113. Plaintiffs are informed and believe and thereon allege that Defendant
   2 Edward Brown is a resident of the State of California. Defendant has, through
   3 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   4 October 1, 2017, shooting incident in Las Vegas, Nevada.
   5            114. Plaintiffs are informed and believe and thereon allege that Defendant
   6 Erika Brown is a resident of the State of California. Defendant has, through counsel,
   7 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   8 2017, shooting incident in Las Vegas, Nevada.
   9            115. Plaintiffs are informed and believe and thereon allege that Defendant
  10 Ronda Brown is a resident of the State of California. Defendant has, through
  11 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  12 October 1, 2017, shooting incident in Las Vegas, Nevada.
  13            116. Plaintiffs are informed and believe, and thereon allege, that defendant
  14 Stephanie Brown is a resident of the State of California. Defendant has previously
  15 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  16 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  17 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  18 Los Angeles Superior Court (“LASC”), case number BC684047.
  19            117. Plaintiffs are informed and believe, and thereon allege, that defendant
  20 Stacey Brown-Fusano is a resident of the State of California. Defendant has
  21 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
  22 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
  23 shooting incident in Las Vegas, Nevada. Based on the allegations in that lawsuit,
  24 Mayfield, et al. v. MGM, filed December 15, 2017, in the Los Angeles Superior
  25 Court (“LASC”), case number BC687120, Plaintiffs are informed and believe that
  26 Defendant is a resident of the County of Los Angeles, State of California.
  27            118. Plaintiffs are informed and believe and thereon allege that Defendant
  28 Tayler Brunner is a resident of the State of California. Defendant has, through
       39245596.3
                                                  -23-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 35 of 181 Page ID #:35




   1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   2 October 1, 2017, shooting incident in Las Vegas, Nevada.
   3            119. Plaintiffs are informed and believe and thereon allege that Defendant
   4 John Bui is a resident of the State of California. Defendant has, through counsel,
   5 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   6 2017, shooting incident in Las Vegas, Nevada.
   7            120. Plaintiffs are informed and believe, and thereon allege, that defendant
   8 Treanesha LaShonda Bullion is a resident of the State of California. Defendant has
   9 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
  10 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
  11 shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
  12 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
  13 BC684047.
  14            121. Plaintiffs are informed and believe and thereon allege that Defendant
  15 Terry Burk is a resident of the State of California. Defendant has, through counsel,
  16 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
  17 2017, shooting incident in Las Vegas, Nevada.
  18            122. Plaintiffs are informed and believe and thereon allege that Defendant
  19 Andrea Bustamante is a resident of the State of California. Defendant has, through
  20 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  21 October 1, 2017, shooting incident in Las Vegas, Nevada.
  22            123. Plaintiffs are informed and believe and thereon allege that Defendant
  23 Gabriella Bustamante is a resident of the State of California. Defendant has, through
  24 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  25 October 1, 2017, shooting incident in Las Vegas, Nevada.
  26            124. Plaintiffs are informed and believe, and thereon allege, that defendant
  27 Hector Caballero is a resident of the State of California. Defendant has previously
  28 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
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                                                  -24-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 36 of 181 Page ID #:36




   1 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   2 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   3 Los Angeles Superior Court (“LASC”), case number BC684047.
   4            125. Plaintiffs are informed and believe, and thereon allege, that defendant
   5 Heather L. Cain is a resident of the State of California. Defendant has previously
   6 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   7 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   8 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   9 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  10 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  11 of the County of Los Angeles, State of California.
  12            126. Plaintiffs are informed and believe and thereon allege that Defendant
  13 Jennifer Campas is a resident of the State of California. Defendant has, through
  14 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  15 October 1, 2017, shooting incident in Las Vegas, Nevada.
  16            127. Plaintiffs are informed and believe and thereon allege that Defendant
  17 Jennifer L. Campbell is a resident of the State of California. Defendant has, through
  18 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  19 October 1, 2017, shooting incident in Las Vegas, Nevada.
  20            128. Plaintiffs are informed and believe and thereon allege that Defendant
  21 Lynzee Campbell is a resident of the State of California. Defendant has, through
  22 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  23 October 1, 2017, shooting incident in Las Vegas, Nevada.
  24            129. Plaintiffs are informed and believe, and thereon allege, that defendant
  25 Julia Campos is a resident of the State of California. Defendant has previously filed
  26 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  27 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  28 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
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                                                  -25-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 37 of 181 Page ID #:37




   1 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   2 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   3 of the County of Los Angeles, State of California.
   4            130. Plaintiffs are informed and believe and thereon allege that Defendant
   5 Karen Canada is a resident of the State of California. Defendant has, through
   6 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   7 October 1, 2017, shooting incident in Las Vegas, Nevada.
   8            131. Plaintiffs are informed and believe, and thereon allege, that defendant
   9 Ingrid Canelo is a resident of the State of California. Defendant has previously filed
  10 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  11 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  12 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  13 Los Angeles Superior Court (“LASC”), case number BC684047.
  14            132. Plaintiffs are informed and believe and thereon allege that Defendant
  15 Renee Canelo is a resident of the State of California. Defendant has, through
  16 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  17 October 1, 2017, shooting incident in Las Vegas, Nevada.
  18            133. Plaintiffs are informed and believe, and thereon allege, that defendant
  19 Mary Canich is a resident of the State of California. Defendant has previously filed
  20 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  21 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  22 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  23 Los Angeles Superior Court (“LASC”), case number BC684047.
  24            134. Plaintiffs are informed and believe and thereon allege that Defendant
  25 Emily Cantrell is a resident of the State of California. Defendant has, through
  26 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  27 October 1, 2017, shooting incident in Las Vegas, Nevada.
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                                                  -26-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 38 of 181 Page ID #:38




   1            135. Plaintiffs are informed and believe and thereon allege that Defendant
   2 Brittnie Nicole Cardenas is a resident of the State of California, County of Los
   3 Angeles. Defendant has, through counsel, asserted or threatened to assert claims
   4 against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
   5 Nevada.
   6            136. Plaintiffs are informed and believe, and thereon allege, that defendant
   7 Jessica Carey is a resident of the State of California. Defendant has previously filed
   8 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   9 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  10 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  11 Los Angeles Superior Court (“LASC”), case number BC684047.
  12            137. Plaintiffs are informed and believe and thereon allege that Defendant
  13 Kate Carlin is a resident of the State of California. Defendant has, through counsel,
  14 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
  15 2017, shooting incident in Las Vegas, Nevada.
  16            138. Plaintiffs are informed and believe, and thereon allege, that defendant
  17 Kari Carlstrom is a resident of the State of California. Defendant has previously
  18 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  19 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  20 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
  21 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
  22 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
  23 of the County of Los Angeles, State of California.
  24            139. Plaintiffs are informed and believe and thereon allege that Defendant
  25 Alexander Carriaga is a resident of the State of California. Defendant has, through
  26 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  27 October 1, 2017, shooting incident in Las Vegas, Nevada.
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                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 39 of 181 Page ID #:39




   1            140. Plaintiffs are informed and believe and thereon allege that Defendant
   2 Kimberly Carriaga is a resident of the State of California. Defendant has, through
   3 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   4 October 1, 2017, shooting incident in Las Vegas, Nevada.
   5            141. Plaintiffs are informed and believe and thereon allege that Defendant
   6 Matthew Carrillo is a resident of the State of California. Defendant has, through
   7 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   8 October 1, 2017, shooting incident in Las Vegas, Nevada.
   9            142. Plaintiffs are informed and believe, and thereon allege, that defendant
  10 Ian Carter is a resident of the State of California. Defendant has previously filed a
  11 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  12 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  13 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  14 Los Angeles Superior Court (“LASC”), case number BC684047.
  15            143. Plaintiffs are informed and believe and thereon allege that Defendant
  16 Elizabeth A. Carvalho is a resident of the State of California. Defendant has,
  17 through counsel, asserted or threatened to assert claims against Plaintiffs based upon
  18 the October 1, 2017, shooting incident in Las Vegas, Nevada.
  19            144. Plaintiffs are informed and believe and thereon allege that Defendant
  20 Connor Casarez is a resident of the State of California. Defendant has, through
  21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  22 October 1, 2017, shooting incident in Las Vegas, Nevada.
  23            145. Plaintiffs are informed and believe and thereon allege that Defendant
  24 Vanessa Case is a resident of the State of California. Defendant has, through
  25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  26 October 1, 2017, shooting incident in Las Vegas, Nevada.
  27            146. Plaintiffs are informed and believe, and thereon allege, that defendant
  28 Michelle Ann Cashman is a resident of the State of California. Defendant has
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                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 40 of 181 Page ID #:40




   1 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
   2 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
   3 shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
   4 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
   5 BC684047.
   6            147. Plaintiffs are informed and believe and thereon allege that Defendant
   7 Carley Cass is a resident of the State of California. Defendant has, through counsel,
   8 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   9 2017, shooting incident in Las Vegas, Nevada.
  10            148. Plaintiffs are informed and believe, and thereon allege that on October
  11 1, 2017, decedent Andrea Castilla, was a resident of the State of California.
  12 Plaintiffs are informed and believe and thereon allege that Defendants, the Estate of
  13 Andrea Castilla, and Gus Castilla (surviving father, heir, and successor-in-interest to
  14 decedent) have, through counsel, made claims against Plaintiffs based upon the
  15 October 1, 2017, shooting incident in Las Vegas, Nevada, or, alternatively, have
  16 indicated an intent to make such claims in the future (such as by way of the filing of
  17 a separate lawsuit – now dismissed, by way of a letter of representation of counsel,
  18 or by way of an evidence preservation letter from counsel). The Defendants are
  19 residents of the County of Orange, State of California, and the residency of these
  20 Defendants was identified to a court in a Complaint in the dismissed action G.
  21 Castilla v. MGM, filed October 17, 2017, in the Los Angeles Superior Court
  22 (“LASC”), case number BC679987.
  23            149. Plaintiffs are informed and believe, and thereon allege, that defendant
  24 Marissa Castle is a resident of the State of California. Defendant has previously filed
  25 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  26 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  27 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  28 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
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                                                  -29-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 41 of 181 Page ID #:41




   1 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   2 of the County of Los Angeles, State of California.
   3            150. Plaintiffs are informed and believe, and thereon allege, that defendant
   4 Rebecca Castro is a resident of the State of California. Defendant has previously
   5 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   6 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   7 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   8 Los Angeles Superior Court (“LASC”), case number BC684047.
   9            151. Plaintiffs are informed and believe, and thereon allege, that defendant
  10 Angela Catura is a resident of the State of California. Defendant has previously filed
  11 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  12 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  13 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  14 Los Angeles Superior Court (“LASC”), case number BC684047.
  15            152. Plaintiffs are informed and believe and thereon allege that Defendant
  16 Christopher Caywood is a resident of the State of California. Defendant has, through
  17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  18 October 1, 2017, shooting incident in Las Vegas, Nevada.
  19            153. Plaintiffs are informed and believe and thereon allege that Defendant
  20 Kasandra Caywood is a resident of the State of California. Defendant has, through
  21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  22 October 1, 2017, shooting incident in Las Vegas, Nevada.
  23            154. Plaintiffs are informed and believe and thereon allege that Defendant
  24 Keri Cesario is a resident of the State of California. Defendant has, through
  25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  26 October 1, 2017, shooting incident in Las Vegas, Nevada.
  27            155. Plaintiffs are informed and believe and thereon allege that Defendant
  28 Robert Cesario is a resident of the State of California. Defendant has, through
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                                                  -30-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 42 of 181 Page ID #:42




   1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   2 October 1, 2017, shooting incident in Las Vegas, Nevada.
   3            156. Plaintiffs are informed and believe and thereon allege that Defendant
   4 Lauren Chagolla is a resident of the State of California. Defendant has, through
   5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   6 October 1, 2017, shooting incident in Las Vegas, Nevada.
   7            157. Plaintiffs are informed and believe and thereon allege that Defendant
   8 Tammy J. Chambers is a resident of the State of California. Defendant has, through
   9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  10 October 1, 2017, shooting incident in Las Vegas, Nevada.
  11            158. Plaintiffs are informed and believe and thereon allege that Defendant
  12 David Chatterton is a resident of the State of California. Defendant has, through
  13 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  14 October 1, 2017, shooting incident in Las Vegas, Nevada.
  15            159. Plaintiffs are informed and believe and thereon allege that Defendant
  16 Marie Chatterton is a resident of the State of California. Defendant has, through
  17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  18 October 1, 2017, shooting incident in Las Vegas, Nevada.
  19            160. Plaintiffs are informed and believe and thereon allege that Defendant
  20 Veronica Chavez is a resident of the State of California. Defendant has, through
  21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  22 October 1, 2017, shooting incident in Las Vegas, Nevada.
  23            161. Plaintiffs are informed and believe and thereon allege that Defendant
  24 Kristi Christensen is a resident of the State of California, County of Los Angeles.
  25 Defendant has, through counsel, asserted or threatened to assert claims against
  26 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  27            162. Plaintiffs are informed and believe, and thereon allege, that defendant
  28 Fabiola Cintron is a resident of the State of California. Defendant has previously
       39245596.3
                                                  -31-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 43 of 181 Page ID #:43




   1 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   2 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   3 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   4 Los Angeles Superior Court (“LASC”), case number BC684047.
   5            163. Plaintiffs are informed and believe, and thereon allege, that defendant
   6 Roger Cintron is a resident of the State of California. Defendant has previously filed
   7 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   8 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   9 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  10 Los Angeles Superior Court (“LASC”), case number BC684047.
  11            164. Plaintiffs are informed and believe, and thereon allege, that defendant
  12 Alisa Clawson is a resident of the State of California. Defendant has previously filed
  13 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  14 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  15 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  16 Los Angeles Superior Court (“LASC”), case number BC684047.
  17            165. Plaintiffs are informed and believe, and thereon allege, that defendant
  18 Kara Clement is a resident of the State of California. Defendant has previously filed
  19 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  20 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  21 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  22 Los Angeles Superior Court (“LASC”), case number BC684047.
  23            166. Plaintiffs are informed and believe and thereon allege that Defendant
  24 Larissa Coburn is a resident of the State of California. Defendant has, through
  25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  26 October 1, 2017, shooting incident in Las Vegas, Nevada.
  27            167. Plaintiffs are informed and believe, and thereon allege, that defendant
  28 Donna Cochrane is a resident of the State of California. Defendant has previously
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                                                  -32-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 44 of 181 Page ID #:44




   1 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   2 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   3 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   4 Los Angeles Superior Court (“LASC”), case number BC684047.
   5            168. Plaintiffs are informed and believe, and thereon allege, that defendant
   6 Richard D. Coe is a resident of the State of California. Defendant has previously
   7 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   8 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   9 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Gasper, et al. v.
  10 MGM, filed November 20, 2017, in Los Angeles Superior Court (“LASC”), case
  11 number BC684143, Plaintiffs are informed and believe that Defendant is a resident
  12 of the County of Los Angeles, State of California.
  13            169. Plaintiffs are informed and believe, and thereon allege, that defendant
  14 David Cole is a resident of the State of California. Defendant has previously filed a
  15 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  16 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  17 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  18 Los Angeles Superior Court (“LASC”), case number BC684047.
  19            170. Plaintiffs are informed and believe and thereon allege that Defendant
  20 Joseph Cole is a resident of the State of California. Defendant has, through counsel,
  21 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
  22 2017, shooting incident in Las Vegas, Nevada.
  23            171. Plaintiffs are informed and believe and thereon allege that Defendant
  24 Dennis Neal Coleman is a resident of the State of California. Defendant has,
  25 through counsel, asserted or threatened to assert claims against Plaintiffs based upon
  26 the October 1, 2017, shooting incident in Las Vegas, Nevada.
  27            172. Plaintiffs are informed and believe, and thereon allege, that defendant
  28 Ronaldo Concepcion is a resident of the State of California. Defendant has
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                                                  -33-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 45 of 181 Page ID #:45




   1 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
   2 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
   3 shooting incident in Las Vegas, Nevada. Based on the allegations in that lawsuit,
   4 Abraham, et al. v. MGM, filed November 20, 2017, in the Los Angeles Superior
   5 Court (“LASC”), case number BC684047, Plaintiffs are informed and believe that
   6 Defendant is a resident of the County of Los Angeles, State of California.
   7            173. Plaintiffs are informed and believe and thereon allege that Defendant
   8 Kathleen Conti is a resident of the State of California. Defendant has, through
   9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  10 October 1, 2017, shooting incident in Las Vegas, Nevada.
  11            174. Plaintiffs are informed and believe, and thereon allege, that defendant
  12 Melissa Contri is a resident of the State of California. Defendant has previously filed
  13 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  14 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  15 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  16 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  17 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  18 of the County of Los Angeles, State of California.
  19            175. Plaintiffs are informed and believe and thereon allege that Defendant
  20 Christa Conway is a resident of the State of California. Defendant has, through
  21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  22 October 1, 2017, shooting incident in Las Vegas, Nevada.
  23            176. Plaintiffs are informed and believe and thereon allege that Defendant
  24 William Cook is a resident of the State of California. Defendant has, through
  25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  26 October 1, 2017, shooting incident in Las Vegas, Nevada.
  27            177. Plaintiffs are informed and believe and thereon allege that Defendant
  28 Wendy Cooper is a resident of the State of California. Defendant has, through
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                                                  -34-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 46 of 181 Page ID #:46




   1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   2 October 1, 2017, shooting incident in Las Vegas, Nevada.
   3            178. Plaintiffs are informed and believe, and thereon allege, that defendant
   4 Patricia Cope is a resident of the State of California. Defendant has previously filed
   5 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   6 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   7 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   8 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
   9 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
  10 of the County of Los Angeles, State of California.
  11            179. Plaintiffs are informed and believe, and thereon allege, that defendant
  12 Jesse Cortez is a resident of the State of California. Defendant has previously filed a
  13 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  14 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  15 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  16 Los Angeles Superior Court (“LASC”), case number BC684047.
  17            180. Plaintiffs are informed and believe, and thereon allege, that defendant
  18 Lisa Cortez is a resident of the State of California. Defendant has previously filed a
  19 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  20 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  21 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  22 Los Angeles Superior Court (“LASC”), case number BC684047.
  23            181. Plaintiffs are informed and believe and thereon allege that Defendant
  24 Douglas Corum is a resident of the State of California. Defendant has, through
  25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  26 October 1, 2017, shooting incident in Las Vegas, Nevada.
  27            182. Plaintiffs are informed and believe and thereon allege that Defendant
  28 Tyler Craig is a resident of the State of California, County of Los Angeles.
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                                                  -35-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 47 of 181 Page ID #:47




   1 Defendant has, through counsel, asserted or threatened to assert claims against
   2 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   3            183. Plaintiffs are informed and believe and thereon allege that Defendant
   4 Brenda Crane is a resident of the State of California. Defendant has, through
   5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   6 October 1, 2017, shooting incident in Las Vegas, Nevada.
   7            184. Plaintiffs are informed and believe, and thereon allege, that defendant
   8 Brittani Crawford is a resident of the State of California. Defendant has previously
   9 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  10 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  11 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  12 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  13 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  14 of the County of Los Angeles, State of California.
  15            185. Plaintiffs are informed and believe and thereon allege that Defendant
  16 Anthony M. Cresta is a resident of the State of California. Defendant has, through
  17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  18 October 1, 2017, shooting incident in Las Vegas, Nevada.
  19            186. Plaintiffs are informed and believe, and thereon allege, that defendant
  20 Anthony Crisci is a resident of the State of California. Defendant has previously
  21 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  22 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  23 in Las Vegas, Nevada, in Crisci v. MGM, filed November 15, 2017, in Clark County
  24 District Court (“Clark County”), case number A-17-764709-C.
  25            187. Plaintiffs are informed and believe and thereon allege that Defendant
  26 Patricia Criss is a resident of the State of California, County of Los Angeles.
  27 Defendant has, through counsel, asserted or threatened to assert claims against
  28 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
       39245596.3
                                                  -36-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 48 of 181 Page ID #:48




   1            188. Plaintiffs are informed and believe, and thereon allege, that defendant
   2 Kira M. Cross is a resident of the State of California. Defendant has previously filed
   3 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   4 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   5 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   6 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   7 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   8 of the County of Santa Barbara, State of California.
   9            189. Plaintiffs are informed and believe and thereon allege that Defendant
  10 Joy M. Cruz is a resident of the State of California. Defendant has, through counsel,
  11 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
  12 2017, shooting incident in Las Vegas, Nevada.
  13            190. Plaintiffs are informed and believe and thereon allege that Defendant
  14 Jennifer Cuevas is a resident of the State of California, County of Los Angeles.
  15 Defendant has, through counsel, asserted or threatened to assert claims against
  16 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  17            191. Plaintiffs are informed and believe and thereon allege that Defendant
  18 Adrianna Culler is a resident of the State of California. Defendant has, through
  19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  20 October 1, 2017, shooting incident in Las Vegas, Nevada.
  21            192. Plaintiffs are informed and believe and thereon allege that Defendant
  22 Marissa J. Currie is a resident of the State of California. Defendant has, through
  23 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  24 October 1, 2017, shooting incident in Las Vegas, Nevada.
  25            193. Plaintiffs are informed and believe and thereon allege that Defendant
  26 Tammy Curtis is a resident of the State of California. Defendant has, through
  27 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  28 October 1, 2017, shooting incident in Las Vegas, Nevada.
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                                                  -37-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 49 of 181 Page ID #:49




   1            194. Plaintiffs are informed and believe, and thereon allege, that defendant
   2 Nicole Cusick is a resident of the State of California. Defendant has previously filed
   3 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   4 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   5 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   6 Los Angeles Superior Court (“LASC”), case number BC684047.
   7            195. Plaintiffs are informed and believe and thereon allege that Defendant
   8 Robert Cusick is a resident of the State of California. Defendant has, through
   9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  10 October 1, 2017, shooting incident in Las Vegas, Nevada.
  11            196. Plaintiffs are informed and believe and thereon allege that Defendant
  12 Andrew Dahring is a resident of the State of California, County of Los Angeles.
  13 Defendant has, through counsel, asserted or threatened to assert claims against
  14 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  15            197. Plaintiffs are informed and believe and thereon allege that Defendant
  16 Nancy Dahring is a resident of the State of California. Defendant has, through
  17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  18 October 1, 2017, shooting incident in Las Vegas, Nevada.
  19            198. Plaintiffs are informed and believe, and thereon allege, that defendant
  20 Lisa Dancel is a resident of the State of California. Defendant has previously filed a
  21 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  22 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  23 Las Vegas, Nevada, in Dancel, et al. v. MGM, filed October 18, 2017, in the Los
  24 Angeles Superior Court (“LASC”), case number BC680370.
  25            199. Plaintiffs are informed and believe, and thereon allege, that defendant
  26 Lisa Marie Daniels is a resident of the State of California. Defendant has previously
  27 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  28 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
       39245596.3
                                                  -38-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 50 of 181 Page ID #:50




   1 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   2 Los Angeles Superior Court (“LASC”), case number BC684047.
   3            200. Plaintiffs are informed and believe, and thereon allege, that defendant
   4 Pritesh Davda is a resident of the State of California. Defendant has previously filed
   5 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   6 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   7 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   8 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   9 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  10 of the County of Los Angeles, State of California.
  11            201. Plaintiffs are informed and believe and thereon allege that Defendant
  12 Kyle David is a resident of the State of California, County of Los Angeles.
  13 Defendant has, through counsel, asserted or threatened to assert claims against
  14 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  15            202. Plaintiffs are informed and believe and thereon allege that Defendant
  16 Jessica Davies is a resident of the State of California, County of Ventura. Defendant
  17 has, through counsel, asserted or threatened to assert claims against Plaintiffs based
  18 upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  19            203. Plaintiffs are informed and believe, and thereon allege, that defendant
  20 Ellen Davis is a resident of the State of California. Defendant has previously filed a
  21 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  22 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  23 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  24 Los Angeles Superior Court (“LASC”), case number BC684047.
  25            204. Plaintiffs are informed and believe and thereon allege that Defendant
  26 Deborah Dawkins is a resident of the State of California. Defendant has, through
  27 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  28 October 1, 2017, shooting incident in Las Vegas, Nevada.
       39245596.3
                                                  -39-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 51 of 181 Page ID #:51




   1            205. Plaintiffs are informed and believe, and thereon allege, that defendant
   2 Deanna Dawson is a resident of the State of California. Defendant has previously
   3 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   4 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   5 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   6 Los Angeles Superior Court (“LASC”), case number BC684047.
   7            206. Plaintiffs are informed and believe, and thereon allege, that defendant
   8 Lori Dawson is a resident of the State of California. Defendant has previously filed
   9 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  10 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  11 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  12 Los Angeles Superior Court (“LASC”), case number BC684047.
  13            207. Plaintiffs are informed and believe, and thereon allege that on October
  14 1, 2017, decedent Thomas Day, Jr., was a resident of the State of California.
  15 Plaintiffs are informed and believe and thereon allege that Defendants, the Estate of
  16 Thomas Day, Jr., and Thomas Day, Sr. (surviving father, heir and successor-in-
  17 interest to decedent), Kelsey Day (surviving daughter, heir and successor-in-interest
  18 to decedent), Nolan Day (surviving son, heir and successor-in-interest to decedent)
  19 and Whitney Day (surviving daughter, heir and successor-in-interest to decedent)
  20 have, through counsel, made claims against Plaintiffs based upon the October 1,
  21 2017, shooting incident in Las Vegas, Nevada, or, alternatively, have indicated an
  22 intent to make such claims in the future (such as by way of the filing of a separate
  23 lawsuit – now dismissed, by way of a letter of representation of counsel, or by way
  24 of an evidence preservation letter from counsel).
  25            208. Plaintiffs are informed and believe, and thereon allege, that defendant
  26 Cynthia Dearing is a resident of the State of California. Defendant has previously
  27 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  28 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
       39245596.3
                                                  -40-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 52 of 181 Page ID #:52




   1 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   2 Los Angeles Superior Court (“LASC”), case number BC684047.
   3            209. Plaintiffs are informed and believe and thereon allege that Defendant
   4 Tamara Delameter is a resident of the State of California. Defendant has, through
   5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   6 October 1, 2017, shooting incident in Las Vegas, Nevada.
   7            210. Plaintiffs are informed and believe and thereon allege that Defendant
   8 Amy Delaplane is a resident of the State of California. Defendant has, through
   9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  10 October 1, 2017, shooting incident in Las Vegas, Nevada.
  11            211. Plaintiffs are informed and believe, and thereon allege, that defendant
  12 Alejandra DeLaRosa is a resident of the State of California. Defendant has
  13 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
  14 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
  15 shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
  16 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
  17 BC684047.
  18            212. Plaintiffs are informed and believe and thereon allege that Defendant
  19 Brett DeLaura is a resident of the State of California. Defendant has, through
  20 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  21 October 1, 2017, shooting incident in Las Vegas, Nevada.
  22            213. Plaintiffs are informed and believe, and thereon allege, that defendant
  23 Kortney Delaway is a resident of the State of California. Defendant has previously
  24 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  25 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  26 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  27 Los Angeles Superior Court (“LASC”), case number BC684047.
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       39245596.3
                                                  -41-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 53 of 181 Page ID #:53




   1            214. Plaintiffs are informed and believe and thereon allege that Defendant
   2 Nicole Delgadillo is a resident of the State of California. Defendant has, through
   3 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   4 October 1, 2017, shooting incident in Las Vegas, Nevada.
   5            215. Plaintiffs are informed and believe, and thereon allege, that defendant
   6 Larry Delgado is a resident of the State of California. Defendant has previously filed
   7 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   8 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   9 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  10 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  11 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  12 of the County of Los Angeles, State of California.
  13            216. Plaintiffs are informed and believe and thereon allege that Defendant
  14 Danielle Delira is a resident of the State of California, County of Los Angeles.
  15 Defendant has, through counsel, asserted or threatened to assert claims against
  16 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  17            217. Plaintiffs are informed and believe and thereon allege that Defendant
  18 Nicole Desaracho is a resident of the State of California, County of Los Angeles.
  19 Defendant has, through counsel, asserted or threatened to assert claims against
  20 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  21            218. Plaintiffs are informed and believe and thereon allege that Defendant
  22 Robert Di Nonno is a resident of the State of California, County of Ventura.
  23 Defendant has, through counsel, asserted or threatened to assert claims against
  24 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  25            219. Plaintiffs are informed and believe, and thereon allege, that defendant
  26 Mikaela Diaz is a resident of the State of California. Defendant has previously filed
  27 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  28 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
       39245596.3
                                                  -42-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 54 of 181 Page ID #:54




   1 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   2 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   3 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   4 of the County of Ventura, State of California.
   5            220. Plaintiffs are informed and believe and thereon allege that Defendant
   6 Regina Dieringer is a resident of the State of California. Defendant has, through
   7 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   8 October 1, 2017, shooting incident in Las Vegas, Nevada.
   9            221. Plaintiffs are informed and believe and thereon allege that Defendant
  10 Ryan Dieringer is a resident of the State of California. Defendant has, through
  11 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  12 October 1, 2017, shooting incident in Las Vegas, Nevada.
  13            222. Plaintiffs are informed and believe and thereon allege that Defendant
  14 Diana J. Dimitruk is a resident of the State of California. Defendant has, through
  15 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  16 October 1, 2017, shooting incident in Las Vegas, Nevada.
  17            223. Plaintiffs are informed and believe and thereon allege that Defendant
  18 Vanessa Dipolito is a resident of the State of California, County of Los Angeles.
  19 Defendant has, through counsel, asserted or threatened to assert claims against
  20 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  21            224. Plaintiffs are informed and believe and thereon allege that Defendant
  22 Laura Dixon is a resident of the State of California, County of Ventura. Defendant
  23 has, through counsel, asserted or threatened to assert claims against Plaintiffs based
  24 upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  25            225. Plaintiffs are informed and believe and thereon allege that Defendant
  26 Robyn Dobbs is a resident of the State of California. Defendant has, through
  27 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  28 October 1, 2017, shooting incident in Las Vegas, Nevada.
       39245596.3
                                                 -43-
                                  COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 55 of 181 Page ID #:55




   1            226. Plaintiffs are informed and believe and thereon allege that Defendant
   2 Daniel Dominguez is a resident of the State of California. Defendant has, through
   3 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   4 October 1, 2017, shooting incident in Las Vegas, Nevada.
   5            227. Plaintiffs are informed and believe, and thereon allege, that defendant
   6 Karin Donis is a resident of the State of California. Defendant has previously filed a
   7 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   8 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   9 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  10 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  11 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  12 of the County of Los Angeles, State of California.
  13            228. Plaintiffs are informed and believe and thereon allege that Defendant
  14 Elyse Donnelly is a resident of the State of California. Defendant has, through
  15 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  16 October 1, 2017, shooting incident in Las Vegas, Nevada.
  17            229. Plaintiffs are informed and believe and thereon allege that Defendant
  18 Kyle L. Donner is a resident of the State of California. Defendant has, through
  19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  20 October 1, 2017, shooting incident in Las Vegas, Nevada.
  21            230. Plaintiffs are informed and believe and thereon allege that Defendant
  22 Wendy A. Dormer is a resident of the State of California, County of Ventura.
  23 Defendant has, through counsel, asserted or threatened to assert claims against
  24 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  25            231. Plaintiffs are informed and believe, and thereon allege, that defendant
  26 Allison Dorr is a resident of the State of California. Defendant has previously filed a
  27 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  28 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
       39245596.3
                                                  -44-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 56 of 181 Page ID #:56




   1 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   2 Los Angeles Superior Court (“LASC”), case number BC684047.
   3            232. Plaintiffs are informed and believe and thereon allege that Defendant
   4 Jessica Dovalina is a resident of the State of California. Defendant has, through
   5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   6 October 1, 2017, shooting incident in Las Vegas, Nevada.
   7            233. Plaintiffs are informed and believe, and thereon allege, that defendant
   8 Julie Dove is a resident of the State of California. Defendant has previously filed a
   9 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  10 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  11 Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the Los
  12 Angeles Superior Court (“LASC”), case number BC687120.
  13            234. Plaintiffs are informed and believe and thereon allege that Defendant
  14 Eydie Doyle is a resident of the State of California. Defendant has, through counsel,
  15 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
  16 2017, shooting incident in Las Vegas, Nevada.
  17            235. Plaintiffs are informed and believe, and thereon allege, that defendant
  18 Thomas Durell is a resident of the State of California. Defendant has previously
  19 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  20 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  21 in Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the
  22 Los Angeles Superior Court (“LASC”), case number BC687120.
  23            236. Plaintiffs are informed and believe and thereon allege that Defendant
  24 Amber Durham is a resident of the State of California. Defendant has, through
  25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  26 October 1, 2017, shooting incident in Las Vegas, Nevada.
  27            237. Plaintiffs are informed and believe, and thereon allege, that defendant
  28 Kendall Dusenberry is a resident of the State of California. Defendant has
       39245596.3
                                                  -45-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 57 of 181 Page ID #:57




   1 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
   2 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
   3 shooting incident in Las Vegas, Nevada. Based on the allegations in that lawsuit,
   4 Mayfield, et al. v. MGM, filed December 15, 2017, in the Los Angeles Superior
   5 Court (“LASC”), case number BC687120, Plaintiffs are informed and believe that
   6 Defendant is a resident of the County of Los Angeles, State of California.
   7            238. Plaintiffs are informed and believe and thereon allege that Defendant
   8 Cheyenne Eberle is a resident of the State of California. Defendant has, through
   9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  10 October 1, 2017, shooting incident in Las Vegas, Nevada.
  11            239. Plaintiffs are informed and believe and thereon allege that Defendant
  12 Gena Elfelt is a resident of the State of California. Defendant has, through counsel,
  13 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
  14 2017, shooting incident in Las Vegas, Nevada.
  15            240. Plaintiffs are informed and believe and thereon allege that Defendant
  16 Derrick Elliott is a resident of the State of California. Defendant has, through
  17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  18 October 1, 2017, shooting incident in Las Vegas, Nevada.
  19            241. Plaintiffs are informed and believe and thereon allege that Defendant
  20 Jillian Elliott is a resident of the State of California. Defendant has, through
  21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  22 October 1, 2017, shooting incident in Las Vegas, Nevada.
  23            242. Plaintiffs are informed and believe, and thereon allege, that defendant
  24 Staci Ellis is a resident of the State of California. Defendant has previously filed a
  25 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  26 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  27 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  28 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
       39245596.3
                                                  -46-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 58 of 181 Page ID #:58




   1 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   2 of the County of Los Angeles, State of California.
   3            243. Plaintiffs are informed and believe and thereon allege that Defendant
   4 Steve Encinias is a resident of the State of California. Defendant has, through
   5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   6 October 1, 2017, shooting incident in Las Vegas, Nevada.
   7            244. Plaintiffs are informed and believe and thereon allege that Defendant
   8 Shanyce English is a resident of the State of California. Defendant has, through
   9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  10 October 1, 2017, shooting incident in Las Vegas, Nevada.
  11            245. Plaintiffs are informed and believe and thereon allege that Defendant
  12 Madelyn Enochs is a resident of the State of California. Defendant has, through
  13 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  14 October 1, 2017, shooting incident in Las Vegas, Nevada.
  15            246. Plaintiffs are informed and believe and thereon allege that Defendant
  16 Candice Erickson is a resident of the State of California. Defendant has, through
  17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  18 October 1, 2017, shooting incident in Las Vegas, Nevada.
  19            247. Plaintiffs are informed and believe and thereon allege that Defendant
  20 Chris Erickson is a resident of the State of California. Defendant has, through
  21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  22 October 1, 2017, shooting incident in Las Vegas, Nevada.
  23            248. Plaintiffs are informed and believe, and thereon allege, that defendant
  24 Kandis Erickson is a resident of the State of California. Defendant has previously
  25 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  26 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  27 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  28 Los Angeles Superior Court (“LASC”), case number BC684047.
       39245596.3
                                                  -47-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 59 of 181 Page ID #:59




   1            249. Plaintiffs are informed and believe, and thereon allege, that defendant
   2 Sabrina Esparza is a resident of the State of California. Defendant has previously
   3 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   4 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   5 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   6 Los Angeles Superior Court (“LASC”), case number BC684047.
   7            250. Plaintiffs are informed and believe and thereon allege that Defendant
   8 Ernesto Espinoza is a resident of the State of California. Defendant has, through
   9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  10 October 1, 2017, shooting incident in Las Vegas, Nevada.
  11            251. Plaintiffs are informed and believe and thereon allege that Defendant
  12 Soraya M. Espinoza is a resident of the State of California, County of Los Angeles.
  13 Defendant has, through counsel, asserted or threatened to assert claims against
  14 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  15            252. Plaintiffs are informed and believe, and thereon allege, that defendant
  16 Laura Estrada is a resident of the State of California. Defendant has previously filed
  17 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  18 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  19 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  20 Los Angeles Superior Court (“LASC”), case number BC684047.
  21            253. Plaintiffs are informed and believe and thereon allege that Defendant
  22 Nico Estrada is a resident of the State of California, County of Los Angeles.
  23 Defendant has, through counsel, asserted or threatened to assert claims against
  24 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  25            254. Plaintiffs are informed and believe, and thereon allege that on October
  26 1, 2017, decedent Stacee Etcheber, was a resident of the State of California.
  27 Plaintiffs are informed and believe and thereon allege that Defendants, the Estate of
  28 Stacee Etcheber and Vincent Etcheber (surviving husband, heir and successor-in-
       39245596.3
                                                  -48-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 60 of 181 Page ID #:60




   1 interest) have, through counsel, made claims against Plaintiffs based upon the
   2 October 1, 2017, shooting incident in Las Vegas, Nevada, or, alternatively, have
   3 indicated an intent to make such claims in the future (such as by way of the filing of
   4 a separate lawsuit – now dismissed, by way of a letter of representation of counsel,
   5 or by way of an evidence preservation letter from counsel).
   6            255. Plaintiffs are informed and believe and thereon allege that Defendant
   7 Briana Evans is a resident of the State of California. Defendant has, through
   8 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   9 October 1, 2017, shooting incident in Las Vegas, Nevada.
  10            256. Plaintiffs are informed and believe, and thereon allege, that defendant
  11 Cynthia Evans is a resident of the State of California. Defendant has previously filed
  12 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  13 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  14 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  15 Los Angeles Superior Court (“LASC”), case number BC684047.
  16            257. Plaintiffs are informed and believe, and thereon allege, that defendant
  17 Dennis Evans is a resident of the State of California. Defendant has previously filed
  18 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  19 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  20 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  21 Los Angeles Superior Court (“LASC”), case number BC684047.
  22            258. Plaintiffs are informed and believe and thereon allege that Defendant
  23 Wendy Everett is a resident of the State of California. Defendant has, through
  24 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  25 October 1, 2017, shooting incident in Las Vegas, Nevada.
  26            259. Plaintiffs are informed and believe, and thereon allege, that defendant
  27 Kyle Evinger is a resident of the State of California. Defendant has previously filed
  28 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
       39245596.3
                                                  -49-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 61 of 181 Page ID #:61




   1 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   2 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   3 Los Angeles Superior Court (“LASC”), case number BC684047.
   4            260. Plaintiffs are informed and believe and thereon allege that Defendant
   5 Ashley Fargo is a resident of the State of California. Defendant has, through
   6 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   7 October 1, 2017, shooting incident in Las Vegas, Nevada.
   8            261. Plaintiffs are informed and believe, and thereon allege, that defendant
   9 Michelle Farias is a resident of the State of California. Defendant has previously
  10 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  11 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  12 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  13 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  14 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  15 of the County of Los Angeles, State of California.
  16            262. Plaintiffs are informed and believe, and thereon allege, that defendant
  17 Angela Favia is a resident of the State of California. Defendant has previously filed
  18 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  19 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  20 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  21 Los Angeles Superior Court (“LASC”), case number BC684047.
  22            263. Plaintiffs are informed and believe, and thereon allege, that defendant
  23 Jeffrey Feig is a resident of the State of California. Defendant has previously filed a
  24 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  25 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  26 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  27 Los Angeles Superior Court (“LASC”), case number BC684047.
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       39245596.3
                                                  -50-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 62 of 181 Page ID #:62




   1            264. Plaintiffs are informed and believe and thereon allege that Defendant
   2 Rafael Feliciano is a resident of the State of California. Defendant has, through
   3 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   4 October 1, 2017, shooting incident in Las Vegas, Nevada.
   5            265. Plaintiffs are informed and believe and thereon allege that Defendant
   6 Lauren Ferguson is a resident of the State of California, County of Los Angeles.
   7 Defendant has, through counsel, asserted or threatened to assert claims against
   8 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   9            266. Plaintiffs are informed and believe and thereon allege that Defendant
  10 Jennie Fernandes is a resident of the State of California. Defendant has, through
  11 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  12 October 1, 2017, shooting incident in Las Vegas, Nevada.
  13            267. Plaintiffs are informed and believe and thereon allege that Defendant
  14 Maryssa Fields is a resident of the State of California. Defendant has, through
  15 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  16 October 1, 2017, shooting incident in Las Vegas, Nevada.
  17            268. Plaintiffs are informed and believe and thereon allege that Defendant
  18 Melissa Fierro is a resident of the State of California, County of Los Angeles.
  19 Defendant has, through counsel, asserted or threatened to assert claims against
  20 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  21            269. Plaintiffs are informed and believe, and thereon allege, that defendant
  22 Baylee Fincher is a resident of the State of California. Defendant has previously
  23 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  24 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  25 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  26 Los Angeles Superior Court (“LASC”), case number BC684047.
  27            270. Plaintiffs are informed and believe, and thereon allege, that defendant
  28 Brooke Fincher is a resident of the State of California. Defendant has previously
       39245596.3
                                                  -51-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 63 of 181 Page ID #:63




   1 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   2 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   3 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   4 Los Angeles Superior Court (“LASC”), case number BC684047.
   5            271. Plaintiffs are informed and believe, and thereon allege, that defendant
   6 Mindy Fincher is a resident of the State of California. Defendant has previously
   7 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   8 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   9 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  10 Los Angeles Superior Court (“LASC”), case number BC684047.
  11            272. Plaintiffs are informed and believe and thereon allege that Defendant
  12 Austin Fisher is a resident of the State of California, County of Santa Barbara.
  13 Defendant has, through counsel, asserted or threatened to assert claims against
  14 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  15            273. Plaintiffs are informed and believe and thereon allege that Defendant
  16 Lyndsay Fisher is a resident of the State of California. Defendant has, through
  17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  18 October 1, 2017, shooting incident in Las Vegas, Nevada.
  19            274. Plaintiffs are informed and believe and thereon allege that Defendant
  20 Susan Fitzgerald is a resident of the State of California. Defendant has, through
  21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  22 October 1, 2017, shooting incident in Las Vegas, Nevada.
  23            275. Plaintiffs are informed and believe, and thereon allege, that defendant
  24 Emily Flesher is a resident of the State of California. Defendant has previously filed
  25 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  26 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  27 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  28 Los Angeles Superior Court (“LASC”), case number BC684047.
       39245596.3
                                                  -52-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 64 of 181 Page ID #:64




   1            276. Plaintiffs are informed and believe, and thereon allege, that defendant
   2 Kristi Flesher is a resident of the State of California. Defendant has previously filed
   3 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   4 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   5 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   6 Los Angeles Superior Court (“LASC”), case number BC684047.
   7            277. Plaintiffs are informed and believe, and thereon allege, that defendant
   8 Art Flores is a resident of the State of California. Defendant has previously filed a
   9 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  10 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  11 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  12 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  13 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  14 of the County of Los Angeles, State of California.
  15            278. Plaintiffs are informed and believe and thereon allege that Defendant
  16 Daniel Flores is a resident of the State of California. Defendant has, through
  17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  18 October 1, 2017, shooting incident in Las Vegas, Nevada.
  19            279. Plaintiffs are informed and believe, and thereon allege, that defendant
  20 Steven Flores is a resident of the State of California. Defendant has previously filed
  21 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  22 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  23 Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the Los
  24 Angeles Superior Court (“LASC”), case number BC687120.
  25            280. Plaintiffs are informed and believe and thereon allege that Defendant
  26 Jennifer Fluegal is a resident of the State of California. Defendant has, through
  27 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  28 October 1, 2017, shooting incident in Las Vegas, Nevada.
       39245596.3
                                                  -53-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 65 of 181 Page ID #:65




   1            281. Plaintiffs are informed and believe and thereon allege that Defendant
   2 Marlana Foltz is a resident of the State of California. Defendant has, through
   3 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   4 October 1, 2017, shooting incident in Las Vegas, Nevada.
   5            282. Plaintiffs are informed and believe, and thereon allege, that defendant
   6 Donald Forsyth is a resident of the State of California. Defendant has previously
   7 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   8 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   9 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  10 Los Angeles Superior Court (“LASC”), case number BC684047.
  11            283. Plaintiffs are informed and believe, and thereon allege, that defendant
  12 Rochelle Forsyth is a resident of the State of California. Defendant has previously
  13 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  14 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  15 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  16 Los Angeles Superior Court (“LASC”), case number BC684047.
  17            284. Plaintiffs are informed and believe, and thereon allege, that defendant
  18 Kadedra Fowler is a resident of the State of California. Defendant has previously
  19 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  20 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  21 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  22 Los Angeles Superior Court (“LASC”), case number BC684047.
  23            285. Plaintiffs are informed and believe and thereon allege that Defendant
  24 Justin Frame is a resident of the State of California. Defendant has, through counsel,
  25 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
  26 2017, shooting incident in Las Vegas, Nevada.
  27            286. Plaintiffs are informed and believe, and thereon allege, that defendant
  28 Brittany Friend is a resident of the State of California. Defendant has previously
       39245596.3
                                                  -54-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 66 of 181 Page ID #:66




   1 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   2 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   3 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   4 Los Angeles Superior Court (“LASC”), case number BC684047.
   5            287. Plaintiffs are informed and believe and thereon allege that Defendant
   6 Cynthia Friske is a resident of the State of California. Defendant has, through
   7 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   8 October 1, 2017, shooting incident in Las Vegas, Nevada.
   9            288. Plaintiffs are informed and believe and thereon allege that Defendant
  10 Amanda Frost is a resident of the State of California. Defendant has, through
  11 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  12 October 1, 2017, shooting incident in Las Vegas, Nevada.
  13            289. Plaintiffs are informed and believe and thereon allege that Defendant
  14 Bobbi Frye is a resident of the State of California. Defendant has, through counsel,
  15 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
  16 2017, shooting incident in Las Vegas, Nevada.
  17            290. Plaintiffs are informed and believe, and thereon allege, that defendant
  18 Lorraine Fuentes is a resident of the State of California. Defendant has previously
  19 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  20 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  21 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  22 Los Angeles Superior Court (“LASC”), case number BC684047.
  23            291. Plaintiffs are informed and believe and thereon allege that Defendant
  24 April Gabany is a resident of the State of California. Defendant has, through
  25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  26 October 1, 2017, shooting incident in Las Vegas, Nevada.
  27            292. Plaintiffs are informed and believe and thereon allege that Defendant
  28 Tina Galarza is a resident of the State of California. Defendant has, through
       39245596.3
                                                  -55-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 67 of 181 Page ID #:67




   1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   2 October 1, 2017, shooting incident in Las Vegas, Nevada.
   3            293. Plaintiffs are informed and believe, and thereon allege, that defendant
   4 Erica Gallegos is a resident of the State of California. Defendant has previously filed
   5 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   6 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   7 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   8 Los Angeles Superior Court (“LASC”), case number BC684047.
   9            294. Plaintiffs are informed and believe, and thereon allege, that defendant
  10 Mandy Gallegos is a resident of the State of California. Defendant has previously
  11 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  12 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  13 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  14 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  15 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  16 of the County of Los Angeles, State of California.
  17            295. Plaintiffs are informed and believe and thereon allege that Defendant
  18 Stephanie Gallegos is a resident of the State of California. Defendant has, through
  19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  20 October 1, 2017, shooting incident in Las Vegas, Nevada.
  21            296. Plaintiffs are informed and believe, and thereon allege that on October
  22 1, 2017, decedent Keri Galvan, was a resident of the State of California. Plaintiffs
  23 are informed and believe and thereon allege that Defendants, the Estate of Keri
  24 Galvan, Justin Galvan (surviving spouse, heir, and successor-in-interest to
  25 decedent), R.G. (a minor), P.G. (a minor), and P.G. (a minor), have, through
  26 counsel, made claims against Plaintiffs based upon the October 1, 2017, shooting
  27 incident in Las Vegas, Nevada, or, alternatively, have indicated an intent to make
  28 such claims in the future (such as by way of the filing of a separate lawsuit – now
       39245596.3
                                                  -56-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 68 of 181 Page ID #:68




   1 dismissed, by way of a letter of representation of counsel, or by way of an evidence
   2 preservation letter from counsel). The Defendants are residents of the County of Los
   3 Angeles, State of California and the residency of these Defendants was identified to
   4 a court in a Complaint in the dismissed action Galvan, et al. v. Live Nation, filed
   5 December 7, 2017, in the Los Angeles Superior Court (“LASC”), case number
   6 BC686248.
   7            297. Plaintiffs are informed and believe and thereon allege that Defendant
   8 Celena Garcia is a resident of the State of California, County of Los Angeles.
   9 Defendant has, through counsel, asserted or threatened to assert claims against
  10 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  11            298. Plaintiffs are informed and believe and thereon allege that Defendant
  12 Christina Garcia is a resident of the State of California. Defendant has, through
  13 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  14 October 1, 2017, shooting incident in Las Vegas, Nevada.
  15            299. Plaintiffs are informed and believe, and thereon allege, that defendant
  16 Eric Garcia is a resident of the State of California. Defendant has previously filed a
  17 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  18 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  19 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  20 Los Angeles Superior Court (“LASC”), case number BC684047.
  21            300. Plaintiffs are informed and believe and thereon allege that Defendant
  22 Eugene Garcia is a resident of the State of California, County of Ventura.
  23 Defendant has, through counsel, asserted or threatened to assert claims against
  24 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  25            301. Plaintiffs are informed and believe and thereon allege that Defendant
  26 Randy Garcia is a resident of the State of California. Defendant has, through
  27 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  28 October 1, 2017, shooting incident in Las Vegas, Nevada.
       39245596.3
                                                  -57-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 69 of 181 Page ID #:69




   1            302. Plaintiffs are informed and believe and thereon allege that Defendant
   2 Stacy Garcia is a resident of the State of California. Defendant has, through
   3 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   4 October 1, 2017, shooting incident in Las Vegas, Nevada.
   5            303. Plaintiffs are informed and believe and thereon allege that Defendant
   6 Teresa Garcia is a resident of the State of California. Defendant has, through
   7 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   8 October 1, 2017, shooting incident in Las Vegas, Nevada.
   9            304. Plaintiffs are informed and believe and thereon allege that Defendant
  10 Laura Gardhouse is a resident of the State of California. Defendant has, through
  11 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  12 October 1, 2017, shooting incident in Las Vegas, Nevada.
  13            305. Plaintiffs are informed and believe, and thereon allege, that defendant
  14 Ellenor Gargano is a resident of the State of California. Defendant has previously
  15 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  16 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  17 in Las Vegas, Nevada, in Gargano v. Mandalay Bay, filed February 2, 2018, in
  18 Clark County District Court (“Clark County”), case number A-18-768832-C.
  19            306. Plaintiffs are informed and believe and thereon allege that Defendant
  20 Jose L. Garza is a resident of the State of California. Defendant has, through
  21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  22 October 1, 2017, shooting incident in Las Vegas, Nevada.
  23            307. Plaintiffs are informed and believe, and thereon allege, that defendant
  24 Paige Gasper is a resident of the State of California. Defendant has previously filed
  25 two lawsuits (which were subsequently voluntarily dismissed) against one or more
  26 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  27 in Las Vegas, Nevada, in Gasper v. MGM, filed October 10, 2017, in Clark County
  28 District Court (“Clark County”), case number A-17-762858, and in Gasper, et al. v.
       39245596.3
                                                  -58-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 70 of 181 Page ID #:70




   1 MGM, filed November 20, 2017, in Los Angeles Superior Court (“LASC”), case
   2 number BC684143.
   3            308. Plaintiffs are informed and believe, and thereon allege, that defendant
   4 Brittany Gebhart is a resident of the State of California. Defendant has previously
   5 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   6 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   7 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   8 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   9 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  10 of the County of Ventura, State of California.
  11            309. Plaintiffs are informed and believe, and thereon allege, that defendant
  12 William Georgia is a resident of the State of California. Defendant has previously
  13 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  14 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  15 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  16 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  17 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  18 of the County of Los Angeles, State of California.
  19            310. Plaintiffs are informed and believe, and thereon allege, that defendant
  20 Garrett Ghahyasi is a resident of the State of California. Defendant has previously
  21 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  22 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  23 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  24 Los Angeles Superior Court (“LASC”), case number BC684047.
  25            311. Plaintiffs are informed and believe, and thereon allege, that defendant
  26 Meilin Gibbens is a resident of the State of California. Defendant has previously
  27 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  28 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
       39245596.3
                                                  -59-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 71 of 181 Page ID #:71




   1 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   2 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   3 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   4 of the County of Los Angeles, State of California.
   5            312. Plaintiffs are informed and believe and thereon allege that Defendant
   6 Erin Gill is a resident of the State of California. Defendant has, through counsel,
   7 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   8 2017, shooting incident in Las Vegas, Nevada.
   9            313. Plaintiffs are informed and believe and thereon allege that Defendant
  10 John Gilmore is a resident of the State of California. Defendant has, through
  11 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  12 October 1, 2017, shooting incident in Las Vegas, Nevada.
  13            314. Plaintiffs are informed and believe, and thereon allege, that defendant
  14 Kylee Glasscock is a resident of the State of California. Defendant has previously
  15 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  16 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  17 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  18 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  19 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  20 of the County of Ventura, State of California.
  21            315. Plaintiffs are informed and believe and thereon allege that Defendant
  22 Robert Glavis is a resident of the State of California. Defendant has, through
  23 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  24 October 1, 2017, shooting incident in Las Vegas, Nevada.
  25            316. Plaintiffs are informed and believe and thereon allege that Defendant
  26 Teresa Glavis is a resident of the State of California. Defendant has, through
  27 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  28 October 1, 2017, shooting incident in Las Vegas, Nevada.
       39245596.3
                                                  -60-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 72 of 181 Page ID #:72




   1            317. Plaintiffs are informed and believe and thereon allege that Defendant
   2 Tristi Glover is a resident of the State of California. Defendant has, through
   3 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   4 October 1, 2017, shooting incident in Las Vegas, Nevada.
   5            318. Plaintiffs are informed and believe and thereon allege that Defendant
   6 Michell Goble is a resident of the State of California, County of Los Angeles.
   7 Defendant has, through counsel, asserted or threatened to assert claims against
   8 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   9            319. Plaintiffs are informed and believe, and thereon allege, that defendant
  10 Michelle Gomes is a resident of the State of California. Defendant has previously
  11 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  12 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  13 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  14 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  15 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  16 of the County of Los Angeles, State of California.
  17            320. Plaintiffs are informed and believe and thereon allege that Defendant
  18 Ashley Gomez is a resident of the State of California. Defendant has, through
  19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  20 October 1, 2017, shooting incident in Las Vegas, Nevada.
  21            321. Plaintiffs are informed and believe, and thereon allege, that defendant
  22 Julie Gomez is a resident of the State of California. Defendant has previously filed a
  23 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  24 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  25 Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the Los
  26 Angeles Superior Court (“LASC”), case number BC687120.
  27            322. Plaintiffs are informed and believe, and thereon allege, that defendant
  28 Steven Gomez is a resident of the State of California. Defendant has previously filed
       39245596.3
                                                  -61-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 73 of 181 Page ID #:73




   1 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   2 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   3 Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the Los
   4 Angeles Superior Court (“LASC”), case number BC687120.
   5            323. Plaintiffs are informed and believe, and thereon allege, that defendant
   6 Jeffrey Alan Gonsalves is a resident of the State of California. Defendant has
   7 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
   8 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
   9 shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
  10 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
  11 BC684047.
  12            324. Plaintiffs are informed and believe and thereon allege that Defendant
  13 Andrea Gonzales is a resident of the State of California, County of Los Angeles.
  14 Defendant has, through counsel, asserted or threatened to assert claims against
  15 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  16            325. Plaintiffs are informed and believe and thereon allege that Defendant
  17 Daniel Joseph Gonzales is a resident of the State of California, County of Ventura.
  18 Defendant has, through counsel, asserted or threatened to assert claims against
  19 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  20            326. Plaintiffs are informed and believe and thereon allege that Defendant
  21 Alesha Gonzalez is a resident of the State of California, County of Los Angeles.
  22 Defendant has, through counsel, asserted or threatened to assert claims against
  23 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  24            327. Plaintiffs are informed and believe and thereon allege that Defendant
  25 Jesus Vincent Gonzalez is a resident of the State of California, County of Los
  26 Angeles. Defendant has, through counsel, asserted or threatened to assert claims
  27 against Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas,
  28 Nevada.
       39245596.3
                                                  -62-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 74 of 181 Page ID #:74




   1            328. Plaintiffs are informed and believe and thereon allege that Defendant
   2 Michael Gonzalez is a resident of the State of California. Defendant has, through
   3 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   4 October 1, 2017, shooting incident in Las Vegas, Nevada.
   5            329. Plaintiffs are informed and believe and thereon allege that Defendant
   6 Michael Goodnight is a resident of the State of California, County of Los Angeles.
   7 Defendant has, through counsel, asserted or threatened to assert claims against
   8 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   9            330. Plaintiffs are informed and believe and thereon allege that Defendant
  10 Doreen Gorman is a resident of the State of California. Defendant has, through
  11 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  12 October 1, 2017, shooting incident in Las Vegas, Nevada.
  13            331. Plaintiffs are informed and believe, and thereon allege, that defendant
  14 Delores Gray is a resident of the State of California. Defendant has previously filed
  15 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  16 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  17 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  18 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  19 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  20 of the County of Los Angeles, State of California.
  21            332. Plaintiffs are informed and believe, and thereon allege, that defendant
  22 Jeanette Gray is a resident of the State of California. Defendant has previously filed
  23 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  24 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  25 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  26 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  27 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  28 of the County of Los Angeles, State of California.
       39245596.3
                                                  -63-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 75 of 181 Page ID #:75




   1            333. Plaintiffs are informed and believe and thereon allege that Defendant
   2 Nicole Gray is a resident of the State of California. Defendant has, through counsel,
   3 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   4 2017, shooting incident in Las Vegas, Nevada.
   5            334. Plaintiffs are informed and believe and thereon allege that Defendant
   6 Regina Green is a resident of the State of California. Defendant has, through
   7 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   8 October 1, 2017, shooting incident in Las Vegas, Nevada.
   9            335. Plaintiffs are informed and believe and thereon allege that Defendant
  10 David J. Grijalba Jr. is a resident of the State of California. Defendant has, through
  11 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  12 October 1, 2017, shooting incident in Las Vegas, Nevada.
  13            336. Plaintiffs are informed and believe and thereon allege that Defendant
  14 Jennifer Grimm is a resident of the State of California, County of Los Angeles.
  15 Defendant has, through counsel, asserted or threatened to assert claims against
  16 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  17            337. Plaintiffs are informed and believe and thereon allege that Defendant
  18 Gabriel Guerrero is a resident of the State of California. Defendant has, through
  19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  20 October 1, 2017, shooting incident in Las Vegas, Nevada.
  21            338. Plaintiffs are informed and believe, and thereon allege, that defendant
  22 Miguel Guerrero is a resident of the State of California. Defendant has previously
  23 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  24 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  25 in Las Vegas, Nevada, in Spencer, et al. v. Paddock, filed October 17, 2017, in Los
  26 Angeles Superior Court (“LASC”), case number BC680065.
  27            339. Plaintiffs are informed and believe and thereon allege that Defendant
  28 Mikerra Guerrero is a resident of the State of California. Defendant has, through
       39245596.3
                                                  -64-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 76 of 181 Page ID #:76




   1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   2 October 1, 2017, shooting incident in Las Vegas, Nevada.
   3            340. Plaintiffs are informed and believe and thereon allege that Defendant
   4 Trisha Guerrero is a resident of the State of California, County of Los Angeles.
   5 Defendant has, through counsel, asserted or threatened to assert claims against
   6 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   7            341. Plaintiffs are informed and believe, and thereon allege that on October
   8 1, 2017, decedent Rocio Guillen, was a resident of the State of California. Plaintiffs
   9 are informed and believe and thereon allege that Defendants, the Estate of Rocio
  10 Guillen, Christopher Jaksha (successor-in-interest to decedent), S.J. (a minor,
  11 successor-in-interest), and A.J. (a minor, and successor-in-interest), who have,
  12 through counsel, made claims against Plaintiffs based upon the October 1, 2017,
  13 shooting incident in Las Vegas, Nevada, or, alternatively, have indicated an intent to
  14 make such claims in the future (such as by way of the filing of a separate lawsuit –
  15 now dismissed, by way of a letter of representation of counsel, or by way of an
  16 evidence preservation letter from counsel). The Defendants are residents of the
  17 County of Riverside, State of California and the residency of these Defendants was
  18 identified to a court in a Complaint in the dismissed action Jaksha, et al. v. MGM,
  19 filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  20 number BC684048.
  21            342. Plaintiffs are informed and believe and thereon allege that Defendant
  22 Thomas Gunderson is a resident of the State of California, County of Los Angeles.
  23 Defendant has, through counsel, asserted or threatened to assert claims against
  24 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  25            343. Plaintiffs are informed and believe and thereon allege that Defendant
  26 Tammy Hiscox Gurule is a resident of the State of California. Defendant has,
  27 through counsel, asserted or threatened to assert claims against Plaintiffs based upon
  28 the October 1, 2017, shooting incident in Las Vegas, Nevada.
       39245596.3
                                                  -65-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 77 of 181 Page ID #:77




   1            344. Plaintiffs are informed and believe and thereon allege that Defendant
   2 Tammy M. Gurule is a resident of the State of California. Defendant has, through
   3 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   4 October 1, 2017, shooting incident in Las Vegas, Nevada.
   5            345. Plaintiffs are informed and believe and thereon allege that Defendant
   6 Kimberly Gutierrez is a resident of the State of California. Defendant has, through
   7 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   8 October 1, 2017, shooting incident in Las Vegas, Nevada.
   9            346. Plaintiffs are informed and believe, and thereon allege, that defendant
  10 Crystal Hadley is a resident of the State of California. Defendant has previously
  11 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  12 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  13 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  14 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  15 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  16 of the County of Los Angeles, State of California.
  17            347. Plaintiffs are informed and believe and thereon allege that Defendant
  18 Deborah Hall is a resident of the State of California. Defendant has, through
  19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  20 October 1, 2017, shooting incident in Las Vegas, Nevada.
  21            348. Plaintiffs are informed and believe and thereon allege that Defendant
  22 Steven Hall is a resident of the State of California. Defendant has, through counsel,
  23 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
  24 2017, shooting incident in Las Vegas, Nevada.
  25            349. Plaintiffs are informed and believe, and thereon allege, that defendant
  26 Travis Hall is a resident of the State of California. Defendant has previously filed a
  27 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  28 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
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                                                  -66-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 78 of 181 Page ID #:78




   1 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   2 Los Angeles Superior Court (“LASC”), case number BC684047.
   3            350. Plaintiffs are informed and believe and thereon allege that Defendant
   4 Michelle Hamel is a resident of the State of California. Defendant has, through
   5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   6 October 1, 2017, shooting incident in Las Vegas, Nevada.
   7            351. Plaintiffs are informed and believe, and thereon allege, that defendant
   8 Kiersten Harling is a resident of the State of California. Defendant has previously
   9 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  10 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  11 in Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the
  12 Los Angeles Superior Court (“LASC”), case number BC687120.
  13            352. Plaintiffs are informed and believe, and thereon allege, that defendant
  14 Simon Harling is a resident of the State of California. Defendant has previously filed
  15 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  16 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  17 Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the Los
  18 Angeles Superior Court (“LASC”), case number BC687120.
  19            353. Plaintiffs are informed and believe, and thereon allege, that defendant
  20 Brandon Harlow is a resident of the State of California. Defendant has previously
  21 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  22 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  23 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  24 Los Angeles Superior Court (“LASC”), case number BC684047.
  25            354. Plaintiffs are informed and believe, and thereon allege, that defendant
  26 Regina Anne Harris is a resident of the State of California. Defendant has previously
  27 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  28 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
       39245596.3
                                                  -67-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 79 of 181 Page ID #:79




   1 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   2 Los Angeles Superior Court (“LASC”), case number BC684047.
   3            355. Plaintiffs are informed and believe, and thereon allege, that defendant
   4 Lisa Hartz is a resident of the State of California. Defendant has previously filed a
   5 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   6 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   7 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   8 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   9 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  10 of the County of Ventura, State of California.
  11            356. Plaintiffs are informed and believe, and thereon allege, that defendant
  12 Melinda Hawkins is a resident of the State of California. Defendant has previously
  13 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  14 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  15 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  16 Los Angeles Superior Court (“LASC”), case number BC684047.
  17            357. Plaintiffs are informed and believe and thereon allege that Defendant
  18 Breanna Hayden is a resident of the State of California. Defendant has, through
  19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  20 October 1, 2017, shooting incident in Las Vegas, Nevada.
  21            358. Plaintiffs are informed and believe, and thereon allege, that defendant
  22 Kiley Hayden is a resident of the State of California. Defendant has previously filed
  23 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  24 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  25 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  26 Los Angeles Superior Court (“LASC”), case number BC684047.
  27            359. Plaintiffs are informed and believe and thereon allege that Defendant
  28 Kristina Hayden is a resident of the State of California. Defendant has, through
       39245596.3
                                                  -68-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 80 of 181 Page ID #:80




   1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   2 October 1, 2017, shooting incident in Las Vegas, Nevada.
   3            360. Plaintiffs are informed and believe and thereon allege that Defendant
   4 Larry Hayden is a resident of the State of California. Defendant has, through
   5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   6 October 1, 2017, shooting incident in Las Vegas, Nevada.
   7            361. Plaintiffs are informed and believe, and thereon allege, that defendant
   8 Cori Haynes is a resident of the State of California. Defendant has previously filed a
   9 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  10 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  11 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  12 Los Angeles Superior Court (“LASC”), case number BC684047.
  13            362. Plaintiffs are informed and believe, and thereon allege, that defendant
  14 Bryce Heathcoat is a resident of the State of California. Defendant has previously
  15 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  16 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  17 in Las Vegas, Nevada, in Dancel, et al. v. MGM, filed October 18, 2017, in the Los
  18 Angeles Superior Court (“LASC”), case number BC680370.
  19            363. Plaintiffs are informed and believe, and thereon allege, that defendant
  20 Jennifer Heidt is a resident of the State of California. Defendant has previously filed
  21 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  22 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  23 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  24 Los Angeles Superior Court (“LASC”), case number BC684047.
  25            364. Plaintiffs are informed and believe, and thereon allege, that defendant
  26 Steven Heirshberg is a resident of the State of California. Defendant has previously
  27 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  28 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
       39245596.3
                                                  -69-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 81 of 181 Page ID #:81




   1 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   2 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
   3 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
   4 of the County of Los Angeles, State of California.
   5            365. Plaintiffs are informed and believe, and thereon allege, that defendant
   6 Wendy Heirshberg is a resident of the State of California. Defendant has previously
   7 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   8 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   9 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
  10 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
  11 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
  12 of the County of Los Angeles, State of California.
  13            366. Plaintiffs are informed and believe and thereon allege that Defendant
  14 Brandon Helmick is a resident of the State of California. Defendant has, through
  15 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  16 October 1, 2017, shooting incident in Las Vegas, Nevada.
  17            367. Plaintiffs are informed and believe, and thereon allege, that defendant
  18 Justin Henderson is a resident of the State of California. Defendant has previously
  19 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  20 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  21 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  22 Los Angeles Superior Court (“LASC”), case number BC684047.
  23            368. Plaintiffs are informed and believe and thereon allege that Defendant
  24 Kristine Henderson is a resident of the State of California. Defendant has, through
  25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  26 October 1, 2017, shooting incident in Las Vegas, Nevada.
  27            369. Plaintiffs are informed and believe, and thereon allege, that defendant
  28 Andrea Henning is a resident of the State of California. Defendant has previously
       39245596.3
                                                  -70-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 82 of 181 Page ID #:82




   1 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   2 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   3 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   4 Los Angeles Superior Court (“LASC”), case number BC684047.
   5            370. Plaintiffs are informed and believe and thereon allege that Defendant
   6 Justin Heredia is a resident of the State of California. Defendant has, through
   7 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   8 October 1, 2017, shooting incident in Las Vegas, Nevada.
   9            371. Plaintiffs are informed and believe, and thereon allege, that defendant
  10 Heather Hernandez is a resident of the State of California. Defendant has previously
  11 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  12 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  13 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  14 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  15 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  16 of the County of Los Angeles, State of California.
  17            372. Plaintiffs are informed and believe, and thereon allege, that defendant
  18 Rebecca Hernandez is a resident of the State of California. Defendant has previously
  19 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  20 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  21 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  22 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  23 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  24 of the County of Los Angeles, State of California.
  25            373. Plaintiffs are informed and believe and thereon allege that Defendant
  26 Ricardo Hernandez is a resident of the State of California, County of Los Angeles.
  27 Defendant has, through counsel, asserted or threatened to assert claims against
  28 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
       39245596.3
                                                  -71-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 83 of 181 Page ID #:83




   1            374. Plaintiffs are informed and believe, and thereon allege, that defendant
   2 Emmitt Hickman is a resident of the State of California. Defendant has previously
   3 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   4 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   5 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   6 Los Angeles Superior Court (“LASC”), case number BC684047.
   7            375. Plaintiffs are informed and believe and thereon allege that Defendant
   8 Eric Higgins is a resident of the State of California. Defendant has, through counsel,
   9 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
  10 2017, shooting incident in Las Vegas, Nevada.
  11            376. Plaintiffs are informed and believe, and thereon allege, that defendant
  12 Diane Hill is a resident of the State of California. Defendant has previously filed a
  13 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  14 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  15 Las Vegas, Nevada, in Hill v. MGM, filed February 12, 2018, in Clark County
  16 District Court (“Clark County”), case number A-18-769385-C.
  17            377. Plaintiffs are informed and believe and thereon allege that Defendant
  18 Tyler Hill is a resident of the State of California. Defendant has, through counsel,
  19 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
  20 2017, shooting incident in Las Vegas, Nevada.
  21            378. Plaintiffs are informed and believe and thereon allege that Defendant
  22 Teresa Himley is a resident of the State of California. Defendant has, through
  23 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  24 October 1, 2017, shooting incident in Las Vegas, Nevada.
  25            379. Plaintiffs are informed and believe and thereon allege that Defendant
  26 Jeff Hines is a resident of the State of California. Defendant has, through counsel,
  27 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
  28 2017, shooting incident in Las Vegas, Nevada.
       39245596.3
                                                  -72-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 84 of 181 Page ID #:84




   1            380. Plaintiffs are informed and believe and thereon allege that Defendant
   2 Whitney Linn Hinnant is a resident of the State of California. Defendant has,
   3 through counsel, asserted or threatened to assert claims against Plaintiffs based upon
   4 the October 1, 2017, shooting incident in Las Vegas, Nevada.
   5            381. Plaintiffs are informed and believe, and thereon allege, that defendant
   6 Lauren Hitt is a resident of the State of California. Defendant has previously filed a
   7 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   8 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   9 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  10 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  11 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  12 of the County of Los Angeles, State of California.
  13            382. Plaintiffs are informed and believe and thereon allege that Defendant
  14 Kendra Hobbs is a resident of the State of California. Defendant has, through
  15 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  16 October 1, 2017, shooting incident in Las Vegas, Nevada.
  17            383. Plaintiffs are informed and believe, and thereon allege, that defendant
  18 Patrick Hobbs is a resident of the State of California. Defendant has previously filed
  19 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  20 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  21 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
  22 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
  23 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
  24 of the County of Los Angeles, State of California.
  25            384. Plaintiffs are informed and believe, and thereon allege, that defendant
  26 Leigh Ann Hodgson is a resident of the State of California. Defendant has
  27 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
  28 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
       39245596.3
                                                  -73-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 85 of 181 Page ID #:85




   1 shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
   2 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
   3 BC684047.
   4            385. Plaintiffs are informed and believe and thereon allege that Defendant
   5 Katherine Hoey is a resident of the State of California. Defendant has, through
   6 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   7 October 1, 2017, shooting incident in Las Vegas, Nevada.
   8            386. Plaintiffs are informed and believe and thereon allege that Defendant
   9 Bryan Hoffrichter is a resident of the State of California. Defendant has, through
  10 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  11 October 1, 2017, shooting incident in Las Vegas, Nevada.
  12            387. Plaintiffs are informed and believe and thereon allege that Defendant
  13 Donna Holden is a resident of the State of California. Defendant has, through
  14 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  15 October 1, 2017, shooting incident in Las Vegas, Nevada.
  16            388. Plaintiffs are informed and believe, and thereon allege, that defendant
  17 Tanna Holderle is a resident of the State of California. Defendant has previously
  18 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  19 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  20 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  21 Los Angeles Superior Court (“LASC”), case number BC684047.
  22            389. Plaintiffs are informed and believe and thereon allege that Defendant
  23 Albert Holguin is a resident of the State of California. Defendant has, through
  24 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  25 October 1, 2017, shooting incident in Las Vegas, Nevada.
  26            390. Plaintiffs are informed and believe and thereon allege that Defendant
  27 Cindy Holguin is a resident of the State of California. Defendant has, through
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       39245596.3
                                                  -74-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 86 of 181 Page ID #:86




   1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   2 October 1, 2017, shooting incident in Las Vegas, Nevada.
   3            391. Plaintiffs are informed and believe and thereon allege that Defendant
   4 Lisa Holguin is a resident of the State of California. Defendant has, through counsel,
   5 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   6 2017, shooting incident in Las Vegas, Nevada.
   7            392. Plaintiffs are informed and believe, and thereon allege, that defendant
   8 John Holladay is a resident of the State of California. Defendant has previously filed
   9 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  10 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  11 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  12 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  13 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  14 of the County of Ventura, State of California.
  15            393. Plaintiffs are informed and believe, and thereon allege, that defendant
  16 Melissa Holmquist is a resident of the State of California. Defendant has previously
  17 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  18 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  19 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  20 Los Angeles Superior Court (“LASC”), case number BC684047.
  21            394. Plaintiffs are informed and believe, and thereon allege, that defendant
  22 Vanessa Holub is a resident of the State of California. Defendant has previously
  23 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  24 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  25 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  26 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  27 number BC684047.
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       39245596.3
                                                  -75-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 87 of 181 Page ID #:87




   1            395. Plaintiffs are informed and believe, and thereon allege, that defendant
   2 Alexis Hood is a resident of the State of California. Defendant has previously filed a
   3 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   4 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   5 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   6 Los Angeles Superior Court (“LASC”), case number BC684047.
   7            396. Plaintiffs are informed and believe and thereon allege that Defendant
   8 Taylor Hood is a resident of the State of California. Defendant has, through counsel,
   9 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
  10 2017, shooting incident in Las Vegas, Nevada.
  11            397. Plaintiffs are informed and believe and thereon allege that Defendant
  12 Brendan Hoolihan is a resident of the State of California. Defendant has, through
  13 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  14 October 1, 2017, shooting incident in Las Vegas, Nevada.
  15            398. Plaintiffs are informed and believe and thereon allege that Defendant
  16 Brittany Hopkins is a resident of the State of California. Defendant has, through
  17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  18 October 1, 2017, shooting incident in Las Vegas, Nevada.
  19            399. Plaintiffs are informed and believe and thereon allege that Defendant
  20 Michelle Howlett is a resident of the State of California. Defendant has, through
  21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  22 October 1, 2017, shooting incident in Las Vegas, Nevada.
  23            400. Plaintiffs are informed and believe and thereon allege that Defendant
  24 Malisa Hoyme is a resident of the State of California. Defendant has, through
  25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  26 October 1, 2017, shooting incident in Las Vegas, Nevada.
  27            401. Plaintiffs are informed and believe, and thereon allege, that defendant
  28 Debra Hudson is a resident of the State of California. Defendant has previously filed
       39245596.3
                                                  -76-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 88 of 181 Page ID #:88




   1 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   2 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   3 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   4 Los Angeles Superior Court (“LASC”), case number BC684047.
   5            402. Plaintiffs are informed and believe, and thereon allege, that defendant
   6 Leanne Huggins is a resident of the State of California. Defendant has previously
   7 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   8 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   9 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Huggins, et al. v.
  10 MGM, filed February 14, 2018, in the Los Angeles Superior Court (“LASC”), case
  11 number BC694788, Plaintiffs are informed and believe that Defendant is a resident
  12 of the County of Los Angeles, State of California.
  13            403. Plaintiffs are informed and believe and thereon allege that Defendant
  14 Laurie Hulbert is a resident of the State of California. Defendant has, through
  15 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  16 October 1, 2017, shooting incident in Las Vegas, Nevada.
  17            404. Plaintiffs are informed and believe and thereon allege that Defendant
  18 Julie Huntsinger is a resident of the State of California. Defendant has, through
  19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  20 October 1, 2017, shooting incident in Las Vegas, Nevada.
  21            405. Plaintiffs are informed and believe and thereon allege that Defendant
  22 Ryan Huntsinger is a resident of the State of California. Defendant has, through
  23 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  24 October 1, 2017, shooting incident in Las Vegas, Nevada.
  25            406. Plaintiffs are informed and believe and thereon allege that Defendant
  26 Taylor Hurwit is a resident of the State of California, County of Los Angeles.
  27 Defendant has, through counsel, asserted or threatened to assert claims against
  28 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
       39245596.3
                                                  -77-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 89 of 181 Page ID #:89




   1            407. Plaintiffs are informed and believe and thereon allege that Defendant
   2 Bret Ivey is a resident of the State of California, County of Los Angeles. Defendant
   3 has, through counsel, asserted or threatened to assert claims against Plaintiffs based
   4 upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   5            408. Plaintiffs are informed and believe, and thereon allege, that defendant
   6 Alicia Jackson is a resident of the State of California. Defendant has previously filed
   7 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   8 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   9 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  10 Los Angeles Superior Court (“LASC”), case number BC684047.
  11            409. Plaintiffs are informed and believe and thereon allege that Defendant
  12 Thomas S. Jacobus is a resident of the State of California. Defendant has, through
  13 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  14 October 1, 2017, shooting incident in Las Vegas, Nevada.
  15            410. Plaintiffs are informed and believe and thereon allege that Defendant
  16 Philip Jardell is a resident of the State of California, County of Los Angeles.
  17 Defendant has, through counsel, asserted or threatened to assert claims against
  18 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  19            411. Plaintiffs are informed and believe and thereon allege that Defendant
  20 Joanna Jashimoto is a resident of the State of California. Defendant has, through
  21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  22 October 1, 2017, shooting incident in Las Vegas, Nevada.
  23            412. Plaintiffs are informed and believe, and thereon allege, that defendant
  24 Aaron E. Jenkins is a resident of the State of California. Defendant has previously
  25 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  26 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  27 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  28 Los Angeles Superior Court (“LASC”), case number BC684047.
       39245596.3
                                                  -78-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 90 of 181 Page ID #:90




   1            413. Plaintiffs are informed and believe, and thereon allege, that defendant
   2 Jessica Ann Jenkins is a resident of the State of California. Defendant has previously
   3 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   4 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   5 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   6 Los Angeles Superior Court (“LASC”), case number BC684047.
   7            414. Plaintiffs are informed and believe and thereon allege that Defendant
   8 Teresa Jensen is a resident of the State of California. Defendant has, through
   9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  10 October 1, 2017, shooting incident in Las Vegas, Nevada.
  11            415. Plaintiffs are informed and believe and thereon allege that Defendant
  12 Miranda Jessen is a resident of the State of California, County of Los Angeles.
  13 Defendant has, through counsel, asserted or threatened to assert claims against
  14 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  15            416. Plaintiffs are informed and believe and thereon allege that Defendant
  16 Sarah Jick is a resident of the State of California, County of Los Angeles.
  17 Defendant has, through counsel, asserted or threatened to assert claims against
  18 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  19            417. Plaintiffs are informed and believe and thereon allege that Defendant
  20 Renee Jimenez is a resident of the State of California. Defendant has, through
  21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  22 October 1, 2017, shooting incident in Las Vegas, Nevada.
  23            418. Plaintiffs are informed and believe, and thereon allege, that defendant
  24 LaNeshia Johnson is a resident of the State of California. Defendant has previously
  25 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  26 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  27 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  28 Los Angeles Superior Court (“LASC”), case number BC684047.
       39245596.3
                                                  -79-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 91 of 181 Page ID #:91




   1            419. Plaintiffs are informed and believe, and thereon allege, that defendant
   2 Monta Johnson is a resident of the State of California. Defendant has previously
   3 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   4 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   5 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   6 Los Angeles Superior Court (“LASC”), case number BC684047.
   7            420. Plaintiffs are informed and believe and thereon allege that Defendant
   8 Michelle Jones is a resident of the State of California. Defendant has, through
   9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  10 October 1, 2017, shooting incident in Las Vegas, Nevada.
  11            421. Plaintiffs are informed and believe, and thereon allege, that defendant
  12 Misty Jones is a resident of the State of California. Defendant has previously filed a
  13 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  14 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  15 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
  16 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
  17 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
  18 of the County of Los Angeles, State of California.
  19            422. Plaintiffs are informed and believe, and thereon allege, that defendant
  20 Rob Jones is a resident of the State of California. Defendant has previously filed a
  21 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  22 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  23 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
  24 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
  25 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
  26 of the County of Ventura, State of California.
  27            423. Plaintiffs are informed and believe, and thereon allege, that defendant
  28 Shaheed Jones is a resident of the State of California. Defendant has previously filed
       39245596.3
                                                  -80-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 92 of 181 Page ID #:92




   1 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   2 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   3 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   4 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   5 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   6 of the County of Los Angeles, State of California.
   7            424. Plaintiffs are informed and believe and thereon allege that Defendant
   8 Clarice Kahia is a resident of the State of California. Defendant has, through
   9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  10 October 1, 2017, shooting incident in Las Vegas, Nevada.
  11            425. Plaintiffs are informed and believe, and thereon allege, that defendant
  12 Ted Kalnas is a resident of the State of California. Defendant has previously filed a
  13 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  14 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  15 Las Vegas, Nevada. Based on the allegations in that lawsuit, Vanderstay, et al. v.
  16 MGM, filed November 13, 2017, in the Los Angeles Superior Court (“LASC”),
  17 Plaintiffs are informed and believe that Defendant is a resident of the County of Los
  18 Angeles, State of California.
  19            426. Plaintiffs are informed and believe and thereon allege that Defendant
  20 Lori Kammer is a resident of the State of California. Defendant has, through
  21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  22 October 1, 2017, shooting incident in Las Vegas, Nevada.
  23            427. Plaintiffs are informed and believe and thereon allege that Defendant
  24 Todd Kammer is a resident of the State of California. Defendant has, through
  25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  26 October 1, 2017, shooting incident in Las Vegas, Nevada.
  27            428. Plaintiffs are informed and believe, and thereon allege, that defendant
  28 Michael Kaplish is a resident of the State of California. Defendant has previously
       39245596.3
                                                  -81-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 93 of 181 Page ID #:93




   1 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   2 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   3 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   4 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   5 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   6 of the County of Ventura, State of California.
   7            429. Plaintiffs are informed and believe and thereon allege that Defendant
   8 Mirta Katnich is a resident of the State of California, County of Los Angeles.
   9 Defendant has, through counsel, asserted or threatened to assert claims against
  10 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  11            430. Plaintiffs are informed and believe, and thereon allege, that defendant
  12 Scott Keeran is a resident of the State of California. Defendant has previously filed a
  13 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  14 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  15 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  16 Los Angeles Superior Court (“LASC”), case number BC684047.
  17            431. Plaintiffs are informed and believe, and thereon allege, that defendant
  18 Valerie Melissa Keeran is a resident of the State of California. Defendant has
  19 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
  20 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
  21 shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
  22 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
  23 BC684047.
  24            432. Plaintiffs are informed and believe and thereon allege that Defendant
  25 Alaina Kelly is a resident of the State of California. Defendant has, through
  26 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  27 October 1, 2017, shooting incident in Las Vegas, Nevada.
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       39245596.3
                                                  -82-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 94 of 181 Page ID #:94




   1            433. Plaintiffs are informed and believe and thereon allege that Defendant
   2 Debra Kelly is a resident of the State of California. Defendant has, through counsel,
   3 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   4 2017, shooting incident in Las Vegas, Nevada.
   5            434. Plaintiffs are informed and believe and thereon allege that Defendant
   6 William M. Kelly is a resident of the State of California. Defendant has, through
   7 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   8 October 1, 2017, shooting incident in Las Vegas, Nevada.
   9            435. Plaintiffs are informed and believe, and thereon allege, that defendant
  10 Kyle Kennedy is a resident of the State of California. Defendant has previously filed
  11 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  12 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  13 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  14 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  15 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  16 of the County of Los Angeles, State of California.
  17            436. Plaintiffs are informed and believe and thereon allege that Defendant
  18 Brenda Kent is a resident of the State of California, County of Los Angeles.
  19 Defendant has, through counsel, asserted or threatened to assert claims against
  20 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
  21            437. Plaintiffs are informed and believe, and thereon allege, that defendant
  22 Kelsi Kessler is a resident of the State of California. Defendant has previously filed
  23 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  24 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  25 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  26 Los Angeles Superior Court (“LASC”), case number BC684047.
  27            438. Plaintiffs are informed and believe and thereon allege that Defendant
  28 Brian Kettering is a resident of the State of California. Defendant has, through
       39245596.3
                                                  -83-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 95 of 181 Page ID #:95




   1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   2 October 1, 2017, shooting incident in Las Vegas, Nevada.
   3            439. Plaintiffs are informed and believe and thereon allege that Defendant
   4 Yvette Kettering is a resident of the State of California. Defendant has, through
   5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   6 October 1, 2017, shooting incident in Las Vegas, Nevada.
   7            440. Plaintiffs are informed and believe, and thereon allege, that defendant
   8 Sana Khader is a resident of the State of California. Defendant has previously filed a
   9 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  10 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  11 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  12 Los Angeles Superior Court (“LASC”), case number BC684047.
  13            441. Plaintiffs are informed and believe, and thereon allege, that defendant
  14 Joanna Kilma is a resident of the State of California. Defendant has previously filed
  15 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  16 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  17 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  18 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  19 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  20 of the County of Los Angeles, State of California.
  21            442. Plaintiffs are informed and believe, and thereon allege, that defendant
  22 James Kirk is a resident of the State of California. Defendant has previously filed a
  23 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  24 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  25 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  26 Los Angeles Superior Court (“LASC”), case number BC684047.
  27            443. Plaintiffs are informed and believe, and thereon allege, that defendant
  28 Judie Jean Kirksey is a resident of the State of California. Defendant has previously
       39245596.3
                                                  -84-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 96 of 181 Page ID #:96




   1 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   2 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   3 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   4 Los Angeles Superior Court (“LASC”), case number BC684047.
   5            444. Plaintiffs are informed and believe and thereon allege that Defendant
   6 Nicole Kirshner is a resident of the State of California. Defendant has, through
   7 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   8 October 1, 2017, shooting incident in Las Vegas, Nevada.
   9            445. Plaintiffs are informed and believe, and thereon allege, that defendant
  10 Matthew Klemmer is a resident of the State of California. Defendant has previously
  11 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  12 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  13 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  14 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  15 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  16 of the County of Los Angeles, State of California.
  17            446. Plaintiffs are informed and believe and thereon allege that Defendant
  18 Rebecca Knepper is a resident of the State of California. Defendant has, through
  19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  20 October 1, 2017, shooting incident in Las Vegas, Nevada.
  21            447. Plaintiffs are informed and believe and thereon allege that Defendant
  22 Kash Knudson is a resident of the State of California. Defendant has, through
  23 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  24 October 1, 2017, shooting incident in Las Vegas, Nevada.
  25            448. Plaintiffs are informed and believe, and thereon allege, that defendant
  26 Jazman Glover Kowalczyk is a resident of the State of California. Defendant has
  27 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
  28 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
       39245596.3
                                                  -85-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 97 of 181 Page ID #:97




   1 shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
   2 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
   3 BC684047.
   4            449. Plaintiffs are informed and believe and thereon allege that Defendant
   5 Michael Kretschmar is a resident of the State of California, County of Los Angeles.
   6 Defendant has, through counsel, asserted or threatened to assert claims against
   7 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   8            450. Plaintiffs are informed and believe, and thereon allege, that defendant
   9 Lauren Christine Krueger is a resident of the State of California. Defendant has
  10 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
  11 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
  12 shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
  13 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
  14 BC684047.
  15            451. Plaintiffs are informed and believe, and thereon allege, that defendant
  16 Madisyn Kuntz is a resident of the State of California. Defendant has previously
  17 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  18 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  19 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  20 Los Angeles Superior Court (“LASC”), case number BC684047.
  21            452. Plaintiffs are informed and believe, and thereon allege, that defendant
  22 Scott T. Kuntz is a resident of the State of California. Defendant has previously filed
  23 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  24 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  25 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
  26 Los Angeles Superior Court (“LASC”), case number BC684047.
  27            453. Plaintiffs are informed and believe, and thereon allege, that defendant
  28 Brittany LaJoie is a resident of the State of California. Defendant has previously
       39245596.3
                                                  -86-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 98 of 181 Page ID #:98




   1 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   2 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   3 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   4 Los Angeles Superior Court (“LASC”), case number BC684047.
   5            454. Plaintiffs are informed and believe and thereon allege that Defendant
   6 Michael Landron is a resident of the State of California. Defendant has, through
   7 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   8 October 1, 2017, shooting incident in Las Vegas, Nevada.
   9            455. Plaintiffs are informed and believe, and thereon allege, that defendant
  10 Brooke Laney is a resident of the State of California. Defendant has previously filed
  11 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  12 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
  13 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
  14 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
  15 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
  16 of the County of Los Angeles, State of California.
  17            456. Plaintiffs are informed and believe, and thereon allege, that defendant
  18 Logan LaPorte is a resident of the State of California. Defendant has previously
  19 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  20 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  21 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
  22 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
  23 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
  24 of the County of Los Angeles, State of California.
  25            457. Plaintiffs are informed and believe, and thereon allege, that defendant
  26 Mitchell LaPorte is a resident of the State of California. Defendant has previously
  27 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  28 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
       39245596.3
                                                  -87-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 99 of 181 Page ID #:99




   1 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   2 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
   3 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
   4 of the County of Los Angeles, State of California.
   5            458. Plaintiffs are informed and believe, and thereon allege, that defendant
   6 Susie LaPorte is a resident of the State of California. Defendant has previously filed
   7 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   8 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   9 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
  10 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
  11 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
  12 of the County of Los Angeles, State of California.
  13            459. Plaintiffs are informed and believe, and thereon allege, that defendant
  14 Richard Larson is a resident of the State of California. Defendant has previously
  15 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
  16 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
  17 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
  18 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
  19 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
  20 of the County of Los Angeles, State of California.
  21            460. Plaintiffs are informed and believe and thereon allege that Defendant
  22 Chelsea Laurent is a resident of the State of California. Defendant has, through
  23 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
  24 October 1, 2017, shooting incident in Las Vegas, Nevada.
  25            461. Plaintiffs are informed and believe, and thereon allege, that defendant
  26 Jamie Lavery is a resident of the State of California. Defendant has previously filed
  27 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
  28 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
       39245596.3
                                                  -88-
                                   COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 100 of 181 Page ID #:100




     1 Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the Los
     2 Angeles Superior Court (“LASC”), case number BC687120.
     3            462. Plaintiffs are informed and believe and thereon allege that Defendant
     4 Nicholas Lawlor is a resident of the State of California. Defendant has, through
     5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     6 October 1, 2017, shooting incident in Las Vegas, Nevada.
     7            463. Plaintiffs are informed and believe and thereon allege that Defendant
     8 Tiffani Lawyer is a resident of the State of California. Defendant has, through
     9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   10 October 1, 2017, shooting incident in Las Vegas, Nevada.
   11             464. Plaintiffs are informed and believe and thereon allege that Defendant
   12 Susan Learn is a resident of the State of California. Defendant has, through counsel,
   13 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   14 2017, shooting incident in Las Vegas, Nevada.
   15             465. Plaintiffs are informed and believe, and thereon allege, that defendant
   16 Cara Ledergerber is a resident of the State of California. Defendant has previously
   17 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   18 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   19 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   20 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   21 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   22 of the County of Los Angeles, State of California.
   23             466. Plaintiffs are informed and believe and thereon allege that Defendant
   24 Ruth Legaspi is a resident of the State of California. Defendant has, through
   25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   26 October 1, 2017, shooting incident in Las Vegas, Nevada.
   27             467. Plaintiffs are informed and believe and thereon allege that Defendant
   28 Delane Leivas is a resident of the State of California, County of Ventura. Defendant
         39245596.3
                                                    -89-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 101 of 181 Page ID #:101




     1 has, through counsel, asserted or threatened to assert claims against Plaintiffs based
     2 upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
     3            468. Plaintiffs are informed and believe and thereon allege that Defendant
     4 Delanie Leone is a resident of the State of California. Defendant has, through
     5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     6 October 1, 2017, shooting incident in Las Vegas, Nevada.
     7            469. Plaintiffs are informed and believe, and thereon allege, that defendant
     8 Catherine Lester is a resident of the State of California. Defendant has previously
     9 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   10 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   11 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   12 Los Angeles Superior Court (“LASC”), case number BC684047.
   13             470. Plaintiffs are informed and believe and thereon allege that Defendant
   14 Haley Lewis is a resident of the State of California. Defendant has, through
   15 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   16 October 1, 2017, shooting incident in Las Vegas, Nevada.
   17             471. Plaintiffs are informed and believe and thereon allege that Defendant
   18 Judith Leyn is a resident of the State of California. Defendant has, through counsel,
   19 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   20 2017, shooting incident in Las Vegas, Nevada.
   21             472. Plaintiffs are informed and believe and thereon allege that Defendant
   22 Linda Liewsuwanphong is a resident of the State of California. Defendant has,
   23 through counsel, asserted or threatened to assert claims against Plaintiffs based upon
   24 the October 1, 2017, shooting incident in Las Vegas, Nevada.
   25             473. Plaintiffs are informed and believe and thereon allege that Defendant
   26 Pridee J. Liewsuwanphong is a resident of the State of California. Defendant has,
   27 through counsel, asserted or threatened to assert claims against Plaintiffs based upon
   28 the October 1, 2017, shooting incident in Las Vegas, Nevada.
         39245596.3
                                                    -90-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 102 of 181 Page ID #:102




     1            474. Plaintiffs are informed and believe, and thereon allege, that defendant
     2 Sophia Lima is a resident of the State of California. Defendant has previously filed a
     3 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
     4 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
     5 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
     6 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
     7 number BC687120,
     8            475. Plaintiffs are informed and believe and thereon allege that Defendant
     9 Michael Ljubic is a resident of the State of California. Defendant has, through
   10 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   11 October 1, 2017, shooting incident in Las Vegas, Nevada.
   12             476. Plaintiffs are informed and believe and thereon allege that Defendant
   13 Michelle Ljubic is a resident of the State of California, County of Los Angeles.
   14 Defendant has, through counsel, asserted or threatened to assert claims against
   15 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   16             477. Plaintiffs are informed and believe and thereon allege that Defendant
   17 Nikolas Ljubic is a resident of the State of California. Defendant has, through
   18 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   19 October 1, 2017, shooting incident in Las Vegas, Nevada.
   20             478. Plaintiffs are informed and believe, and thereon allege, that defendant
   21 Elvia Llamas is a resident of the State of California. Defendant has previously filed
   22 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   23 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   24 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   25 Los Angeles Superior Court (“LASC”), case number BC684047.
   26             479. Plaintiffs are informed and believe, and thereon allege, that defendant
   27 Manuel Llamas is a resident of the State of California. Defendant has previously
   28 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
         39245596.3
                                                    -91-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 103 of 181 Page ID #:103




     1 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     2 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     3 Los Angeles Superior Court (“LASC”), case number BC684047.
     4            480. Plaintiffs are informed and believe and thereon allege that Defendant
     5 Delaney Llanusa is a resident of the State of California. Defendant has, through
     6 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     7 October 1, 2017, shooting incident in Las Vegas, Nevada.
     8            481. Plaintiffs are informed and believe and thereon allege that Defendant
     9 Valarie Loera is a resident of the State of California. Defendant has, through
   10 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   11 October 1, 2017, shooting incident in Las Vegas, Nevada.
   12             482. Plaintiffs are informed and believe and thereon allege that Defendant
   13 Leah Loewenthal is a resident of the State of California, County of Los Angeles.
   14 Defendant has, through counsel, asserted or threatened to assert claims against
   15 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   16             483. Plaintiffs are informed and believe and thereon allege that Defendant
   17 Arla Loncar is a resident of the State of California. Defendant has, through counsel,
   18 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   19 2017, shooting incident in Las Vegas, Nevada.
   20             484. Plaintiffs are informed and believe and thereon allege that Defendant
   21 Blake Loncar is a resident of the State of California. Defendant has, through
   22 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   23 October 1, 2017, shooting incident in Las Vegas, Nevada.
   24             485. Plaintiffs are informed and believe, and thereon allege, that defendant
   25 Alma Lopez is a resident of the State of California. Defendant has previously filed a
   26 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   27 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
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                                                    -92-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 104 of 181 Page ID #:104




     1 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     2 Los Angeles Superior Court (“LASC”), case number BC684047.
     3            486. Plaintiffs are informed and believe and thereon allege that Defendant
     4 Kimberly Loring is a resident of the State of California. Defendant has, through
     5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     6 October 1, 2017, shooting incident in Las Vegas, Nevada.
     7            487. Plaintiffs are informed and believe and thereon allege that Defendant
     8 Leticia Luna is a resident of the State of California. Defendant has, through
     9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   10 October 1, 2017, shooting incident in Las Vegas, Nevada.
   11             488. Plaintiffs are informed and believe, and thereon allege, that defendant
   12 A.M., a minor, is a resident of the State of California. Defendant has previously
   13 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   14 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   15 in Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the
   16 Los Angeles Superior Court (“LASC”), case number BC687120.
   17             489. Plaintiffs are informed and believe, and thereon allege, that defendant
   18 Bo Magee is a resident of the State of California. Defendant has previously filed a
   19 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   20 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   21 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   22 Los Angeles Superior Court (“LASC”), case number BC684047.
   23             490. Plaintiffs are informed and believe and thereon allege that Defendant
   24 Kelcy Maio is a resident of the State of California, County of Santa Barbara.
   25 Defendant has, through counsel, asserted or threatened to assert claims against
   26 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   27             491. Plaintiffs are informed and believe, and thereon allege, that defendant
   28 Claudia Majalca is a resident of the State of California. Defendant has previously
         39245596.3
                                                    -93-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 105 of 181 Page ID #:105




     1 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     2 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     3 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     4 Los Angeles Superior Court (“LASC”), case number BC684047.
     5            492. Plaintiffs are informed and believe, and thereon allege, that defendant
     6 Emily Majer is a resident of the State of California. Defendant has previously filed a
     7 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
     8 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
     9 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   10 Los Angeles Superior Court (“LASC”), case number BC684047.
   11             493. Plaintiffs are informed and believe, and thereon allege, that defendant
   12 Brian Mallette is a resident of the State of California. Defendant has previously filed
   13 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   14 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   15 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   16 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
   17 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
   18 of the County of Los Angeles, State of California.
   19             494. Plaintiffs are informed and believe, and thereon allege, that defendant
   20 Jeff Manahan is a resident of the State of California. Defendant has previously filed
   21 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   22 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   23 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   24 Los Angeles Superior Court (“LASC”), case number BC684047.
   25             495. Plaintiffs are informed and believe and thereon allege that Defendant
   26 Kevin Manahan is a resident of the State of California, County of Los Angeles.
   27 Defendant has, through counsel, asserted or threatened to assert claims against
   28 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
         39245596.3
                                                    -94-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 106 of 181 Page ID #:106




     1            496. Plaintiffs are informed and believe and thereon allege that Defendant
     2 Ashley Mansperger is a resident of the State of California. Defendant has, through
     3 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     4 October 1, 2017, shooting incident in Las Vegas, Nevada.
     5            497. Plaintiffs are informed and believe and thereon allege that Defendant
     6 Thomas Martin is a resident of the State of California. Defendant has, through
     7 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     8 October 1, 2017, shooting incident in Las Vegas, Nevada.
     9            498. Plaintiffs are informed and believe and thereon allege that Defendant
   10 Andrew Martinez is a resident of the State of California. Defendant has, through
   11 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   12 October 1, 2017, shooting incident in Las Vegas, Nevada.
   13             499. Plaintiffs are informed and believe, and thereon allege, that defendant
   14 Elisa Martinez is a resident of the State of California. Defendant has previously filed
   15 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   16 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   17 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   18 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   19 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   20 of the County of Los Angeles, State of California.
   21             500. Plaintiffs are informed and believe and thereon allege that Defendant
   22 Regina R. Martinez is a resident of the State of California. Defendant has, through
   23 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   24 October 1, 2017, shooting incident in Las Vegas, Nevada.
   25             501. Plaintiffs are informed and believe and thereon allege that Defendant
   26 Salvador Martinez is a resident of the State of California, County of Los Angeles.
   27 Defendant has, through counsel, asserted or threatened to assert claims against
   28 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
         39245596.3
                                                    -95-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 107 of 181 Page ID #:107




     1            502. Plaintiffs are informed and believe and thereon allege that Defendant
     2 Somer Martinez is a resident of the State of California. Defendant has, through
     3 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     4 October 1, 2017, shooting incident in Las Vegas, Nevada.
     5            503. Plaintiffs are informed and believe and thereon allege that Defendant
     6 Tony Martinez is a resident of the State of California. Defendant has, through
     7 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     8 October 1, 2017, shooting incident in Las Vegas, Nevada.
     9            504. Plaintiffs are informed and believe and thereon allege that Defendant
   10 William Mason is a resident of the State of California. Defendant has, through
   11 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   12 October 1, 2017, shooting incident in Las Vegas, Nevada.
   13             505. Plaintiffs are informed and believe and thereon allege that Defendant
   14 Adam Matz is a resident of the State of California. Defendant has, through counsel,
   15 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   16 2017, shooting incident in Las Vegas, Nevada.
   17             506. Plaintiffs are informed and believe and thereon allege that Defendant
   18 Holly Mayes is a resident of the State of California. Defendant has, through counsel,
   19 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   20 2017, shooting incident in Las Vegas, Nevada.
   21             507. Plaintiffs are informed and believe, and thereon allege, that defendant
   22 Charles Mayfield IV is a resident of the State of California. Defendant has
   23 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
   24 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
   25 shooting incident in Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December
   26 15, 2017, in the Los Angeles Superior Court (“LASC”), case number BC687120.
   27             508. Plaintiffs are informed and believe, and thereon allege, that defendant
   28 Charles Mayfield is a resident of the State of California. Defendant has previously
         39245596.3
                                                    -96-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 108 of 181 Page ID #:108




     1 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     2 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     3 in Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the
     4 Los Angeles Superior Court (“LASC”), case number BC687120.
     5            509. Plaintiffs are informed and believe, and thereon allege, that defendant
     6 Christine A. Mayfield is a resident of the State of California. Defendant has
     7 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
     8 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
     9 shooting incident in Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December
   10 15, 2017, in the Los Angeles Superior Court (“LASC”), case number BC687120.
   11             510. Plaintiffs are informed and believe, and thereon allege, that defendant
   12 Diana De La Maza is a resident of the State of California. Defendant has previously
   13 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   14 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   15 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   16 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
   17 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
   18 of the County of Los Angeles, State of California.
   19             511. Plaintiffs are informed and believe, and thereon allege, that defendant
   20 Roland De La Maza is a resident of the State of California. Defendant has
   21 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
   22 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
   23 shooting incident in Las Vegas, Nevada. Based on the allegations in that lawsuit,
   24 Mayfield, et al. v. MGM, filed December 15, 2017, in the Los Angeles Superior
   25 Court (“LASC”), case number BC687120, Plaintiffs are informed and believe that
   26 Defendant is a resident of the County of Los Angeles, State of California.
   27             512. Plaintiffs are informed and believe, and thereon allege, that defendant
   28 Genevieve Mazza is a resident of the State of California. Defendant has previously
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                                                    -97-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 109 of 181 Page ID #:109




     1 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     2 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     3 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     4 Los Angeles Superior Court (“LASC”), case number BC684047.
     5            513. Plaintiffs are informed and believe and thereon allege that Defendant
     6 Shande McCann is a resident of the State of California. Defendant has, through
     7 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     8 October 1, 2017, shooting incident in Las Vegas, Nevada.
     9            514. Plaintiffs are informed and believe, and thereon allege, that defendant
   10 Karen McCorkle is a resident of the State of California. Defendant has previously
   11 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   12 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   13 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   14 Los Angeles Superior Court (“LASC”), case number BC684047.
   15             515. Plaintiffs are informed and believe and thereon allege that Defendant
   16 Daniel McDonald is a resident of the State of California. Defendant has, through
   17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   18 October 1, 2017, shooting incident in Las Vegas, Nevada.
   19             516. Plaintiffs are informed and believe, and thereon allege, that defendant
   20 Lontisha McGilberry is a resident of the State of California. Defendant has
   21 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
   22 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
   23 shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
   24 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
   25 BC684047.
   26             517. Plaintiffs are informed and believe and thereon allege that Defendant
   27 Julie McGinis is a resident of the State of California. Defendant has, through
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         39245596.3
                                                    -98-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 110 of 181 Page ID #:110




     1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     2 October 1, 2017, shooting incident in Las Vegas, Nevada.
     3            518. Plaintiffs are informed and believe, and thereon allege, that defendant
     4 Cherish McGuire is a resident of the State of California. Defendant has previously
     5 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     6 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     7 in Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the
     8 Los Angeles Superior Court (“LASC”), case number BC687120.
     9            519. Plaintiffs are informed and believe and thereon allege that Defendant
   10 Stephanie McKiernan is a resident of the State of California. Defendant has, through
   11 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   12 October 1, 2017, shooting incident in Las Vegas, Nevada.
   13             520. Plaintiffs are informed and believe and thereon allege that Defendant
   14 Cheryl McPherson is a resident of the State of California, County of Los Angeles.
   15 Defendant has, through counsel, asserted or threatened to assert claims against
   16 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   17             521. Plaintiffs are informed and believe and thereon allege that Defendant
   18 Mark McShane is a resident of the State of California. Defendant has, through
   19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   20 October 1, 2017, shooting incident in Las Vegas, Nevada.
   21             522. Plaintiffs are informed and believe, and thereon allege, that defendant
   22 Ashley-Dawn L. Mead is a resident of the State of California. Defendant has
   23 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
   24 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
   25 shooting incident in Las Vegas, Nevada, in Gasper, et al. v. MGM, filed November
   26 20, 2017, in Los Angeles Superior Court (“LASC”), case number BC684143.
   27             523. Plaintiffs are informed and believe and thereon allege that Defendant
   28 David Medina is a resident of the State of California. Defendant has, through
         39245596.3
                                                    -99-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 111 of 181 Page ID #:111




     1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     2 October 1, 2017, shooting incident in Las Vegas, Nevada.
     3            524. Plaintiffs are informed and believe, and thereon allege, that defendant
     4 Johnathan Daniel Medina is a resident of the State of California. Defendant has
     5 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
     6 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
     7 shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
     8 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
     9 BC684047.
   10             525. Plaintiffs are informed and believe, and thereon allege, that defendant
   11 Rachelle Melocoton is a resident of the State of California. Defendant has
   12 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
   13 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
   14 shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
   15 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
   16 BC684047.
   17             526. Plaintiffs are informed and believe and thereon allege that Defendant
   18 Raymond Merkley is a resident of the State of California, County of Los Angeles.
   19 Defendant has, through counsel, asserted or threatened to assert claims against
   20 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   21             527. Plaintiffs are informed and believe and thereon allege that Defendant
   22 Jim Merrifield is a resident of the State of California. Defendant has, through
   23 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   24 October 1, 2017, shooting incident in Las Vegas, Nevada.
   25             528. Plaintiffs are informed and believe, and thereon allege that on October
   26 1, 2017, decedent Patricia Mestas, was a resident of the State of California.
   27 Plaintiffs are informed and believe and thereon allege that Defendants, the Estate of
   28 Patricia Mestas and Jeremy Schmidt (surviving son, heir and successor-in-interest)
         39245596.3
                                                   -100-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 112 of 181 Page ID #:112




     1 have, through counsel, made claims against Plaintiffs based upon the October 1,
     2 2017, shooting incident in Las Vegas, Nevada, or, alternatively, have indicated an
     3 intent to make such claims in the future (such as by way of the filing of a separate
     4 lawsuit – now dismissed, by way of a letter of representation of counsel, or by way
     5 of an evidence preservation letter from counsel).
     6            529. Plaintiffs are informed and believe, and thereon allege, that defendant
     7 Derek Miller is a resident of the State of California. Defendant has previously filed a
     8 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
     9 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   10 Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the Los
   11 Angeles Superior Court (“LASC”), case number BC687120.
   12             530. Plaintiffs are informed and believe and thereon allege that Defendant
   13 Kayla Mills is a resident of the State of California. Defendant has, through counsel,
   14 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   15 2017, shooting incident in Las Vegas, Nevada.
   16             531. Plaintiffs are informed and believe, and thereon allege, that defendant
   17 Melissa Mina is a resident of the State of California. Defendant has previously filed
   18 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   19 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   20 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   21 Los Angeles Superior Court (“LASC”), case number BC684047.
   22             532. Plaintiffs are informed and believe and thereon allege that Defendant
   23 Keith Mineo is a resident of the State of California. Defendant has, through counsel,
   24 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   25 2017, shooting incident in Las Vegas, Nevada.
   26             533. Plaintiffs are informed and believe and thereon allege that Defendant
   27 Rosa Miranda is a resident of the State of California. Defendant has, through
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         39245596.3
                                                   -101-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 113 of 181 Page ID #:113




     1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     2 October 1, 2017, shooting incident in Las Vegas, Nevada.
     3            534. Plaintiffs are informed and believe, and thereon allege, that defendant
     4 Alexandria Mitchell is a resident of the State of California. Defendant has
     5 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
     6 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
     7 shooting incident in Las Vegas, Nevada. Based on the allegations in that lawsuit,
     8 Abraham, et al. v. MGM, filed November 20, 2017, in the Los Angeles Superior
     9 Court (“LASC”), case number BC684047, Plaintiffs are informed and believe that
   10 Defendant is a resident of the County of Los Angeles, State of California.
   11             535. Plaintiffs are informed and believe and thereon allege that Defendant
   12 Debra Mitchell is a resident of the State of California. Defendant has, through
   13 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   14 October 1, 2017, shooting incident in Las Vegas, Nevada.
   15             536. Plaintiffs are informed and believe and thereon allege that Defendant
   16 Michelle Montoya is a resident of the State of California. Defendant has, through
   17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   18 October 1, 2017, shooting incident in Las Vegas, Nevada.
   19             537. Plaintiffs are informed and believe and thereon allege that Defendant
   20 Dodi Moore is a resident of the State of California, County of Los Angeles.
   21 Defendant has, through counsel, asserted or threatened to assert claims against
   22 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   23             538. Plaintiffs are informed and believe and thereon allege that Defendant
   24 Lisa Moran is a resident of the State of California. Defendant has, through counsel,
   25 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   26 2017, shooting incident in Las Vegas, Nevada.
   27             539. Plaintiffs are informed and believe, and thereon allege, that defendant
   28 Bambi Rene Moreau is a resident of the State of California. Defendant has
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                                                   -102-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 114 of 181 Page ID #:114




     1 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
     2 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
     3 shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
     4 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
     5 BC684047.
     6            540. Plaintiffs are informed and believe, and thereon allege, that defendant
     7 Scott Moreau is a resident of the State of California. Defendant has previously filed
     8 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
     9 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   10 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   11 Los Angeles Superior Court (“LASC”), case number BC684047.
   12             541. Plaintiffs are informed and believe, and thereon allege, that defendant
   13 Britnie L. Morgan is a resident of the State of California. Defendant has previously
   14 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   15 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   16 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   17 Los Angeles Superior Court (“LASC”), case number BC684047.
   18             542. Plaintiffs are informed and believe, and thereon allege, that defendant
   19 Candice Morgan is a resident of the State of California. Defendant has previously
   20 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   21 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   22 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   23 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   24 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   25 of the County of Los Angeles, State of California.
   26             543. Plaintiffs are informed and believe and thereon allege that Defendant
   27 Roger Mozda is a resident of the State of California. Defendant has, through
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         39245596.3
                                                   -103-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 115 of 181 Page ID #:115




     1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     2 October 1, 2017, shooting incident in Las Vegas, Nevada.
     3            544. Plaintiffs are informed and believe, and thereon allege, that defendant
     4 Jillian Mueller is a resident of the State of California. Defendant has previously filed
     5 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
     6 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
     7 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     8 Los Angeles Superior Court (“LASC”), case number BC684047.
     9            545. Plaintiffs are informed and believe and thereon allege that Defendant
   10 Jonathan Mulligan is a resident of the State of California. Defendant has, through
   11 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   12 October 1, 2017, shooting incident in Las Vegas, Nevada.
   13             546. Plaintiffs are informed and believe and thereon allege that Defendant
   14 Lisa Munoz is a resident of the State of California. Defendant has, through counsel,
   15 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   16 2017, shooting incident in Las Vegas, Nevada.
   17             547. Plaintiffs are informed and believe and thereon allege that Defendant
   18 Kevin Murphy is a resident of the State of California. Defendant has, through
   19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   20 October 1, 2017, shooting incident in Las Vegas, Nevada.
   21             548. Plaintiffs are informed and believe and thereon allege that Defendant
   22 Chris W. Murray is a resident of the State of California, County of Los Angeles.
   23 Defendant has, through counsel, asserted or threatened to assert claims against
   24 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   25             549. Plaintiffs are informed and believe and thereon allege that Defendant
   26 Sharmen Murray is a resident of the State of California. Defendant has, through
   27 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   28 October 1, 2017, shooting incident in Las Vegas, Nevada.
         39245596.3
                                                   -104-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 116 of 181 Page ID #:116




     1            550. Plaintiffs are informed and believe, and thereon allege, that defendant
     2 Lisa Muzycka is a resident of the State of California. Defendant has previously filed
     3 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
     4 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
     5 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
     6 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
     7 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
     8 of the County of Los Angeles, State of California.
     9            551. Plaintiffs are informed and believe, and thereon allege, that defendant
   10 Joseph M. Napoli is a resident of the State of California. Defendant has previously
   11 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   12 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   13 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   14 Los Angeles Superior Court (“LASC”), case number BC684047.
   15             552. Plaintiffs are informed and believe and thereon allege that Defendant
   16 Marissa Narvaez is a resident of the State of California. Defendant has, through
   17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   18 October 1, 2017, shooting incident in Las Vegas, Nevada.
   19             553. Plaintiffs are informed and believe and thereon allege that Defendant
   20 Brittany Negrette is a resident of the State of California. Defendant has, through
   21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   22 October 1, 2017, shooting incident in Las Vegas, Nevada.
   23             554. Plaintiffs are informed and believe and thereon allege that Defendant
   24 Joanne Nelson is a resident of the State of California. Defendant has, through
   25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   26 October 1, 2017, shooting incident in Las Vegas, Nevada.
   27             555. Plaintiffs are informed and believe, and thereon allege, that defendant
   28 Robert Troy Nelson is a resident of the State of California. Defendant has previously
         39245596.3
                                                   -105-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 117 of 181 Page ID #:117




     1 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     2 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     3 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     4 Los Angeles Superior Court (“LASC”), case number BC684047.
     5            556. Plaintiffs are informed and believe and thereon allege that Defendant
     6 Marisa Newman is a resident of the State of California, County of Los Angeles.
     7 Defendant has, through counsel, asserted or threatened to assert claims against
     8 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
     9            557. Plaintiffs are informed and believe and thereon allege that Defendant
   10 Frank Nicassio is a resident of the State of California, County of Los Angeles.
   11 Defendant has, through counsel, asserted or threatened to assert claims against
   12 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   13             558. Plaintiffs are informed and believe, and thereon allege, that defendant
   14 Gregory Nix is a resident of the State of California. Defendant has previously filed a
   15 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   16 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   17 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   18 Los Angeles Superior Court (“LASC”), case number BC684047.
   19             559. Plaintiffs are informed and believe and thereon allege that Defendant
   20 Cherie Noll is a resident of the State of California. Defendant has, through counsel,
   21 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   22 2017, shooting incident in Las Vegas, Nevada.
   23             560. Plaintiffs are informed and believe and thereon allege that Defendant
   24 Jeanette Nugent is a resident of the State of California. Defendant has, through
   25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   26 October 1, 2017, shooting incident in Las Vegas, Nevada.
   27             561. Plaintiffs are informed and believe and thereon allege that Defendant
   28 Ana Nunez is a resident of the State of California. Defendant has, through counsel,
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                                                   -106-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 118 of 181 Page ID #:118




     1 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
     2 2017, shooting incident in Las Vegas, Nevada.
     3            562. Plaintiffs are informed and believe and thereon allege that Defendant
     4 Luis Nunez is a resident of the State of California. Defendant has, through counsel,
     5 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
     6 2017, shooting incident in Las Vegas, Nevada.
     7            563. Plaintiffs are informed and believe, and thereon allege, that defendant
     8 Elizabeth Okoro is a resident of the State of California. Defendant has previously
     9 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   10 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   11 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   12 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   13 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   14 of the County of Los Angeles, State of California.
   15             564. Plaintiffs are informed and believe and thereon allege that Defendant
   16 Lindsay Okray is a resident of the State of California. Defendant has, through
   17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   18 October 1, 2017, shooting incident in Las Vegas, Nevada.
   19             565. Plaintiffs are informed and believe, and thereon allege, that defendant
   20 Brian O'Leary is a resident of the State of California. Defendant has previously filed
   21 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   22 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   23 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   24 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
   25 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
   26 of the County of Los Angeles, State of California.
   27             566. Plaintiffs are informed and believe, and thereon allege, that defendant
   28 Carrie O'Leary is a resident of the State of California. Defendant has previously
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                                                   -107-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 119 of 181 Page ID #:119




     1 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     2 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     3 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
     4 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
     5 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
     6 of the County of Los Angeles, State of California.
     7            567. Plaintiffs are informed and believe, and thereon allege, that defendant
     8 Virginia Olen is a resident of the State of California. Defendant has previously filed
     9 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   10 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   11 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   12 Los Angeles Superior Court (“LASC”), case number BC684047.
   13             568. Plaintiffs are informed and believe and thereon allege that Defendant
   14 Renee Oliver is a resident of the State of California. Defendant has, through counsel,
   15 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   16 2017, shooting incident in Las Vegas, Nevada.
   17             569. Plaintiffs are informed and believe and thereon allege that Defendant
   18 Leona Olson is a resident of the State of California. Defendant has, through
   19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   20 October 1, 2017, shooting incident in Las Vegas, Nevada.
   21             570. Plaintiffs are informed and believe, and thereon allege, that defendant
   22 Cynthia Olvera is a resident of the State of California. Defendant has previously
   23 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   24 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   25 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   26 Los Angeles Superior Court (“LASC”), case number BC684047.
   27             571. Plaintiffs are informed and believe and thereon allege that Defendant
   28 Ariel Ontman is a resident of the State of California, County of Los Angeles.
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                                                   -108-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 120 of 181 Page ID #:120




     1 Defendant has, through counsel, asserted or threatened to assert claims against
     2 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
     3            572. Plaintiffs are informed and believe, and thereon allege, that defendant
     4 Claudia Oropeza is a resident of the State of California. Defendant has previously
     5 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     6 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     7 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
     8 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
     9 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   10 of the County of Los Angeles, State of California.
   11             573. Plaintiffs are informed and believe and thereon allege that Defendant
   12 Michelle Orozco is a resident of the State of California, County of Los Angeles.
   13 Defendant has, through counsel, asserted or threatened to assert claims against
   14 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   15             574. Plaintiffs are informed and believe, and thereon allege, that defendant
   16 Theresa Ortiz is a resident of the State of California. Defendant has previously filed
   17 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   18 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   19 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   20 Los Angeles Superior Court (“LASC”), case number BC684047.
   21             575. Plaintiffs are informed and believe, and thereon allege, that defendant
   22 Tawanya Otto is a resident of the State of California. Defendant has previously filed
   23 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   24 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   25 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   26 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   27 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   28 of the County of Los Angeles, State of California.
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                                                   -109-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 121 of 181 Page ID #:121




     1            576. Plaintiffs are informed and believe, and thereon allege, that defendant
     2 Destiny Pacheco is a resident of the State of California. Defendant has previously
     3 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     4 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     5 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     6 Los Angeles Superior Court (“LASC”), case number BC684047.
     7            577. Plaintiffs are informed and believe and thereon allege that Defendant
     8 Elijah Pacheco is a resident of the State of California. Defendant has, through
     9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   10 October 1, 2017, shooting incident in Las Vegas, Nevada.
   11             578. Plaintiffs are informed and believe, and thereon allege, that defendant
   12 Leslie Lynn Paiz is a resident of the State of California. Defendant has previously
   13 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   14 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   15 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   16 Los Angeles Superior Court (“LASC”), case number BC684047.
   17             579. Plaintiffs are informed and believe and thereon allege that Defendant
   18 Rocky Palermo is a resident of the State of California. Defendant has, through
   19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   20 October 1, 2017, shooting incident in Las Vegas, Nevada.
   21             580. Plaintiffs are informed and believe and thereon allege that Defendant
   22 Melanie Palmer is a resident of the State of California. Defendant has, through
   23 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   24 October 1, 2017, shooting incident in Las Vegas, Nevada.
   25             581. Plaintiffs are informed and believe and thereon allege that Defendant
   26 Sally Palmer is a resident of the State of California. Defendant has, through counsel,
   27 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   28 2017, shooting incident in Las Vegas, Nevada.
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                                                   -110-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 122 of 181 Page ID #:122




     1            582. Plaintiffs are informed and believe and thereon allege that Defendant
     2 Haley Panno is a resident of the State of California. Defendant has, through
     3 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     4 October 1, 2017, shooting incident in Las Vegas, Nevada.
     5            583. Plaintiffs are informed and believe and thereon allege that Defendant
     6 Kylie Panno is a resident of the State of California. Defendant has, through counsel,
     7 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
     8 2017, shooting incident in Las Vegas, Nevada.
     9            584. Plaintiffs are informed and believe, and thereon allege that on October
   10 1, 2017, decedent Rachael Parker, was a resident of the State of California.
   11 Plaintiffs are informed and believe and thereon allege that Defendants, the Estate of
   12 Rachael Parker, Collin Parker (surviving father, heir and successor-in-interest), and
   13 Robin Monter (surviving mother, heir and successor-in-interest) have, through
   14 counsel, made claims against Plaintiffs based upon the October 1, 2017, shooting
   15 incident in Las Vegas, Nevada, or, alternatively, have indicated an intent to make
   16 such claims in the future (such as by way of the filing of a separate lawsuit – now
   17 dismissed, by way of a letter of representation of counsel, or by way of an evidence
   18 preservation letter from counsel).
   19             585. Plaintiffs are informed and believe and thereon allege that Defendant
   20 Reighlynn Parsley is a resident of the State of California. Defendant has, through
   21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   22 October 1, 2017, shooting incident in Las Vegas, Nevada.
   23             586. Plaintiffs are informed and believe and thereon allege that Defendant
   24 Jason Parsons is a resident of the State of California. Defendant has, through
   25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   26 October 1, 2017, shooting incident in Las Vegas, Nevada.
   27             587. Plaintiffs are informed and believe and thereon allege that Defendant
   28 Davon Patterson is a resident of the State of California. Defendant has, through
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                                                   -111-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 123 of 181 Page ID #:123




     1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     2 October 1, 2017, shooting incident in Las Vegas, Nevada.
     3            588. Plaintiffs are informed and believe and thereon allege that Defendant
     4 Michael Patterson II is a resident of the State of California. Defendant has, through
     5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     6 October 1, 2017, shooting incident in Las Vegas, Nevada.
     7            589. Plaintiffs are informed and believe and thereon allege that Defendant
     8 Janice Pennington is a resident of the State of California. Defendant has, through
     9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   10 October 1, 2017, shooting incident in Las Vegas, Nevada.
   11             590. Plaintiffs are informed and believe and thereon allege that Defendant
   12 Kimberlee Peoples is a resident of the State of California, County of Los Angeles.
   13 Defendant has, through counsel, asserted or threatened to assert claims against
   14 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   15             591. Plaintiffs are informed and believe and thereon allege that Defendant
   16 Elizabeth Perez is a resident of the State of California. Defendant has, through
   17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   18 October 1, 2017, shooting incident in Las Vegas, Nevada.
   19             592. Plaintiffs are informed and believe and thereon allege that Defendant
   20 Paul Perez is a resident of the State of California. Defendant has, through counsel,
   21 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   22 2017, shooting incident in Las Vegas, Nevada.
   23             593. Plaintiffs are informed and believe and thereon allege that Defendant
   24 Eric Perkins is a resident of the State of California. Defendant has, through counsel,
   25 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   26 2017, shooting incident in Las Vegas, Nevada.
   27             594. Plaintiffs are informed and believe, and thereon allege, that defendant
   28 Denine Peters is a resident of the State of California. Defendant has previously filed
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                                                   -112-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 124 of 181 Page ID #:124




     1 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
     2 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
     3 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     4 Los Angeles Superior Court (“LASC”), case number BC684047.
     5            595. Plaintiffs are informed and believe, and thereon allege, that defendant
     6 Danyale Petterson is a resident of the State of California. Defendant has previously
     7 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     8 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     9 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   10 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
   11 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
   12 of the County of Los Angeles, State of California.
   13             596. Plaintiffs are informed and believe, and thereon allege that on October
   14 1, 2017, decedent John Phippen, was a resident of the State of California. Plaintiffs
   15 are informed and believe and thereon allege that Defendants, the Estate of John
   16 Phippen, Amanda Davis (surviving daughter, heir and successor-in interest to
   17 decedent), Travis Phippen (surviving son, heir and successor-in interest to
   18 decedent), Nathan Phippen (surviving son, heir and successor-in interest to
   19 decedent), A.P. (minor and successor in interest to decedent) are residents of the
   20 State of California. Defendants have, through counsel, made claims against
   21 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada,
   22 or, alternatively, have indicated an intent to make such claims in the future (such as
   23 by way of the filing of a separate lawsuit – now dismissed, by way of a letter of
   24 representation of counsel, or by way of an evidence preservation letter from
   25 counsel). The residency of these Defendants in the County of Los Angeles, State of
   26 California was represented to a court in a Complaint in dismissed action Mayfield, et
   27 al. v. MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”),
   28 case number BC687120.
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                                                   -113-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 125 of 181 Page ID #:125




     1            597. Plaintiffs are informed and believe, and thereon allege, that defendant
     2 Brian Pickens is a resident of the State of California. Defendant has previously filed
     3 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
     4 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
     5 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
     6 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
     7 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
     8 of the County of Los Angeles, State of California.
     9            598. Plaintiffs are informed and believe and thereon allege that Defendant
   10 Bersabe Pineda is a resident of the State of California. Defendant has, through
   11 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   12 October 1, 2017, shooting incident in Las Vegas, Nevada.
   13             599. Plaintiffs are informed and believe, and thereon allege, that defendant
   14 Jack Pinkston is a resident of the State of California. Defendant has previously filed
   15 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   16 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   17 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   18 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
   19 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
   20 of the County of Los Angeles, State of California.
   21             600. Plaintiffs are informed and believe and thereon allege that Defendant
   22 Leonel M. Plata Jr. is a resident of the State of California. Defendant has, through
   23 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   24 October 1, 2017, shooting incident in Las Vegas, Nevada.
   25             601. Plaintiffs are informed and believe, and thereon allege, that defendant
   26 Karlee Poe is a resident of the State of California. Defendant has previously filed a
   27 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   28 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
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                                                   -114-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 126 of 181 Page ID #:126




     1 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
     2 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
     3 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
     4 of the County of Ventura, State of California.
     5            602. Plaintiffs are informed and believe, and thereon allege, that defendant
     6 Mylika Pope is a resident of the State of California. Defendant has previously filed a
     7 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
     8 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
     9 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   10 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
   11 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
   12 of the County of Los Angeles, State of California.
   13             603. Plaintiffs are informed and believe and thereon allege that Defendant
   14 Brent Poppen is a resident of the State of California. Defendant has, through
   15 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   16 October 1, 2017, shooting incident in Las Vegas, Nevada.
   17             604. Plaintiffs are informed and believe and thereon allege that Defendant
   18 Keith Powers is a resident of the State of California. Defendant has, through
   19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   20 October 1, 2017, shooting incident in Las Vegas, Nevada.
   21             605. Plaintiffs are informed and believe, and thereon allege, that defendant
   22 Jessica Presten is a resident of the State of California. Defendant has previously
   23 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   24 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   25 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   26 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
   27 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
   28 of the County of Los Angeles, State of California.
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                                                   -115-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 127 of 181 Page ID #:127




     1            606. Plaintiffs are informed and believe, and thereon allege, that defendant
     2 Shawn Price is a resident of the State of California. Defendant has previously filed a
     3 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
     4 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
     5 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
     6 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
     7 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
     8 of the County of Los Angeles, State of California.
     9            607. Plaintiffs are informed and believe, and thereon allege, that defendant
   10 Denise Provencio is a resident of the State of California. Defendant has previously
   11 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   12 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   13 in Las Vegas, Nevada, in Provencio v. MGM, filed November 15, 2017, in Clark
   14 County District Court (“Clark County”), case number A-17-764708.
   15             608. Plaintiffs are informed and believe and thereon allege that Defendant
   16 Kendall Quiroz is a resident of the State of California. Defendant has, through
   17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   18 October 1, 2017, shooting incident in Las Vegas, Nevada.
   19             609. Plaintiffs are informed and believe, and thereon allege, that defendant
   20 Magee R.Segal is a resident of the State of California. Defendant has previously
   21 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   22 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   23 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   24 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   25 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   26 of the County of Los Angeles, State of California.
   27             610. Plaintiffs are informed and believe, and thereon allege, that defendant
   28 Dominic Rabanal is a resident of the State of California. Defendant has previously
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                                                   -116-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 128 of 181 Page ID #:128




     1 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     2 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     3 in Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the
     4 Los Angeles Superior Court (“LASC”), case number BC687120.
     5            611. Plaintiffs are informed and believe and thereon allege that Defendant
     6 Diego Armando Ramirez is a resident of the State of California, County of Ventura.
     7 Defendant has, through counsel, asserted or threatened to assert claims against
     8 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
     9            612. Plaintiffs are informed and believe and thereon allege that Defendant
   10 Frances Ramirez is a resident of the State of California. Defendant has, through
   11 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   12 October 1, 2017, shooting incident in Las Vegas, Nevada.
   13             613. Plaintiffs are informed and believe, and thereon allege, that defendant
   14 Krystal Ramirez is a resident of the State of California. Defendant has previously
   15 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   16 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   17 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   18 Los Angeles Superior Court (“LASC”), case number BC684047.
   19             614. Plaintiffs are informed and believe and thereon allege that Defendant
   20 Renee Ramirez is a resident of the State of California. Defendant has, through
   21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   22 October 1, 2017, shooting incident in Las Vegas, Nevada.
   23             615. Plaintiffs are informed and believe and thereon allege that Defendant
   24 Sara Ramirez is a resident of the State of California. Defendant has, through
   25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   26 October 1, 2017, shooting incident in Las Vegas, Nevada.
   27             616. Plaintiffs are informed and believe and thereon allege that Defendant
   28 Erica Ramos is a resident of the State of California. Defendant has, through
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                                                   -117-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 129 of 181 Page ID #:129




     1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     2 October 1, 2017, shooting incident in Las Vegas, Nevada.
     3            617. Plaintiffs are informed and believe and thereon allege that Defendant
     4 Carissa Rash is a resident of the State of California. Defendant has, through counsel,
     5 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
     6 2017, shooting incident in Las Vegas, Nevada.
     7            618. Plaintiffs are informed and believe and thereon allege that Defendant
     8 Cody Rash is a resident of the State of California. Defendant has, through counsel,
     9 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   10 2017, shooting incident in Las Vegas, Nevada.
   11             619. Plaintiffs are informed and believe, and thereon allege, that defendant
   12 David Rasmusson is a resident of the State of California. Defendant has previously
   13 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   14 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   15 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   16 Los Angeles Superior Court (“LASC”), case number BC684047.
   17             620. Plaintiffs are informed and believe, and thereon allege, that defendant
   18 Michelle Rasmusson is a resident of the State of California. Defendant has
   19 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
   20 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
   21 shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
   22 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
   23 BC684047.
   24             621. Plaintiffs are informed and believe, and thereon allege, that defendant
   25 Jacob Ratliff is a resident of the State of California. Defendant has previously filed a
   26 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   27 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   28 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
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                                                   -118-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 130 of 181 Page ID #:130




     1 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
     2 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
     3 of the County of Los Angeles, State of California.
     4            622. Plaintiffs are informed and believe and thereon allege that Defendant
     5 Jacob Ratliff is a resident of the State of California, County of Los Angeles.
     6 Defendant has, through counsel, asserted or threatened to assert claims against
     7 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
     8            623. Plaintiffs are informed and believe and thereon allege that Defendant
     9 Glenda Rebollar is a resident of the State of California, County of Los Angeles.
   10 Defendant has, through counsel, asserted or threatened to assert claims against
   11 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   12             624. Plaintiffs are informed and believe, and thereon allege, that defendant
   13 Matthew C. Reed is a resident of the State of California. Defendant has previously
   14 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   15 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   16 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   17 Los Angeles Superior Court (“LASC”), case number BC684047.
   18             625. Plaintiffs are informed and believe and thereon allege that Defendant
   19 Tricia Sean Reed is a resident of the State of California. Defendant has, through
   20 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   21 October 1, 2017, shooting incident in Las Vegas, Nevada.
   22             626. Plaintiffs are informed and believe and thereon allege that Defendant
   23 Lynne Reick is a resident of the State of California. Defendant has, through counsel,
   24 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   25 2017, shooting incident in Las Vegas, Nevada.
   26             627. Plaintiffs are informed and believe and thereon allege that Defendant
   27 Brody Renaud is a resident of the State of California. Defendant has, through
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         39245596.3
                                                   -119-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 131 of 181 Page ID #:131




     1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     2 October 1, 2017, shooting incident in Las Vegas, Nevada.
     3            628. Plaintiffs are informed and believe and thereon allege that Defendant
     4 Amber Rench is a resident of the State of California. Defendant has, through
     5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     6 October 1, 2017, shooting incident in Las Vegas, Nevada.
     7            629. Plaintiffs are informed and believe and thereon allege that Defendant
     8 Jasara Requejo is a resident of the State of California. Defendant has, through
     9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   10 October 1, 2017, shooting incident in Las Vegas, Nevada.
   11             630. Plaintiffs are informed and believe, and thereon allege, that defendant
   12 Francisco Resendiz is a resident of the State of California. Defendant has previously
   13 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   14 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   15 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   16 Los Angeles Superior Court (“LASC”), case number BC684047.
   17             631. Plaintiffs are informed and believe and thereon allege that Defendant
   18 Brenda Resnick is a resident of the State of California. Defendant has, through
   19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   20 October 1, 2017, shooting incident in Las Vegas, Nevada.
   21             632. Plaintiffs are informed and believe and thereon allege that Defendant
   22 Kristina Reyes is a resident of the State of California, County of Ventura.
   23 Defendant has, through counsel, asserted or threatened to assert claims against
   24 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   25             633. Plaintiffs are informed and believe and thereon allege that Defendant
   26 Ralph Reyes is a resident of the State of California. Defendant has, through counsel,
   27 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   28 2017, shooting incident in Las Vegas, Nevada.
         39245596.3
                                                   -120-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 132 of 181 Page ID #:132




     1            634. Plaintiffs are informed and believe, and thereon allege, that defendant
     2 Tara Reyes is a resident of the State of California. Defendant has previously filed a
     3 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
     4 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
     5 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
     6 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
     7 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
     8 of the County of Los Angeles, State of California.
     9            635. Plaintiffs are informed and believe and thereon allege that Defendant
   10 Marion Reynolds is a resident of the State of California. Defendant has, through
   11 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   12 October 1, 2017, shooting incident in Las Vegas, Nevada.
   13             636. Plaintiffs are informed and believe and thereon allege that Defendant
   14 William Reynolds is a resident of the State of California. Defendant has, through
   15 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   16 October 1, 2017, shooting incident in Las Vegas, Nevada.
   17             637. Plaintiffs are informed and believe, and thereon allege, that defendant
   18 Steven Ribovich is a resident of the State of California. Defendant has previously
   19 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   20 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   21 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   22 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   23 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   24 of the County of Ventura, State of California.
   25             638. Plaintiffs are informed and believe, and thereon allege, that defendant
   26 Marie Rice is a resident of the State of California. Defendant has previously filed a
   27 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   28 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
         39245596.3
                                                   -121-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 133 of 181 Page ID #:133




     1 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     2 Los Angeles Superior Court (“LASC”), case number BC684047.
     3            639. Plaintiffs are informed and believe and thereon allege that Defendant
     4 Gina Richard is a resident of the State of California. Defendant has, through
     5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     6 October 1, 2017, shooting incident in Las Vegas, Nevada.
     7            640. Plaintiffs are informed and believe and thereon allege that Defendant
     8 Mindy Ritter is a resident of the State of California. Defendant has, through counsel,
     9 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   10 2017, shooting incident in Las Vegas, Nevada.
   11             641. Plaintiffs are informed and believe and thereon allege that Defendant
   12 Heather Rivera is a resident of the State of California. Defendant has, through
   13 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   14 October 1, 2017, shooting incident in Las Vegas, Nevada.
   15             642. Plaintiffs are informed and believe and thereon allege that Defendant
   16 Raymond A. Rivera is a resident of the State of California. Defendant has, through
   17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   18 October 1, 2017, shooting incident in Las Vegas, Nevada.
   19             643. Plaintiffs are informed and believe and thereon allege that Defendant
   20 Jade Rixey is a resident of the State of California. Defendant has, through counsel,
   21 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   22 2017, shooting incident in Las Vegas, Nevada.
   23             644. Plaintiffs are informed and believe and thereon allege that Defendant
   24 Kurt Roberts is a resident of the State of California. Defendant has, through counsel,
   25 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   26 2017, shooting incident in Las Vegas, Nevada.
   27             645. Plaintiffs are informed and believe and thereon allege that Defendant
   28 Michael Robertson is a resident of the State of California, County of Los Angeles.
         39245596.3
                                                   -122-
                                    COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 134 of 181 Page ID #:134




     1 Defendant has, through counsel, asserted or threatened to assert claims against
     2 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
     3            646. Plaintiffs are informed and believe and thereon allege that Defendant
     4 Timothy Robinson is a resident of the State of California. Defendant has, through
     5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     6 October 1, 2017, shooting incident in Las Vegas, Nevada.
     7            647. Plaintiffs are informed and believe and thereon allege that Defendant
     8 Bernadette Rocha is a resident of the State of California. Defendant has, through
     9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   10 October 1, 2017, shooting incident in Las Vegas, Nevada.
   11             648. Plaintiffs are informed and believe, and thereon allege, that defendant
   12 Jennifer Rockwell is a resident of the State of California. Defendant has previously
   13 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   14 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   15 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   16 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   17 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   18 of the County of Los Angeles, State of California.
   19             649. Plaintiffs are informed and believe and thereon allege that Defendant
   20 Saul Rodriguez is a resident of the State of California, County of Los Angeles.
   21 Defendant has, through counsel, asserted or threatened to assert claims against
   22 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   23             650. Plaintiffs are informed and believe, and thereon allege, that defendant
   24 Michael Rogozik is a resident of the State of California. Defendant has previously
   25 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   26 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   27 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   28 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
         39245596.3
                                                   -123-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 135 of 181 Page ID #:135




     1 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
     2 of the County of Los Angeles, State of California.
     3            651. Plaintiffs are informed and believe, and thereon allege, that defendant
     4 Monica Rogozik is a resident of the State of California. Defendant has previously
     5 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     6 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     7 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
     8 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
     9 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
   10 of the County of Los Angeles, State of California.
   11             652. Plaintiffs are informed and believe and thereon allege that Defendant
   12 Marcelina Rojas is a resident of the State of California. Defendant has, through
   13 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   14 October 1, 2017, shooting incident in Las Vegas, Nevada.
   15             653. Plaintiffs are informed and believe and thereon allege that Defendant
   16 Claudia Romero is a resident of the State of California. Defendant has, through
   17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   18 October 1, 2017, shooting incident in Las Vegas, Nevada.
   19             654. Plaintiffs are informed and believe and thereon allege that Defendant
   20 Harry Romero is a resident of the State of California. Defendant has, through
   21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   22 October 1, 2017, shooting incident in Las Vegas, Nevada.
   23             655. Plaintiffs are informed and believe, and thereon allege, that defendant
   24 Susan Rose is a resident of the State of California. Defendant has previously filed a
   25 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   26 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   27 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   28 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
         39245596.3
                                                   -124-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 136 of 181 Page ID #:136




     1 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
     2 of the County of Los Angeles, State of California.
     3            656. Plaintiffs are informed and believe and thereon allege that Defendant
     4 Anna Ross is a resident of the State of California. Defendant has, through counsel,
     5 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
     6 2017, shooting incident in Las Vegas, Nevada.
     7            657. Plaintiffs are informed and believe, and thereon allege that on October
     8 1, 2017, decedent Christopher Roybal, was a resident of the State of California.
     9 Plaintiffs are informed and believe and thereon allege that Defendants, the Estate of
   10 Christopher Roybal, and Dixie Roybal (surviving spouse, heir and success-in-
   11 interest to decedent) have, through counsel, made claims against Plaintiffs based
   12 upon the October 1, 2017, shooting incident in Las Vegas, Nevada, or, alternatively,
   13 have indicated an intent to make such claims in the future (such as by way of the
   14 filing of a separate lawsuit – now dismissed, by way of a letter of representation of
   15 counsel, or by way of an evidence preservation letter from counsel). The Defendants
   16 are residents of the County of Riverside, State of California, and the residency of
   17 these Defendants was identified to a court in a Complaint in the dismissed action
   18 Roybal v. MGM, filed November 20, 2017, in the Los Angeles Superior Court
   19 (“LASC”), case number BC684046.
   20             658. Plaintiffs are informed and believe, and thereon allege, that defendant
   21 Chantel Rubio is a resident of the State of California. Defendant has previously filed
   22 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   23 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   24 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   25 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   26 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   27 of the County of Los Angeles, State of California.
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         39245596.3
                                                   -125-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 137 of 181 Page ID #:137




     1            659. Plaintiffs are informed and believe, and thereon allege, that defendant
     2 Lisa Rudberg is a resident of the State of California. Defendant has previously filed
     3 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
     4 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
     5 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     6 Los Angeles Superior Court (“LASC”), case number BC684047.
     7            660. Plaintiffs are informed and believe, and thereon allege, that defendant
     8 Lucia Rudela is a resident of the State of California. Defendant has previously filed
     9 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   10 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   11 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   12 Los Angeles Superior Court (“LASC”), case number BC684047.
   13             661. Plaintiffs are informed and believe, and thereon allege, that defendant
   14 Laura Ruiz is a resident of the State of California. Defendant has previously filed a
   15 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   16 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   17 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   18 Los Angeles Superior Court (“LASC”), case number BC684047.
   19             662. Plaintiffs are informed and believe and thereon allege that Defendant
   20 Amanda Rumble is a resident of the State of California. Defendant has, through
   21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   22 October 1, 2017, shooting incident in Las Vegas, Nevada.
   23             663. Plaintiffs are informed and believe, and thereon allege, that defendant
   24 Joanne Rusconi is a resident of the State of California. Defendant has previously
   25 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   26 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   27 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   28 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
         39245596.3
                                                   -126-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 138 of 181 Page ID #:138




     1 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
     2 of the County of Los Angeles, State of California.
     3            664. Plaintiffs are informed and believe, and thereon allege, that defendant
     4 Michael Coty Rye is a resident of the State of California. Defendant has previously
     5 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     6 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     7 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     8 Los Angeles Superior Court (“LASC”), case number BC684047.
     9            665. Plaintiffs are informed and believe and thereon allege that Defendant
   10 Eric Rymer is a resident of the State of California. Defendant has, through counsel,
   11 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   12 2017, shooting incident in Las Vegas, Nevada.
   13             666. Plaintiffs are informed and believe and thereon allege that Defendant
   14 Roni Rymer is a resident of the State of California. Defendant has, through counsel,
   15 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   16 2017, shooting incident in Las Vegas, Nevada.
   17             667. Plaintiffs are informed and believe, and thereon allege, that defendant
   18 H.S., a minor, is a resident of the State of California. Defendant has previously filed
   19 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   20 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   21 Las Vegas, Nevada, in Staples, et al. v. MGM, filed November 20, 2017, in Los
   22 Angeles Superior Court (“LASC”), case number BC684142.
   23             668. Plaintiffs are informed and believe, and thereon allege, that defendant
   24 Allison Saelee is a resident of the State of California. Defendant has previously filed
   25 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   26 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   27 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   28 Los Angeles Superior Court (“LASC”), case number BC684047.
         39245596.3
                                                   -127-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 139 of 181 Page ID #:139




     1            669. Plaintiffs are informed and believe and thereon allege that Defendant
     2 Justine Salas is a resident of the State of California. Defendant has, through
     3 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     4 October 1, 2017, shooting incident in Las Vegas, Nevada.
     5            670. Plaintiffs are informed and believe and thereon allege that Defendant
     6 Victoria Salas is a resident of the State of California. Defendant has, through
     7 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     8 October 1, 2017, shooting incident in Las Vegas, Nevada.
     9            671. Plaintiffs are informed and believe, and thereon allege, that defendant
   10 Crystal Salazar is a resident of the State of California. Defendant has previously
   11 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   12 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   13 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   14 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
   15 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
   16 of the County of Ventura, State of California.
   17             672. Plaintiffs are informed and believe, and thereon allege, that defendant
   18 Renee Salazar is a resident of the State of California. Defendant has previously filed
   19 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   20 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   21 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   22 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
   23 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
   24 of the County of Los Angeles, State of California.
   25             673. Plaintiffs are informed and believe, and thereon allege, that defendant
   26 Selso Salazar is a resident of the State of California. Defendant has previously filed
   27 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   28 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
         39245596.3
                                                   -128-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 140 of 181 Page ID #:140




     1 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
     2 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
     3 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
     4 of the County of Los Angeles, State of California.
     5            674. Plaintiffs are informed and believe and thereon allege that Defendant
     6 Amanda Salmon is a resident of the State of California, County of Los Angeles.
     7 Defendant has, through counsel, asserted or threatened to assert claims against
     8 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
     9            675. Plaintiffs are informed and believe, and thereon allege, that defendant
   10 Amanda Sambrano is a resident of the State of California. Defendant has previously
   11 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   12 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   13 in Las Vegas, Nevada, in Spencer, et al. v. Paddock, filed October 17, 2017, in Los
   14 Angeles Superior Court (“LASC”), case number BC680065.
   15             676. Plaintiffs are informed and believe, and thereon allege, that defendant
   16 Janae Sambrano is a resident of the State of California. Defendant has previously
   17 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   18 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   19 in Las Vegas, Nevada, in Spencer, et al. v. Paddock, filed October 17, 2017, in Los
   20 Angeles Superior Court (“LASC”), case number BC680065.
   21             677. Plaintiffs are informed and believe, and thereon allege, that defendant
   22 Jeffery Sambrano is a resident of the State of California. Defendant has previously
   23 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   24 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   25 in Las Vegas, Nevada, in Spencer, et al. v. Paddock, filed October 17, 2017, in Los
   26 Angeles Superior Court (“LASC”), case number BC680065.
   27             678. Plaintiffs are informed and believe, and thereon allege, that defendant
   28 Stephen Sambrano is a resident of the State of California. Defendant has previously
         39245596.3
                                                   -129-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 141 of 181 Page ID #:141




     1 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     2 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     3 in Las Vegas, Nevada, in Spencer, et al. v. Paddock, filed October 17, 2017, in Los
     4 Angeles Superior Court (“LASC”), case number BC680065.
     5            679. Plaintiffs are informed and believe, and thereon allege, that defendant
     6 Ethan Sanchez is a resident of the State of California. Defendant has previously filed
     7 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
     8 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
     9 Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the Los
   10 Angeles Superior Court (“LASC”), case number BC687120.
   11             680. Plaintiffs are informed and believe, and thereon allege, that defendant
   12 George Sanchez is a resident of the State of California. Defendant has previously
   13 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   14 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   15 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   16 Los Angeles Superior Court (“LASC”), case number BC684047.
   17             681. Plaintiffs are informed and believe and thereon allege that Defendant
   18 Marie Sanchez is a resident of the State of California. Defendant has, through
   19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   20 October 1, 2017, shooting incident in Las Vegas, Nevada.
   21             682. Plaintiffs are informed and believe and thereon allege that Defendant
   22 Savannah Sanchez is a resident of the State of California, County of Ventura.
   23 Defendant has, through counsel, asserted or threatened to assert claims against
   24 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   25             683. Plaintiffs are informed and believe, and thereon allege, that defendant
   26 Trevor Sanders is a resident of the State of California. Defendant has previously
   27 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   28 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
         39245596.3
                                                   -130-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 142 of 181 Page ID #:142




     1 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     2 Los Angeles Superior Court (“LASC”), case number BC684047.
     3            684. Plaintiffs are informed and believe and thereon allege that Defendant
     4 Ernestine Sandoval is a resident of the State of California. Defendant has, through
     5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     6 October 1, 2017, shooting incident in Las Vegas, Nevada.
     7            685. Plaintiffs are informed and believe, and thereon allege, that defendant
     8 Calia Sanford is a resident of the State of California. Defendant has previously filed
     9 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   10 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   11 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   12 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
   13 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
   14 of the County of Los Angeles, State of California.
   15             686. Plaintiffs are informed and believe, and thereon allege, that defendant
   16 Ina Sarkissian is a resident of the State of California. Defendant has previously filed
   17 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   18 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   19 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   20 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   21 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   22 of the County of Los Angeles, State of California.
   23             687. Plaintiffs are informed and believe, and thereon allege, that defendant
   24 Nela Sarkissian is a resident of the State of California. Defendant has previously
   25 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   26 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   27 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   28 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
         39245596.3
                                                   -131-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 143 of 181 Page ID #:143




     1 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
     2 of the County of Los Angeles, State of California.
     3            688. Plaintiffs are informed and believe, and thereon allege, that defendant
     4 Casey Scandlyn is a resident of the State of California. Defendant has previously
     5 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     6 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     7 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
     8 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
     9 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
   10 of the County of Los Angeles, State of California.
   11             689. Plaintiffs are informed and believe, and thereon allege, that defendant
   12 Ilene Scandlyn is a resident of the State of California. Defendant has previously
   13 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   14 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   15 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   16 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
   17 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
   18 of the County of Los Angeles, State of California.
   19             690. Plaintiffs are informed and believe, and thereon allege, that defendant
   20 David Scantlin is a resident of the State of California. Defendant has previously
   21 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   22 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   23 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   24 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   25 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   26 of the County of Los Angeles, State of California.
   27             691. Plaintiffs are informed and believe, and thereon allege, that defendant
   28 Michelle Scantlin is a resident of the State of California. Defendant has previously
         39245596.3
                                                   -132-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 144 of 181 Page ID #:144




     1 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     2 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     3 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
     4 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
     5 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
     6 of the County of Los Angeles, State of California.
     7            692. Plaintiffs are informed and believe, and thereon allege, that defendant
     8 Ryan L. Scantlin is a resident of the State of California. Defendant has previously
     9 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   10 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   11 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   12 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   13 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   14 of the County of Los Angeles, State of California.
   15             693. Plaintiffs are informed and believe and thereon allege that Defendant
   16 David Scharmack is a resident of the State of California. Defendant has, through
   17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   18 October 1, 2017, shooting incident in Las Vegas, Nevada.
   19             694. Plaintiffs are informed and believe and thereon allege that Defendant
   20 Irene Scharmack is a resident of the State of California. Defendant has, through
   21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   22 October 1, 2017, shooting incident in Las Vegas, Nevada.
   23             695. Plaintiffs are informed and believe, and thereon allege, that defendant
   24 Rebekah Scheussler is a resident of the State of California. Defendant has
   25 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
   26 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
   27 shooting incident in Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December
   28 15, 2017, in the Los Angeles Superior Court (“LASC”), case number BC687120.
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                                                   -133-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 145 of 181 Page ID #:145




     1            696. Plaintiffs are informed and believe and thereon allege that Defendant
     2 Alice Schmidt is a resident of the State of California. Defendant has, through
     3 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     4 October 1, 2017, shooting incident in Las Vegas, Nevada.
     5            697. Plaintiffs are informed and believe, and thereon allege, that defendant
     6 Lisa Schneider is a resident of the State of California. Defendant has previously
     7 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     8 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     9 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   10 Los Angeles Superior Court (“LASC”), case number BC684047.
   11             698. Plaintiffs are informed and believe, and thereon allege, that defendant
   12 Mark Schneider is a resident of the State of California. Defendant has previously
   13 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   14 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   15 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   16 Los Angeles Superior Court (“LASC”), case number BC684047.
   17             699. Plaintiffs are informed and believe, and thereon allege, that defendant
   18 Michelle Schoneman is a resident of the State of California. Defendant has
   19 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
   20 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
   21 shooting incident in Las Vegas, Nevada. Based on the allegations in that lawsuit,
   22 Abraham, et al. v. MGM, filed November 20, 2017, in the Los Angeles Superior
   23 Court (“LASC”), case number BC684047, Plaintiffs are informed and believe that
   24 Defendant is a resident of the County of Ventura, State of California.
   25             700. Plaintiffs are informed and believe, and thereon allege, that defendant
   26 Robert Schrode is a resident of the State of California. Defendant has previously
   27 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   28 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
         39245596.3
                                                   -134-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 146 of 181 Page ID #:146




     1 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
     2 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
     3 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
     4 of the County of Los Angeles, State of California.
     5            701. Plaintiffs are informed and believe and thereon allege that Defendant
     6 Jonathan Schussler is a resident of the State of California. Defendant has, through
     7 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     8 October 1, 2017, shooting incident in Las Vegas, Nevada.
     9            702. Plaintiffs are informed and believe, and thereon allege, that defendant
   10 Michael Scott is a resident of the State of California. Defendant has previously filed
   11 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   12 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   13 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   14 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   15 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   16 of the County of Los Angeles, State of California.
   17             703. Plaintiffs are informed and believe and thereon allege that Defendant
   18 Janet Seeger is a resident of the State of California. Defendant has, through counsel,
   19 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   20 2017, shooting incident in Las Vegas, Nevada.
   21             704. Plaintiffs are informed and believe, and thereon allege, that defendant
   22 Alicia Segovia is a resident of the State of California. Defendant has previously filed
   23 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   24 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   25 Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the Los
   26 Angeles Superior Court (“LASC”), case number BC687120.
   27             705. Plaintiffs are informed and believe, and thereon allege, that defendant
   28 Gilbert Segovia is a resident of the State of California. Defendant has previously
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                                                   -135-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 147 of 181 Page ID #:147




     1 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     2 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     3 in Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the
     4 Los Angeles Superior Court (“LASC”), case number BC687120.
     5            706. Plaintiffs are informed and believe, and thereon allege, that defendant
     6 Cheryl Seguin is a resident of the State of California. Defendant has previously filed
     7 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
     8 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
     9 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   10 Los Angeles Superior Court (“LASC”), case number BC684047.
   11             707. Plaintiffs are informed and believe and thereon allege that Defendant
   12 Fred Seguin is a resident of the State of California. Defendant has, through counsel,
   13 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   14 2017, shooting incident in Las Vegas, Nevada.
   15             708. Plaintiffs are informed and believe and thereon allege that Defendant
   16 Tommie Serrano is a resident of the State of California, County of Ventura.
   17 Defendant has, through counsel, asserted or threatened to assert claims against
   18 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   19             709. Plaintiffs are informed and believe, and thereon allege, that defendant
   20 David Sheriff is a resident of the State of California. Defendant has previously filed
   21 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   22 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   23 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   24 Los Angeles Superior Court (“LASC”), case number BC684047.
   25             710. Plaintiffs are informed and believe, and thereon allege, that defendant
   26 Remo Sheth is a resident of the State of California. Defendant has previously filed a
   27 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   28 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
         39245596.3
                                                   -136-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 148 of 181 Page ID #:148




     1 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
     2 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
     3 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
     4 of the County of Los Angeles, State of California.
     5            711. Plaintiffs are informed and believe, and thereon allege, that defendant
     6 Michael K. Sholan is a resident of the State of California. Defendant has previously
     7 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     8 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     9 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   10 Los Angeles Superior Court (“LASC”), case number BC684047.
   11             712. Plaintiffs are informed and believe and thereon allege that Defendant
   12 Anthony Silva is a resident of the State of California. Defendant has, through
   13 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   14 October 1, 2017, shooting incident in Las Vegas, Nevada.
   15             713. Plaintiffs are informed and believe and thereon allege that Defendant
   16 Elaine Silvestre is a resident of the State of California. Defendant has, through
   17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   18 October 1, 2017, shooting incident in Las Vegas, Nevada.
   19             714. Plaintiffs are informed and believe, and thereon allege, that defendant
   20 Cheyenne Nicole Simon is a resident of the State of California. Defendant has
   21 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
   22 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
   23 shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
   24 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
   25 BC684047.
   26             715. Plaintiffs are informed and believe and thereon allege that Defendant
   27 Haley Sisneros is a resident of the State of California. Defendant has, through
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                                                   -137-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 149 of 181 Page ID #:149




     1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     2 October 1, 2017, shooting incident in Las Vegas, Nevada.
     3            716. Plaintiffs are informed and believe, and thereon allege, that defendant
     4 Buddy Skidmore is a resident of the State of California. Defendant has previously
     5 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     6 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     7 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     8 Los Angeles Superior Court (“LASC”), case number BC684047.
     9            717. Plaintiffs are informed and believe, and thereon allege, that defendant
   10 Lee Skolnick is a resident of the State of California. Defendant has previously filed
   11 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   12 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   13 Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the Los
   14 Angeles Superior Court (“LASC”), case number BC687120.
   15             718. Plaintiffs are informed and believe and thereon allege that Defendant
   16 Shelby Slifka is a resident of the State of California. Defendant has, through
   17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   18 October 1, 2017, shooting incident in Las Vegas, Nevada.
   19             719. Plaintiffs are informed and believe and thereon allege that Defendant
   20 Jonathan Sloniger is a resident of the State of California. Defendant has, through
   21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   22 October 1, 2017, shooting incident in Las Vegas, Nevada.
   23             720. Plaintiffs are informed and believe and thereon allege that Defendant
   24 Stephanie Smarker is a resident of the State of California. Defendant has, through
   25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   26 October 1, 2017, shooting incident in Las Vegas, Nevada.
   27             721. Plaintiffs are informed and believe, and thereon allege, that defendant
   28 Karen Elaine Smerber is a resident of the State of California. Defendant has
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                                                   -138-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 150 of 181 Page ID #:150




     1 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
     2 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
     3 shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
     4 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
     5 BC684047.
     6            722. Plaintiffs are informed and believe, and thereon allege, that defendant
     7 Ryan Smith is a resident of the State of California. Defendant has previously filed a
     8 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
     9 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   10 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   11 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   12 number BC684047.
   13             723. Plaintiffs are informed and believe and thereon allege that Defendant
   14 Amber Smith is a resident of the State of California. Defendant has, through
   15 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   16 October 1, 2017, shooting incident in Las Vegas, Nevada.
   17             724. Plaintiffs are informed and believe and thereon allege that Defendant
   18 Dana L. Smith is a resident of the State of California. Defendant has, through
   19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   20 October 1, 2017, shooting incident in Las Vegas, Nevada.
   21             725. Plaintiffs are informed and believe and thereon allege that Defendant
   22 Ryan Oneil Smith is a resident of the State of California. Defendant has, through
   23 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   24 October 1, 2017, shooting incident in Las Vegas, Nevada.
   25             726. Plaintiffs are informed and believe, and thereon allege, that defendant
   26 Danielle Smudde is a resident of the State of California. Defendant has previously
   27 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   28 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
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                                                   -139-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 151 of 181 Page ID #:151




     1 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     2 Los Angeles Superior Court (“LASC”), case number BC684047.
     3            727. Plaintiffs are informed and believe, and thereon allege, that defendant
     4 Misty Snitzer is a resident of the State of California. Defendant has previously filed
     5 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
     6 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
     7 Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the Los
     8 Angeles Superior Court (“LASC”), case number BC687120.
     9            728. Plaintiffs are informed and believe, and thereon allege, that defendant
   10 Stephanie Sotomayor is a resident of the State of California. Defendant has
   11 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
   12 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
   13 shooting incident in Las Vegas, Nevada. Based on the allegations in that lawsuit,
   14 Abraham, et al. v. MGM, filed November 20, 2017, in the Los Angeles Superior
   15 Court (“LASC”), case number BC684047, Plaintiffs are informed and believe that
   16 Defendant is a resident of the County of Los Angeles, State of California.
   17             729. Plaintiffs are informed and believe and thereon allege that Defendant
   18 Katey Souza is a resident of the State of California. Defendant has, through
   19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   20 October 1, 2017, shooting incident in Las Vegas, Nevada.
   21             730. Plaintiffs are informed and believe and thereon allege that Defendant
   22 Cheryl Spencer is a resident of the State of California. Defendant has, through
   23 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   24 October 1, 2017, shooting incident in Las Vegas, Nevada.
   25             731. Plaintiffs are informed and believe, and thereon allege, that defendant
   26 Keoscha E. Spencer is a resident of the State of California. Defendant has
   27 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
   28 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
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                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 152 of 181 Page ID #:152




     1 shooting incident in Las Vegas, Nevada. Based on the allegations in that lawsuit,
     2 Abraham, et al. v. MGM, filed November 20, 2017, in the Los Angeles Superior
     3 Court (“LASC”), case number BC684047, Plaintiffs are informed and believe that
     4 Defendant is a resident of the County of Los Angeles, State of California.
     5            732. Plaintiffs are informed and believe, and thereon allege, that defendant
     6 Kortney Spencer is a resident of the State of California. Defendant has previously
     7 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     8 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     9 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   10 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
   11 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
   12 of the County of Los Angeles, State of California.
   13             733. Plaintiffs are informed and believe, and thereon allege, that defendant
   14 Michelle E. Spencer is a resident of the State of California. Defendant has
   15 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
   16 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
   17 shooting incident in Las Vegas, Nevada, in Spencer, et al. v. Paddock, filed October
   18 17, 2017, in Los Angeles Superior Court (“LASC”), case number BC680065.
   19             734. Plaintiffs are informed and believe, and thereon allege, that defendant
   20 Savannah Spencer is a resident of the State of California. Defendant has previously
   21 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   22 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   23 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   24 Los Angeles Superior Court (“LASC”), case number BC684047.
   25             735. Plaintiffs are informed and believe and thereon allege that Defendant
   26 Stephanie Spencer is a resident of the State of California, County of Ventura.
   27 Defendant has, through counsel, asserted or threatened to assert claims against
   28 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
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                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 153 of 181 Page ID #:153




     1            736. Plaintiffs are informed and believe, and thereon allege, that defendant
     2 Suzanne Spencer is a resident of the State of California. Defendant has previously
     3 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     4 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     5 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     6 Los Angeles Superior Court (“LASC”), case number BC684047.
     7            737. Plaintiffs are informed and believe, and thereon allege, that defendant
     8 David Spring is a resident of the State of California. Defendant has previously filed
     9 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   10 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   11 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   12 Los Angeles Superior Court (“LASC”), case number BC684047.
   13             738. Plaintiffs are informed and believe, and thereon allege, that defendant
   14 Shannon Springer is a resident of the State of California. Defendant has previously
   15 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   16 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   17 in Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the
   18 Los Angeles Superior Court (“LASC”), case number BC687120.
   19             739. Plaintiffs are informed and believe, and thereon allege, that defendant
   20 Troy Springer is a resident of the State of California. Defendant has previously filed
   21 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   22 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   23 Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the Los
   24 Angeles Superior Court (“LASC”), case number BC687120.
   25             740. Plaintiffs are informed and believe and thereon allege that Defendant
   26 Robert Staggs is a resident of the State of California. Defendant has, through
   27 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   28 October 1, 2017, shooting incident in Las Vegas, Nevada.
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                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 154 of 181 Page ID #:154




     1            741. Plaintiffs are informed and believe, and thereon allege, that defendant
     2 Daniel Staples is a resident of the State of California. Defendant has previously filed
     3 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
     4 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
     5 Las Vegas, Nevada, in Staples, et al. v. MGM, filed November 20, 2017, in Los
     6 Angeles Superior Court (“LASC”), case number BC684142.
     7            742. Plaintiffs are informed and believe, and thereon allege, that defendant
     8 Samuel Staples is a resident of the State of California. Defendant has previously
     9 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   10 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   11 in Las Vegas, Nevada, in Staples, et al. v. MGM, filed November 20, 2017, in Los
   12 Angeles Superior Court (“LASC”), case number BC684142.
   13             743. Plaintiffs are informed and believe, and thereon allege, that defendant
   14 Kristina Staples, an incapacitated person, is a resident of the State of California.
   15 Defendant has previously filed a lawsuit (which was subsequently voluntarily
   16 dismissed) against one or more of the Plaintiffs, asserting claims arising from the
   17 October 1, 2017, shooting incident in Las Vegas, Nevada, in Staples, et al. v. MGM,
   18 filed November 20, 2017, in Los Angeles Superior Court (“LASC”), case number
   19 BC684142.
   20             744. Plaintiffs are informed and believe and thereon allege that Defendant
   21 David Statter is a resident of the State of California. Defendant has, through
   22 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   23 October 1, 2017, shooting incident in Las Vegas, Nevada.
   24             745. Plaintiffs are informed and believe and thereon allege that Defendant
   25 Veronica Statter is a resident of the State of California. Defendant has, through
   26 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   27 October 1, 2017, shooting incident in Las Vegas, Nevada.
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                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 155 of 181 Page ID #:155




     1            746. Plaintiffs are informed and believe, and thereon allege, that defendant
     2 Jeffrey Steffens is a resident of the State of California. Defendant has previously
     3 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     4 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     5 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
     6 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
     7 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
     8 of the County of Los Angeles, State of California.
     9            747. Plaintiffs are informed and believe and thereon allege that Defendant
   10 Katie Stern is a resident of the State of California. Defendant has, through counsel,
   11 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   12 2017, shooting incident in Las Vegas, Nevada.
   13             748. Plaintiffs are informed and believe and thereon allege that Defendant
   14 Parker Stevens is a resident of the State of California. Defendant has, through
   15 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   16 October 1, 2017, shooting incident in Las Vegas, Nevada.
   17             749. Plaintiffs are informed and believe and thereon allege that Defendant
   18 Steve Stewart is a resident of the State of California, County of Los Angeles.
   19 Defendant has, through counsel, asserted or threatened to assert claims against
   20 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   21             750. Plaintiffs are informed and believe and thereon allege that Defendant
   22 Tamara J. Stewart is a resident of the State of California. Defendant has, through
   23 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   24 October 1, 2017, shooting incident in Las Vegas, Nevada.
   25             751. Plaintiffs are informed and believe and thereon allege that Defendant
   26 Michaela Stilwell is a resident of the State of California. Defendant has, through
   27 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   28 October 1, 2017, shooting incident in Las Vegas, Nevada.
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                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 156 of 181 Page ID #:156




     1            752. Plaintiffs are informed and believe, and thereon allege, that defendant
     2 Dana Stout-Wilson is a resident of the State of California. Defendant has previously
     3 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     4 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     5 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     6 Los Angeles Superior Court (“LASC”), case number BC684047.
     7            753. Plaintiffs are informed and believe, and thereon allege, that defendant
     8 Lindsay Stragier is a resident of the State of California. Defendant has previously
     9 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   10 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   11 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   12 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   13 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   14 of the County of Los Angeles, State of California.
   15             754. Plaintiffs are informed and believe and thereon allege that Defendant
   16 Joshua K. Stratton is a resident of the State of California. Defendant has, through
   17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   18 October 1, 2017, shooting incident in Las Vegas, Nevada.
   19             755. Plaintiffs are informed and believe and thereon allege that Defendant
   20 Amber Streid is a resident of the State of California. Defendant has, through
   21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   22 October 1, 2017, shooting incident in Las Vegas, Nevada.
   23             756. Plaintiffs are informed and believe and thereon allege that Defendant
   24 Shandi Strong is a resident of the State of California, County of Los Angeles.
   25 Defendant has, through counsel, asserted or threatened to assert claims against
   26 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   27             757. Plaintiffs are informed and believe and thereon allege that Defendant
   28 Michelle Stuebe is a resident of the State of California. Defendant has, through
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                                                   -145-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 157 of 181 Page ID #:157




     1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     2 October 1, 2017, shooting incident in Las Vegas, Nevada.
     3            758. Plaintiffs are informed and believe, and thereon allege, that defendant
     4 Susanna Suard is a resident of the State of California. Defendant has previously filed
     5 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
     6 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
     7 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
     8 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
     9 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   10 of the County of Los Angeles, State of California.
   11             759. Plaintiffs are informed and believe, and thereon allege, that defendant
   12 Clint Sundeen is a resident of the State of California. Defendant has previously filed
   13 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   14 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   15 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   16 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   17 number BC684047.
   18             760. Plaintiffs are informed and believe, and thereon allege, that defendant
   19 Kellie Sundeen is a resident of the State of California. Defendant has previously
   20 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   21 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   22 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   23 Los Angeles Superior Court (“LASC”), case number BC684047.
   24             761. Plaintiffs are informed and believe, and thereon allege, that defendant
   25 Kyle C. Sundeen is a resident of the State of California. Defendant has previously
   26 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   27 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
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         39245596.3
                                                   -146-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 158 of 181 Page ID #:158




     1 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     2 Los Angeles Superior Court (“LASC”), case number BC684047.
     3            762. Plaintiffs are informed and believe and thereon allege that Defendant
     4 Brandi Swan is a resident of the State of California. Defendant has, through counsel,
     5 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
     6 2017, shooting incident in Las Vegas, Nevada.
     7            763. Plaintiffs are informed and believe and thereon allege that Defendant
     8 Nicholas Swartz is a resident of the State of California. Defendant has, through
     9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   10 October 1, 2017, shooting incident in Las Vegas, Nevada.
   11             764. Plaintiffs are informed and believe and thereon allege that Defendant
   12 Yvette Swartz is a resident of the State of California. Defendant has, through
   13 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   14 October 1, 2017, shooting incident in Las Vegas, Nevada.
   15             765. Plaintiffs are informed and believe and thereon allege that Defendant
   16 Lynnsey Sweet is a resident of the State of California. Defendant has, through
   17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   18 October 1, 2017, shooting incident in Las Vegas, Nevada.
   19             766. Plaintiffs are informed and believe, and thereon allege, that defendant
   20 B.T., a minor, is a resident of the State of California. Defendant has previously filed
   21 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   22 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   23 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   24 Los Angeles Superior Court (“LASC”), case number BC684047.
   25             767. Plaintiffs are informed and believe, and thereon allege, that defendant
   26 Erin Taber is a resident of the State of California. Defendant has previously filed a
   27 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   28 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
         39245596.3
                                                   -147-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 159 of 181 Page ID #:159




     1 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     2 Los Angeles Superior Court (“LASC”), case number BC684047.
     3            768. Plaintiffs are informed and believe, and thereon allege, that defendant
     4 Ruben Talamantez is a resident of the State of California. Defendant has previously
     5 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     6 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     7 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
     8 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
     9 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
   10 of the County of Los Angeles, State of California.
   11             769. Plaintiffs are informed and believe, and thereon allege, that defendant
   12 Marie Tautrim is a resident of the State of California. Defendant has previously filed
   13 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   14 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   15 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   16 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
   17 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
   18 of the County of Los Angeles, State of California.
   19             770. Plaintiffs are informed and believe, and thereon allege, that defendant
   20 Michael Tautrim is a resident of the State of California. Defendant has previously
   21 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   22 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   23 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   24 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
   25 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
   26 of the County of Los Angeles, State of California.
   27             771. Plaintiffs are informed and believe, and thereon allege, that defendant
   28 Brianna Taylor is a resident of the State of California. Defendant has previously
         39245596.3
                                                   -148-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 160 of 181 Page ID #:160




     1 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     2 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     3 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     4 Los Angeles Superior Court (“LASC”), case number BC684047.
     5            772. Plaintiffs are informed and believe and thereon allege that Defendant
     6 Jason Taylor is a resident of the State of California. Defendant has, through
     7 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     8 October 1, 2017, shooting incident in Las Vegas, Nevada.
     9            773. Plaintiffs are informed and believe, and thereon allege, that defendant
   10 John Taylor is a resident of the State of California. Defendant has previously filed a
   11 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   12 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   13 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   14 Los Angeles Superior Court (“LASC”), case number BC684047.
   15             774. Plaintiffs are informed and believe, and thereon allege, that defendant
   16 Tiffany Taylor is a resident of the State of California. Defendant has previously filed
   17 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   18 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   19 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   20 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   21 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   22 of the County of Los Angeles, State of California.
   23             775. Plaintiffs are informed and believe, and thereon allege that on October
   24 1, 2017, decedent Derrick D. Taylor, was a resident of the State of California.
   25 Plaintiffs are informed and believe and thereon allege that Defendant, the Estate of
   26 Derrick D. Taylor has, through counsel, made claims against Plaintiffs based upon
   27 the October 1, 2017, shooting incident in Las Vegas, Nevada, or, alternatively, has
   28 indicated an intent to make such claims in the future (such as by way of the filing of
         39245596.3
                                                   -149-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 161 of 181 Page ID #:161




     1 a separate lawsuit – now dismissed, by way of a letter of representation of counsel,
     2 or by way of an evidence preservation letter from counsel).
     3            776. Plaintiffs are informed and believe, and thereon allege, that defendant
     4 Desiree Temple is a resident of the State of California. Defendant has previously
     5 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     6 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     7 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     8 Los Angeles Superior Court (“LASC”), case number BC684047.
     9            777. Plaintiffs are informed and believe and thereon allege that Defendant
   10 Rocky Tepesano is a resident of the State of California, County of Ventura.
   11 Defendant has, through counsel, asserted or threatened to assert claims against
   12 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   13             778. Plaintiffs are informed and believe and thereon allege that Defendant
   14 Janelle Terkeurst is a resident of the State of California. Defendant has, through
   15 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   16 October 1, 2017, shooting incident in Las Vegas, Nevada.
   17             779. Plaintiffs are informed and believe and thereon allege that Defendant
   18 Deborah Thomas is a resident of the State of California. Defendant has, through
   19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   20 October 1, 2017, shooting incident in Las Vegas, Nevada.
   21             780. Plaintiffs are informed and believe and thereon allege that Defendant
   22 Jeffrey Thomas is a resident of the State of California, County of Los Angeles.
   23 Defendant has, through counsel, asserted or threatened to assert claims against
   24 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   25             781. Plaintiffs are informed and believe, and thereon allege, that defendant
   26 Evan Tillema is a resident of the State of California. Defendant has previously filed
   27 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   28 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
         39245596.3
                                                   -150-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 162 of 181 Page ID #:162




     1 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     2 Los Angeles Superior Court (“LASC”), case number BC684047.
     3            782. Plaintiffs are informed and believe and thereon allege that Defendant
     4 Lindsay Tillema is a resident of the State of California. Defendant has, through
     5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     6 October 1, 2017, shooting incident in Las Vegas, Nevada.
     7            783. Plaintiffs are informed and believe and thereon allege that Defendant
     8 Jennifer Tillman is a resident of the State of California. Defendant has, through
     9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   10 October 1, 2017, shooting incident in Las Vegas, Nevada.
   11             784. Plaintiffs are informed and believe, and thereon allege, that defendant
   12 Joshua Tinoco is a resident of the State of California. Defendant has previously filed
   13 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   14 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   15 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   16 Los Angeles Superior Court (“LASC”), case number BC684047.
   17             785. Plaintiffs are informed and believe, and thereon allege, that defendant
   18 Lanna Tinoco is a resident of the State of California. Defendant has previously filed
   19 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   20 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   21 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   22 Los Angeles Superior Court (“LASC”), case number BC684047.
   23             786. Plaintiffs are informed and believe and thereon allege that Defendant
   24 Sarah Tiscareno is a resident of the State of California. Defendant has, through
   25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   26 October 1, 2017, shooting incident in Las Vegas, Nevada.
   27             787. Plaintiffs are informed and believe and thereon allege that Defendant
   28 Alfredo Toledo is a resident of the State of California. Defendant has, through
         39245596.3
                                                   -151-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 163 of 181 Page ID #:163




     1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     2 October 1, 2017, shooting incident in Las Vegas, Nevada.
     3            788. Plaintiffs are informed and believe and thereon allege that Defendant
     4 Kenneth Tonkovich is a resident of the State of California. Defendant has, through
     5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     6 October 1, 2017, shooting incident in Las Vegas, Nevada.
     7            789. Plaintiffs are informed and believe and thereon allege that Defendant
     8 Johnny Toscano is a resident of the State of California. Defendant has, through
     9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   10 October 1, 2017, shooting incident in Las Vegas, Nevada.
   11             790. Plaintiffs are informed and believe and thereon allege that Defendant
   12 Rhonda Trask is a resident of the State of California. Defendant has, through
   13 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   14 October 1, 2017, shooting incident in Las Vegas, Nevada.
   15             791. Plaintiffs are informed and believe, and thereon allege, that defendant
   16 Robert Trematerra is a resident of the State of California. Defendant has previously
   17 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   18 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   19 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   20 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   21 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   22 of the County of Ventura, State of California.
   23             792. Plaintiffs are informed and believe and thereon allege that Defendant
   24 Hamida Trujillo is a resident of the State of California. Defendant has, through
   25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   26 October 1, 2017, shooting incident in Las Vegas, Nevada.
   27             793. Plaintiffs are informed and believe and thereon allege that Defendant
   28 Jacquelyn Trujillo is a resident of the State of California, County of Los Angeles.
         39245596.3
                                                   -152-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 164 of 181 Page ID #:164




     1 Defendant has, through counsel, asserted or threatened to assert claims against
     2 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
     3            794. Plaintiffs are informed and believe and thereon allege that Defendant
     4 Ligia Uriarte is a resident of the State of California. Defendant has, through
     5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     6 October 1, 2017, shooting incident in Las Vegas, Nevada.
     7            795. Plaintiffs are informed and believe and thereon allege that Defendant
     8 Alejandra Uribe is a resident of the State of California. Defendant has, through
     9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   10 October 1, 2017, shooting incident in Las Vegas, Nevada.
   11             796. Plaintiffs are informed and believe and thereon allege that Defendant
   12 Ricardo Uribe is a resident of the State of California. Defendant has, through
   13 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   14 October 1, 2017, shooting incident in Las Vegas, Nevada.
   15             797. Plaintiffs are informed and believe, and thereon allege, that defendant
   16 Lisa Valdes is a resident of the State of California. Defendant has previously filed a
   17 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   18 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   19 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   20 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   21 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   22 of the County of Ventura, State of California.
   23             798. Plaintiffs are informed and believe and thereon allege that Defendant
   24 Erin Valenzuela is a resident of the State of California. Defendant has, through
   25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   26 October 1, 2017, shooting incident in Las Vegas, Nevada.
   27             799. Plaintiffs are informed and believe and thereon allege that Defendant
   28 Jennifer Van Vlymen is a resident of the State of California. Defendant has, through
         39245596.3
                                                   -153-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 165 of 181 Page ID #:165




     1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     2 October 1, 2017, shooting incident in Las Vegas, Nevada.
     3            800. Plaintiffs are informed and believe, and thereon allege, that defendant
     4 Nathalie Vanderstay is a resident of the State of California. Defendant has
     5 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
     6 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
     7 shooting incident in Las Vegas, Nevada. Based on the allegations in that lawsuit,
     8 Vanderstay, et al. v. MGM, filed November 13, 2017, in the Los Angeles Superior
     9 Court (“LASC”), case number BC683403, Plaintiffs are informed and believe that
   10 Defendant is a resident of the County of Los Angeles, State of California.
   11             801. Plaintiffs are informed and believe and thereon allege that Defendant
   12 Gerard Vangerwen is a resident of the State of California, County of Los Angeles.
   13 Defendant has, through counsel, asserted or threatened to assert claims against
   14 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   15             802. Plaintiffs are informed and believe, and thereon allege, that defendant
   16 Amy Viger is a resident of the State of California. Defendant has previously filed a
   17 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   18 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   19 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   20 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
   21 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
   22 of the County of Los Angeles, State of California.
   23             803. Plaintiffs are informed and believe, and thereon allege, that defendant
   24 Jeremy Viger is a resident of the State of California. Defendant has previously filed
   25 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   26 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   27 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   28 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
         39245596.3
                                                   -154-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 166 of 181 Page ID #:166




     1 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
     2 of the County of Los Angeles, State of California.
     3            804. Plaintiffs are informed and believe and thereon allege that Defendant
     4 Dillon Villalobos is a resident of the State of California. Defendant has, through
     5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     6 October 1, 2017, shooting incident in Las Vegas, Nevada.
     7            805. Plaintiffs are informed and believe and thereon allege that Defendant
     8 Don Villalobos is a resident of the State of California. Defendant has, through
     9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   10 October 1, 2017, shooting incident in Las Vegas, Nevada.
   11             806. Plaintiffs are informed and believe and thereon allege that Defendant
   12 Lisa Villalobos is a resident of the State of California, County of Los Angeles.
   13 Defendant has, through counsel, asserted or threatened to assert claims against
   14 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   15             807. Plaintiffs are informed and believe and thereon allege that Defendant
   16 Parisse Villalobos is a resident of the State of California, County of Los Angeles.
   17 Defendant has, through counsel, asserted or threatened to assert claims against
   18 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   19             808. Plaintiffs are informed and believe, and thereon allege, that defendant
   20 Peter Violas is a resident of the State of California. Defendant has previously filed a
   21 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   22 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   23 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
   24 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
   25 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
   26 of the County of Los Angeles, State of California.
   27             809. Plaintiffs are informed and believe, and thereon allege, that defendant
   28 Cecelia Joya Walach is a resident of the State of California. Defendant has
         39245596.3
                                                   -155-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 167 of 181 Page ID #:167




     1 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
     2 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
     3 shooting incident in Las Vegas, Nevada. Based on the allegations in that lawsuit,
     4 Abraham, et al. v. MGM, filed November 20, 2017, in the Los Angeles Superior
     5 Court (“LASC”), case number BC684047, Plaintiffs are informed and believe that
     6 Defendant is a resident of the County of Los Angeles, State of California.
     7            810. Plaintiffs are informed and believe, and thereon allege, that defendant
     8 Rebecca Waltman is a resident of the State of California. Defendant has previously
     9 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   10 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   11 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   12 Los Angeles Superior Court (“LASC”), case number BC684047.
   13             811. Plaintiffs are informed and believe, and thereon allege, that defendant
   14 Donald Washbrook Jr. is a resident of the State of California. Defendant has
   15 previously filed a lawsuit (which was subsequently voluntarily dismissed) against
   16 one or more of the Plaintiffs, asserting claims arising from the October 1, 2017,
   17 shooting incident in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed
   18 November 20, 2017, in the Los Angeles Superior Court (“LASC”), case number
   19 BC684047.
   20             812. Plaintiffs are informed and believe and thereon allege that Defendant
   21 Amanda Wechsler is a resident of the State of California. Defendant has, through
   22 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   23 October 1, 2017, shooting incident in Las Vegas, Nevada.
   24             813. Plaintiffs are informed and believe and thereon allege that Defendant
   25 Carrie Weidenkeller is a resident of the State of California. Defendant has, through
   26 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   27 October 1, 2017, shooting incident in Las Vegas, Nevada.
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         39245596.3
                                                   -156-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 168 of 181 Page ID #:168




     1            814. Plaintiffs are informed and believe, and thereon allege, that defendant
     2 Tricia Welch is a resident of the State of California. Defendant has previously filed
     3 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
     4 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
     5 Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
     6 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
     7 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
     8 of the County of Los Angeles, State of California.
     9            815. Plaintiffs are informed and believe and thereon allege that Defendant
   10 Kevin Wells is a resident of the State of California, County of Los Angeles.
   11 Defendant has, through counsel, asserted or threatened to assert claims against
   12 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   13             816. Plaintiffs are informed and believe and thereon allege that Defendant
   14 Serena West is a resident of the State of California. Defendant has, through counsel,
   15 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   16 2017, shooting incident in Las Vegas, Nevada.
   17             817. Plaintiffs are informed and believe and thereon allege that Defendant
   18 Christopher Wetzel is a resident of the State of California. Defendant has, through
   19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   20 October 1, 2017, shooting incident in Las Vegas, Nevada.
   21             818. Plaintiffs are informed and believe, and thereon allege, that defendant
   22 Gina B. Wheeler is a resident of the State of California. Defendant has previously
   23 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   24 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   25 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   26 Los Angeles Superior Court (“LASC”), case number BC684047.
   27             819. Plaintiffs are informed and believe, and thereon allege, that defendant
   28 Derek White is a resident of the State of California. Defendant has previously filed a
         39245596.3
                                                   -157-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 169 of 181 Page ID #:169




     1 lawsuit (which was subsequently voluntarily dismissed) against one or more of the
     2 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
     3 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
     4 Los Angeles Superior Court (“LASC”), case number BC684047.
     5            820. Plaintiffs are informed and believe and thereon allege that Defendant
     6 Greg White is a resident of the State of California. Defendant has, through counsel,
     7 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
     8 2017, shooting incident in Las Vegas, Nevada.
     9            821. Plaintiffs are informed and believe and thereon allege that Defendant
   10 Victoria White is a resident of the State of California. Defendant has, through
   11 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   12 October 1, 2017, shooting incident in Las Vegas, Nevada.
   13             822. Plaintiffs are informed and believe, and thereon allege, that defendant
   14 Presley Wick is a resident of the State of California. Defendant has previously filed
   15 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   16 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   17 Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   18 Los Angeles Superior Court (“LASC”), case number BC684047.
   19             823. Plaintiffs are informed and believe, and thereon allege, that defendant
   20 Tracie P. Wight is a resident of the State of California. Defendant has previously
   21 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   22 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   23 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   24 Los Angeles Superior Court (“LASC”), case number BC684047.
   25             824. Plaintiffs are informed and believe and thereon allege that Defendant
   26 Stacy Wilbanks is a resident of the State of California. Defendant has, through
   27 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   28 October 1, 2017, shooting incident in Las Vegas, Nevada.
         39245596.3
                                                   -158-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 170 of 181 Page ID #:170




     1            825. Plaintiffs are informed and believe, and thereon allege, that defendant
     2 Rebecca Wilken is a resident of the State of California. Defendant has previously
     3 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
     4 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
     5 in Las Vegas, Nevada, in Mayfield, et al. v. MGM, filed December 15, 2017, in the
     6 Los Angeles Superior Court (“LASC”), case number BC687120.
     7            826. Plaintiffs are informed and believe and thereon allege that Defendant
     8 Anna Williams is a resident of the State of California, County of Los Angeles.
     9 Defendant has, through counsel, asserted or threatened to assert claims against
   10 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   11             827. Plaintiffs are informed and believe and thereon allege that Defendant
   12 Joseph N. Williams is a resident of the State of California, County of Santa Barbara.
   13 Defendant has, through counsel, asserted or threatened to assert claims against
   14 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   15             828. Plaintiffs are informed and believe and thereon allege that Defendant
   16 Stanley Williams is a resident of the State of California. Defendant has, through
   17 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   18 October 1, 2017, shooting incident in Las Vegas, Nevada.
   19             829. Plaintiffs are informed and believe and thereon allege that Defendant
   20 James Williamson is a resident of the State of California. Defendant has, through
   21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   22 October 1, 2017, shooting incident in Las Vegas, Nevada.
   23             830. Plaintiffs are informed and believe, and thereon allege, that defendant
   24 Marcus Wilson is a resident of the State of California. Defendant has previously
   25 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   26 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   27 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   28 Los Angeles Superior Court (“LASC”), case number BC684047.
         39245596.3
                                                   -159-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 171 of 181 Page ID #:171




     1            831. Plaintiffs are informed and believe and thereon allege that Defendant
     2 McKayla Wilson is a resident of the State of California. Defendant has, through
     3 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     4 October 1, 2017, shooting incident in Las Vegas, Nevada.
     5            832. Plaintiffs are informed and believe and thereon allege that Defendant
     6 Katelyn Wing is a resident of the State of California. Defendant has, through
     7 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     8 October 1, 2017, shooting incident in Las Vegas, Nevada.
     9            833. Plaintiffs are informed and believe, and thereon allege, that defendant
   10 Kerry Wisden is a resident of the State of California. Defendant has previously filed
   11 a lawsuit (which was subsequently voluntarily dismissed) against one or more of the
   12 Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident in
   13 Las Vegas, Nevada. Based on the allegations in that lawsuit, Abraham, et al. v.
   14 MGM, filed November 20, 2017, in the Los Angeles Superior Court (“LASC”), case
   15 number BC684047, Plaintiffs are informed and believe that Defendant is a resident
   16 of the County of Los Angeles, State of California.
   17             834. Plaintiffs are informed and believe and thereon allege that Defendant
   18 Anthony Wood is a resident of the State of California. Defendant has, through
   19 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   20 October 1, 2017, shooting incident in Las Vegas, Nevada.
   21             835. Plaintiffs are informed and believe and thereon allege that Defendant
   22 Shawna Wood is a resident of the State of California, County of Los Angeles.
   23 Defendant has, through counsel, asserted or threatened to assert claims against
   24 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   25             836. Plaintiffs are informed and believe, and thereon allege, that defendant
   26 Jaeger Woodson is a resident of the State of California. Defendant has previously
   27 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   28 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
         39245596.3
                                                   -160-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 172 of 181 Page ID #:172




     1 in Las Vegas, Nevada. Based on the allegations in that lawsuit, Mayfield, et al. v.
     2 MGM, filed December 15, 2017, in the Los Angeles Superior Court (“LASC”), case
     3 number BC687120, Plaintiffs are informed and believe that Defendant is a resident
     4 of the County of Los Angeles, State of California.
     5            837. Plaintiffs are informed and believe and thereon allege that Defendant
     6 Jade Wright is a resident of the State of California. Defendant has, through counsel,
     7 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
     8 2017, shooting incident in Las Vegas, Nevada.
     9            838. Plaintiffs are informed and believe and thereon allege that Defendant
   10 Jeff Wright is a resident of the State of California. Defendant has, through counsel,
   11 asserted or threatened to assert claims against Plaintiffs based upon the October 1,
   12 2017, shooting incident in Las Vegas, Nevada.
   13             839. Plaintiffs are informed and believe, and thereon allege, that defendant
   14 Tome Xayavong is a resident of the State of California. Defendant has previously
   15 filed a lawsuit (which was subsequently voluntarily dismissed) against one or more
   16 of the Plaintiffs, asserting claims arising from the October 1, 2017, shooting incident
   17 in Las Vegas, Nevada, in Abraham, et al. v. MGM, filed November 20, 2017, in the
   18 Los Angeles Superior Court (“LASC”), case number BC684047.
   19             840. Plaintiffs are informed and believe and thereon allege that Defendant
   20 Brett Yeakel is a resident of the State of California. Defendant has, through
   21 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   22 October 1, 2017, shooting incident in Las Vegas, Nevada.
   23             841. Plaintiffs are informed and believe and thereon allege that Defendant
   24 Shawna York is a resident of the State of California. Defendant has, through
   25 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   26 October 1, 2017, shooting incident in Las Vegas, Nevada.
   27             842. Plaintiffs are informed and believe and thereon allege that Defendant
   28 Brandon Young is a resident of the State of California. Defendant has, through
         39245596.3
                                                   -161-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 173 of 181 Page ID #:173




     1 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     2 October 1, 2017, shooting incident in Las Vegas, Nevada.
     3            843. Plaintiffs are informed and believe and thereon allege that Defendant
     4 Laura Zarate is a resident of the State of California. Defendant has, through
     5 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
     6 October 1, 2017, shooting incident in Las Vegas, Nevada.
     7            844. Plaintiffs are informed and believe and thereon allege that Defendant
     8 Shannon Zeeman is a resident of the State of California. Defendant has, through
     9 counsel, asserted or threatened to assert claims against Plaintiffs based upon the
   10 October 1, 2017, shooting incident in Las Vegas, Nevada.
   11             845. Plaintiffs are informed and believe and thereon allege that Defendant
   12 Sharla Zotea is a resident of the State of California, County of Los Angeles.
   13 Defendant has, through counsel, asserted or threatened to assert claims against
   14 Plaintiffs based upon the October 1, 2017, shooting incident in Las Vegas, Nevada.
   15                                JURISDICTION AND VENUE
   16             846. This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1331
   17 and 6 U.S.C. §442(a). As alleged hereinabove, the SAFETY Act expressly provides
   18 for original and exclusive federal jurisdiction over actions arising from or relating to
   19 acts of mass violence where technologies or services certified by the Secretary of
   20 Homeland Security were deployed. At the time of Paddock’s mass attack at the
   21 Route 91 concert, security services were provided by Contemporary Services
   22 Corporation as the Security Vendor for the Route 91 Harvest Festival. CSC’s
   23 security services were certified by the Secretary of Homeland Security under the
   24 SAFETY Act.
   25             847. In addition, the Court has subject-matter jurisdiction pursuant to 28
   26 U.S.C. § 1332 in that Plaintiffs (by virtue of their incorporation and principal places
   27 of business) are citizens of the States of Delaware and Nevada; Defendants are
   28 citizens of the State of California; and as to some Defendants, the matter in
         39245596.3
                                                    -162-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 174 of 181 Page ID #:174




     1 controversy exceeds, exclusive of interest and costs, the sum specified by 28 U.S.C.
     2 § 1332(a). As to Defendants whose claims individually do not meet the amount-in-
     3 controversy threshold of 28 U.S.C. § 1332(a), this Court has supplemental
     4 jurisdiction over such claims under 28 U.S.C. § 1367 because those claims are so
     5 related to claims of parties whose claims do meet the amount-in-controversy
     6 threshold of 28 U.S.C. § 1332(a) that they form part of the same case of controversy
     7 under Article III of the United States Constitution, because all claims arise out of the
     8 same occurrence, viz., the mass attack perpetrated by Stephen Paddock at the Route
     9 91 Harvest Festival in Las Vegas on October 1, 2017.
   10            848. This Court has personal jurisdiction over defendants because they are
   11 residents of the State of California and are therefore subject to the general personal
   12 jurisdiction of this Court.
   13            849. Venue is proper in this Judicial District pursuant to 28 U.S.C.
   14 § 1391(b)(1) because one or more of the Defendants are known to reside, or upon
   15 information and belief, do reside, within this Judicial District.
   16                FIRST CAUSE OF ACTION FOR DECLATORY RELIEF
   17                            (By Plaintiffs against all Defendants)
   18            850. Plaintiffs reallege and incorporate by reference, as though fully set
   19 forth, the allegations of paragraphs 1-849, above.
   20            851. Following Paddock’s mass attack on the concert, over 2,500
   21 individuals have either sued the MGM Parties, or threatened to sue the MGM
   22 Parties, for claims alleged to arise from or relate to Paddock’s attack. Several
   23 hundred individuals filed suit, and before the issues could be joined or resolved,
   24 they dismissed their claims, apparently with the intent of refiling.
   25            852. Each Defendant either (a) has previously filed suit (and then dismissed
   26 it) against one or more of the MGM Parties relating to the Paddock attack, or (b)
   27 through counsel has stated an intention to sue the MGM Parties relating to the
   28
        39245596.3
                                                   -163-
                                    COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 175 of 181 Page ID #:175




     1 attack. There is no pending litigation between Plaintiffs and Defendants relating to
     2 the attack.
     3            853. The claims alleged in the now-dismissed lawsuits include claims of
     4 alleged negligence by the MGM Parties and others, including CSC, in protecting
     5 and safeguarding persons including those Defendants who attended the Route 91
     6 Festival.
     7            854. Defendants’ actual and threatened lawsuits implicate the services
     8 provided by CSC because they implicate security at the concert, including training,
     9 emergency response, evacuation and adequacy of egress.
   10             855. These claims are subject to the SAFETY Act, because (a) they arise
   11 from and relate to an act of mass violence meeting the statutory requirements; (b)
   12 CSC provided security at the concert, deploying services certified by the
   13 Department of Homeland Security under the SAFETY Act to protect against or
   14 respond to such an attack; and (c) the claims may therefore result in loss to CSC as
   15 the “Seller” of such certified services.
   16             856. The claims threatened against the MGM Parties by certain Defendants,
   17 through counsel, also inevitably fall under the SAFETY Act for the very same
   18 reasons: (a) they arise from and relate to an act of mass violence meeting the
   19 statutory requirements; (b) CSC provided security at the concert, deploying services
   20 certified by the Department of Homeland Security under the SAFETY Act to protect
   21 against or respond to such an attack; and (c) the claims may therefore result in loss
   22 to CSC as the “Seller” of such certified services. If Defendants were injured by
   23 Paddock’s assault, as they allege, they were inevitably injured both because
   24 Paddock fired from his window and because they remained in the line of fire at the
   25 concert. Such claims inevitably implicate security at the concert—and may result in
   26 loss to CSC.
   27             857. The SAFETY Act applies to claims “arising out of, relating to, or
   28 resulting from an act of terrorism.”
         39245596.3
                                                   -164-
                                    COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 176 of 181 Page ID #:176




     1            858. The SAFETY Act defines an act of terrorism: An act meets the
     2 requirements if the act is (i) “unlawful” (ii) “causes harm to a person … in the
     3 United States,” and (iii) “uses or attempts to use … weapons … designed or
     4 intended to cause mass … injury.” 6 U.S.C. § 444(2)(B). There is no requirement
     5 in the statute or regulations of an ideological motive or objective for the attack for it
     6 to meet the requirements of the SAFETY Act.
     7            859. Paddock’s mass attack satisfies the requirements of the SAFETY Act
     8 and the regulations: (i) it was “unlawful,” (ii) it resulted in death or injury to
     9 hundreds of persons in the United States, and (iii) it involved weapons and other
   10 instrumentalities that were designed and intended to cause, and which in fact caused,
   11 mass injury and death. Those weapons and instrumentalities included rifles
   12 modified with bump stocks to spray fully automatic gun fire; high-capacity
   13 magazines capable of holding between 60 and 100 rounds; and illegal incendiary
   14 rounds intended to blow up the fuel tanks adjacent to the concert. Paddock used
   15 these weapons and instrumentalities to fire hundreds of rounds at the crowd, and he
   16 fired incendiary rounds which struck the fuel tanks but, fortunately, missed the fuel.
   17             860. The post-attack investigation revealed that Paddock brought in his van,
   18 which he parked in the hotel garage, 90 pounds of explosives, consisting of 20 two-
   19 pound containers of exploding targets, 10 one-pound containers of exploding targets
   20 and 2 twenty-pound bags of explosive precursors.
   21             861. No MGM Party attempted to commit, knowingly participated in, aided,
   22 abetted, committed, or participated in any conspiracy to commit any act of terrorism
   23 of criminal act related to mass attack perpetrated by Stephen Paddock at the Route
   24 91 Harvest Festival in Las Vegas, Nevada, on October 1, 2017.
   25             862. The Secretary of Homeland Security may make a determination that
   26 conduct in question meets the statutory requirement, but neither the Act nor the
   27 regulations requires a formal certification. The Statute provides that the Secretary
   28 shall have exclusive authority to certify services, but the authority to determine
         39245596.3
                                                   -165-
                                    COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 177 of 181 Page ID #:177




     1 whether an act of mass violence meets the statutory requirements is not exclusive to
     2 the Secretary.
     3            863. Public statements by the Secretary of Homeland Security concerning
     4 the attack make clear that the attack meets the requirements of the SAFETY Act;
     5 indeed, based on the plain language of the statute, the regulations, and the facts, no
     6 other determination could be possible.
     7            864. In congressional testimony on November 30, 2017, the Acting
     8 Secretary of Homeland Security noted the emphasis of “terrorists and other violent
     9 criminals … on attacking soft targets,” including “recent tragedies in Nevada.” The
   10 Acting Secretary went on to note that the “SAFETY Act Program” “provide[s]
   11 critical incentives for the development and deployment of anti-terrorism
   12 technologies by providing liability protections for ‘qualified anti-terrorism
   13 technologies,’” which applies to a number of large sports and entertainment venues
   14 nationwide.
   15             865. In a May 2018 release, Department of Homeland Security noted that
   16 “mass shootings” in various places, including at a “concert,” aim “to kill and maim
   17 unsuspecting individuals” and thereby fall within the Department’s “primary
   18 mission” “to prevent terrorist attacks within the U.S, reduce the vulnerability of the
   19 U.S. to terrorism, and minimize the damage and assist in the recovery from terrorist
   20 attacks that do occur, including those in ST-CPs [soft-targets-crowded places].”
   21 Department of Homeland Security, Soft Targets and Crowded Places Security Plan
   22 Overview, May 2018, at page 2. The report goes on to note that the protections of
   23 the SAFETY Act have been “approved for open venues such as sports arenas and
   24 stadia” – such as the venue for the Route 91 Festival. Id. at p. 17.
   25             866. The Department continues its critical work to prevent and respond to
   26 mass violence. In Congressional testimony on May 15, 2018, the Secretary testified
   27 that DHS is “seeking to ramp up ‘soft target’ security efforts,” noting that DHS
   28 programs “address threats to soft targets – including schools, entertainment venues,
         39245596.3
                                                  -166-
                                    COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 178 of 181 Page ID #:178




     1 major events, and public spaces” (emphasis added). Further, on June 4, 2018, DHS
     2 announced that it had “developed a ST-CP Security Enhancement and Coordination
     3 Plan,” which has not been made public. The plan addresses “the increased emphasis
     4 by terrorists and other extremist actors to leverage less sophisticated methods to
     5 inflict harm in public areas … such as parks, … special event venues, and similar
     6 facilities.” See https://www.dhs.gov/publication/securing-soft-targets-and-crowded-
     7 spaces (emphasis added).
     8            867. The SAFETY Act creates a single, exclusive federal cause of action for
     9 claims for injuries arising out of or relating to acts of mass violence where services
   10 certified by the Department of Homeland Security were deployed in defense against,
   11 response to, or recovery from such act and such claims result or may result in loss to
   12 the Seller.
   13             868.    Pursuant to the SAFETY Act, the Department of Homeland Security
   14 has certified the services provided by CSC. The DHS Certification recognizes
   15 CSC’s security services as appropriate for preventing and responding to acts of mass
   16 violence. 6 U.S.C. § 441; see also 48 C.F.R. § 50.201.
   17             869. CSC’s security services Certified by DHS include “Physical Security”;
   18 “Access Control”; and “Crowd Management.”
   19             870. CSC’s Certified Crowd Management Services include:
   20             •      “Awareness of venue-specific emergency response protocols and
   21 evacuation procedures to include emergency alert and mass-notification systems and
   22 sheltering procedures”;
   23             •      “Pre-event venue / event safety inspections”;
   24             •      “Facilitation of crowd movement during ingress, circulation, sheltering
   25 in place, emergency evacuations, and egress”;
   26             •      “Pre-event coordination and multi-agency collaboration with public
   27 safety agencies”;
   28             •      “Selection, vetting, and training of employees.”
         39245596.3
                                                    -167-
                                      COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 179 of 181 Page ID #:179




     1            871. As alleged above, CSC was employed as the Security Vendor for the
     2 Route 91 concert. CSC’s responsibilities at the Route 91 Harvest Festival included
     3 providing the following DHS Certified Services:
     4            •     “perimeter security, event access, festival grounds event security”;
     5            •     “Staff[ing] inner perimeter and gates”;
     6            •     “Protect[ing] against unauthorized access”;
     7            •     “early warning … of perimeter breaches”;
     8            •     “Secur[ing] internal festival grounds”;
     9            •     “Patrol[ing] festival floor grounds and assist[ing] patrons with any
   10 security related issues”;
   11             •     pre-event planning for “Security and Safety”;
   12             •     “Emergency response” and “evacuation,” including evacuation for
   13 “terrorist threat” and “ensur[ing] that the exit routes and gates remain unobstructed.”
   14             872. For the reasons set forth above, the SAFETY Act creates an exclusive
   15 cause of action for any claims arising out of relating to Paddock’s mass attack and
   16 such claims may result in loss to the Seller. Under the SAFETY Act, there “shall
   17 exist only one cause of action for loss of property, personal injury, or death. 6
   18 C.F.R. 25.7 (d).
   19             873. Such cause of action “may be brought only against the Seller of the
   20 Qualified Anti-Terrorism Technology and may not be brought against the buyers,
   21 the buyer’s contractors, or downstream users of the Technology, the Seller’s
   22 suppliers or contractors, or any other person or entity.” 6 C.F.R. 25.7 (d). The
   23 SAFETY Act precludes any liability on the part of Plaintiffs to Defendants relating
   24 to Paddock’s mass attack.
   25             874. In addition, the SAFETY Act provides that for any covered claims
   26 arising out of or relating to an act of mass violence where certified services were
   27 provided, “the government contractor defense applies in such a lawsuit,” which
   28 provides a complete defense to liability. 6 U.S.C. 442(d)(1). The government
         39245596.3
                                                    -168-
                                     COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 180 of 181 Page ID #:180




     1 contractor defense precludes any finding of liability on the part of Plaintiffs to
     2 Defendants relating to Paddock’s mass attack.
     3            875. An actual and justiciable controversy exists between Plaintiffs and
     4 Defendants concerning the applicability of the SAFETY Act. Plaintiffs assert that
     5 the SAFETY Act precludes any liability for any claims arising out of or relating to
     6 Paddock’s mass attack, whereas, on information and belief, Defendants deny that
     7 the Act applies or that it precludes liability on their claims against Plaintiffs.
     8            876. A judicial declaration as to whether the SAFETY Act applies and
     9 precludes liability on Defendants’ claims against the Plaintiffs is necessary at this
   10 time so that the parties may ascertain their rights, and avoid the significant judicial
   11 waste that would occur if the lawsuits were allowed to proceed in the absence of a
   12 finding as to the applicability of the SAFETY Act.
   13                                         PRAYER FOR RELIEF
   14             WHEREFORE, Plaintiffs MGM Parties pray for judgment against
   15 Defendants, and each of them, as follows:
   16                 1.     For a judicial declaration that:
   17                      a. Defendants’ claims arising from the attack by Stephen Paddock on
   18                         October 1, 2017 in Las Vegas, Nevada are subject to and governed by
   19                         the SAFETY Act, 6 U.S.C. § 441 et seq.;
   20                      b. the SAFETY Act precludes any finding of liability against Plaintiffs
   21                         for any claim for injuries arising out of or related to Paddock’s mass
   22                         attack, without prejudice to Defendants’ rights to pursue claims against
   23                         the “Seller” under the Act, including to obtain proceeds of insurance
   24                         that any such Seller was required by the Act to maintain;
   25                      c. Plaintiffs have no liability of any kind to Defendants, or any of them,
   26                         arising from the Paddock’s mass attack; and
   27                 2.     For such other and further legal or equitable relief as the Court deems
   28     just and proper.
         39245596.3
                                                          -169-
                                          COMPLAINT FOR DECLARATORY RELIEF
Case 2:18-cv-06113-JAK-FFM Document 1 Filed 07/13/18 Page 181 of 181 Page ID #:181




     1 DATED: July 13, 2018             MUNGER, TOLLES & OLSON LLP
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                                          MICHAEL R. DOYEN
     3                                    BETHANY W. KRISTOVICH
     4
     5
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     6
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     9                                  GROUP, MANDALAY BAY, LLC, MGM
   10                                   RESORTS FESTIVAL GROUNDS, LLC, and
                                        MGM RESORTS VENUE MANAGEMENT,
   11                                   LLC
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         39245596.3
                                              -170-
                               COMPLAINT FOR DECLARATORY RELIEF
